                Case 17-32255-sgj7 Doc 59 Filed 06/30/17                                                             Entered 06/30/17 17:53:33                        Page 1 of 321
  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number           17-32255
  (if known)
                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                             amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                  12/15



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                    $0.00
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                           $53,451,926.76
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                           $53,451,926.76
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                            $5,064,827.25
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                            $2,273,375.83
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +       $143,553,090.72




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                         $150,891,293.80
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number          17-32255
  (if known)
                                                                                                                                     ¨ Check if this is an
                                                                                                                                        amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                  12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       ¨       No. Go to Part 2.
       þ       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                             Current value of
                                                                                                                                     debtor’s interest

 2.    CASH ON HAND



 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)
       Name of institution (bank or brokerage firm)                    Type of account             Last 4 digits of account number
       3.1.         CAPITAL ONE                                        ACCOUNTS PAYAYABLE          XX145                                       $53,551.57
       3.2.         CAPITAL ONE                                        CONCENTRATION               XX137                                      $144,521.72
                                                                       ACCOUNT
       3.3.         CAPITAL ONE                                        GOVERNMENT                  XX089                                         $2,386.34
                                                                       RECEIVABLE
       3.4.         CAPITAL ONE                                        NON-GOVERNMENT              XX178                                      $244,945.87
                                                                       RECEIVABLES
       3.5.         CAPITAL ONE                                        PAYROLL ACCOUNT             XX151                                        $81,977.78

 4.    OTHER CASH EQUIVALENTS



 5     Total of Part 1.
       ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                           $527,383.28
       TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.    DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
       ¨       No. Go to Part 3.
       þ       Yes. Fill in the information below.




Official Form 206A/B                                   Schedule A/B: Assets - Real and Personal Property                                        Page 1 of 8
 Debtor      Case     17-32255-sgj7
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              (Name)


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 7.   DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
      DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
      7.1.        PREPAID ASSOCIATION                                                                                                         $24,713.00
      7.2.        PREPAID DEPOSITS                                                                                                            $83,951.00
      7.3.        PREPAID EQUIPMENT                                                                                                            $1,042.00
      7.4.        PREPAID INSURANCE                                                                                                          $461,303.00
      7.5.        PREPAID INTEREST                                                                                                            $32,829.00
      7.6.        PREPAID LICENSES                                                                                                           $220,782.00
      7.7.        PREPAID OTHER                                                                                                               $22,249.00
      7.8.        PREPAID SERVICE                                                                                                            $139,206.00

 8.   PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
      INSURANCE, TAXES, AND RENT
      DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT




 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                      $986,075.00


 Part 3:      ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨      No. Go to Part 4.
      þ      Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 11. ACCOUNTS RECEIVABLE
      ACCOUNT RECEIVABLE                                                                                     = è                          $42,229,384.17
                                                                   -
                                                     face amount       doubtful or uncollectable accounts
      ACCOUNT RECEIVABLE -                                                                                   = è                            ($211,893.69)
                                                                   -
      CREDIT                                         face amount       doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                              $42,017,490.48


 Part 4:      INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ      No. Go to Part 5.
      ¨      Yes. Fill in the information below.


                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:




 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC,
     PARTNERSHIP, OR JOINT VENTURE



 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:


Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                           Page 2 of 8
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                                                                                                Valuation method used    Current value of
                                                                                                for current value        debtor’s interest

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:




 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.

 Part 5:      INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      ¨     No. Go to Part 6.
      þ     Yes. Fill in the information below.



          General description                         Date of the last     Net book value of     Valuation method used   Current value of
                                                      physical inventory   debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 19. RAW MATERIALS



 20. WORK IN PROGRESS



 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE



 22. OTHER INVENTORY OR SUPPLIES
      22.1.       INVENTORY                          12/31/2016                                  NET BOOK VALUE                     $3,874,137.00

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                           $3,874,137.00

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes
 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     ¨ No
     þ Yes      Book value                      Valuation method                                                    Current value

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED



 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
     LIVESTOCK, POULTRY, FARM-RAISED FISH




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          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
     LIVESTOCK, POULTRY, FARM-RAISED FISH



 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES)
     (OTHER THAN TITLED MOTOR VEHICLES)



 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED



 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6



 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.
 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          þ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      ¨     No. Go to Part 8.
      þ     Yes. Fill in the information below.



          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 39. OFFICE FURNITURE
      39.1.       OFFICE FURNITURE                                                               NET BOOK VALUE                  $2,252,845.00

 40. OFFICE FIXTURES



 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE
      41.1.       OFFICE FIXTURE                                                                 NET BOOK VALUE                  $1,592,680.00

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
     CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES;
     PAINTINGS, PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART
     OBJECTS; CHINA AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS;
     OTHER COLLECTIONS, MEMORABILIA, OR COLLECTIBLES




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          General description                                                 Net book value of   Valuation method used   Current value of
                                                                              debtor's interest   for current value       debtor’s interest
                                                                              (Where available)

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
     CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES;
     PAINTINGS, PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART
     OBJECTS; CHINA AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS;
     OTHER COLLECTIONS, MEMORABILIA, OR COLLECTIBLES



 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                         $3,845,525.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     ¨ No
     þ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:      MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      ¨     No. Go to Part 9.
      þ     Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES



 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES:
     BOATS, TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND
     FISHING VESSELS EXAMPLES: BOATS, TRAILERS, MOTORS, FLOATING HOMES,
     PERSONAL WATERCRAFT, AND FISHING VESSELS



 49. AIRCRAFT AND ACCESSORIES



 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY
     AND EQUIPMENT)
      50.1.       MACHINERY, FIXTURES & EQUIPMENT                                                 NET BOOK VALUE                  $2,201,316.00

 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                         $2,201,316.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨ No
     þ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes




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 Part 9:      REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      ¨     No. Go to Part 10.
      þ     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property           Nature and extent   Net book value of     Valuation method used   Current value of
          Include street address or other description    of debtor’s         debtor's interest     for current value       debtor’s interest
          such as Assessor Parcel Number (APN), and      interest in         (Where available)
          type of property (for example, acreage,        property
          factory, warehouse, apartment or office
          building), if available

      55.1.       7502 GREENVILLE, DALLAS, TX           LEASEHOLD                          $0.00                                           $0.00
                  75231                                 INTEREST
      55.2.       7515 GREENVILLE AVE, SUITE            LEASEHOLD                          $0.00                                           $0.00
                  710, DALLAS, TX                       INTEREST
 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                $0.00
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     þ No
     ¨ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      þ     No. Go to Part 11.
      ¨     Yes. Fill in the information below.



          General description                                                Net book value of     Valuation method used   Current value of
                                                                             debtor's interest     for current value       debtor’s interest
                                                                             (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS



 61. INTERNET DOMAIN NAMES AND WEBSITES



 62. LICENSES, FRANCHISES, AND ROYALTIES



 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS



 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY



 65. GOODWILL



 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.




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 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
          ¨
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      þ   No. Go to Part 12.
      ¨   Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor’s interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)




 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
      DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)




 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES



 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)



 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS



 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY



 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON
     TICKETS, COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY
     CLUB MEMBERSHIP



 78   Total of Part 11.
      ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.

 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes




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 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                  $527,383.28

 81. Deposits and prepayments. Copy line 9, Part 2.                                                      $986,075.00

 82. Accounts receivable. Copy line 12, Part 3.                                                      $42,017,490.48


 83. Investments. Copy line 17, Part 4.


 84. Inventory. Copy line 23, Part 5.                                                                  $3,874,137.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.

 86. Office furniture, fixtures, and equipment; and collectibles.                                      $3,845,525.00
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $2,201,316.00

 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                    $0.00


 89. Intangibles and intellectual property. Copy line 66, Part 10.


 90. All other assets. Copy line 78, Part 11.                                             +

 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                            $53,451,926.76          + 91b.                 $0.00




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    $53,451,926.76




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                    Page 8 of 8
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  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number          17-32255
  (if known)
                                                                                                                                            ¨ Check if this is an
                                                                                                                                               amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       ¨       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       þ       Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

 2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than           Column A                     Column B
       one secured claim, list the creditor separately for each claim.                                         Amount of claim              Value of collateral that
                                                                                                               Do not deduct the value of   supports this claim
                                                                                                               collateral.

 2.1            Creditor’s name                                       Describe debtor’s property that is                $4,631,934.69            UNKNOWN
                CAPITAL ONE, NATIONAL ASSOCIATION                     subject to a lien
                                                                      SUBSTANTIALLY ALL ASSETS,
                Creditor's mailing address
                                                                      INCLUDING RECEIVABLES
                2 BETHESDA METRO CENTER
                STE 600                                               Describe the lien
                BETHESDA, MD 20814                                    SENIOR LENDER
                Creditor's email address                              Is the creditor an insider or related
                                                                      party?
                Date or dates debt was incurred
                                                                      þ No
                8/21/2012                                             ¨ Yes
                Last 4 digits of account number:              Is anyone else liable on this claim?
                                                              þ No
                Do multiple creditors have an interest in the
                                                              ¨ Yes
                same property?
                þ No                                          As of the petition filing date, the claim is:
                ¨ Yes                                         Check all that apply.
                                                              þ Contingent
                                                              þ Unliquidated
                                                              þ Disputed

 2.2            Creditor’s name                                       Describe debtor’s property that is                  $432,840.09            UNKNOWN
                DALLAS COUNTY TAX ASSESSOR                            subject to a lien
                                                                      PERSONAL PROPERTY AD VALOREM
                Creditor's mailing address
                                                                      TAXES - ACCOUNT NUMBER:
                C/O JOHN R. AMES                                      99150730930000000
                1201 ELM STREET, STE 2600
                DALLAS, TX 75270                                      Describe the lien
                                                                      TAX LIEN
                Creditor's email address
                                                                      Is the creditor an insider or related
                Date or dates debt was incurred                       party?
                VARIOUS                                               þ No
                Last 4 digits of account number:                      ¨ Yes
                                                              Is anyone else liable on this claim?
                Do multiple creditors have an interest in the
                                                              þ No
                same property?
                                                              ¨ Yes
                þ No
                ¨ Yes                                         As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed




Official Form 206D                                     Schedule D: Creditors Who Have Claims Secured by Property                                        Page 1 of 2
 Debtor     Case     17-32255-sgj7
             Walnut Hill                        Doc 59 Filed 06/30/17
                         Physicians' Hospital, LLC                              Entered  06/30/17
                                                                                      Case                17:53:33
                                                                                           number (if known) 17-32255      Page 11 of 321
             (Name)


  Part 1:    Additional Page

                                                                                                        Column A                     Column B
                                                                                                        Amount of claim              Value of collateral that
                                                                                                        Do not deduct the value of   supports this claim
                                                                                                        collateral.

 2.3         Creditor’s name                                Describe debtor’s property that is                            $52.47          UNKNOWN
             DALLAS COUNTY TAX ASSESSOR                     subject to a lien
                                                            PERSONAL PROPERTY AD VALOREM
             Creditor's mailing address
                                                            TAXES - ACCOUNT NUMBER:
             C/O JOHN R. AMES                               99131002530000000
             1201 ELM STREET, STE 2600
             DALLAS, TX 75270                               Describe the lien
                                                            TAX LIEN
             Creditor's email address
                                                            Is the creditor an insider or related
             Date or dates debt was incurred                party?
             VARIOUS                                        þ No
             Last 4 digits of account number:               ¨ Yes
                                                           Is anyone else liable on this claim?
             Do multiple creditors have an interest in the
                                                           þ No
             same property?
                                                           ¨ Yes
             þ No
             ¨ Yes                                         As of the petition filing date, the claim is:
                                                            Check all that apply.
                                                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed

 2.4         Creditor’s name                                Describe debtor’s property that is                UNKNOWN                     UNKNOWN
             GE HEALTHCARE FINANCIAL SERVICES               subject to a lien
                                                            CERTAIN EQUIPMENT
             Creditor's mailing address
             PO BOX 641419                                  Describe the lien
             PITTSBURGH, PA 15264                           EQUIPMENT
             Creditor's email address                       Is the creditor an insider or related
                                                            party?
             Date or dates debt was incurred
                                                            þ No
             9/13/2013                                      ¨ Yes
             Last 4 digits of account number:              Is anyone else liable on this claim?
                                                           þ No
             Do multiple creditors have an interest in the
                                                           ¨ Yes
             same property?
             þ No                                          As of the petition filing date, the claim is:
             ¨ Yes                                         Check all that apply.
                                                           þ Contingent
                                                           þ Unliquidated
                                                           þ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                      $5,064,827.25
          Additional Page, if any.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                             Page 2 of 2
               Case 17-32255-sgj7 Doc 59 Filed 06/30/17                                   Entered 06/30/17 17:53:33      Page 12 of 321
  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number          17-32255
  (if known)
                                                                                                                                     ¨ Check if this is an
                                                                                                                                        amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                               Total claim              Priority amount

 2.1            Priority creditor’s name and mailing address As of the petition filing date, the claim is:          $13,752.34                $13,752.34
                                                                      Check all that apply.
                AARON A MIRI
                10208 BLUE SKIES DR                                   ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                MCKINNEY, TX 75070                                    Basis for the claim:
                Date or dates debt was incurred                       VACATION PAYABLE
                                                                      Is the claim subject to offset?
                Last 4 digits of account number: 0468                 þ No
                Specify Code subsection of PRIORITY                   ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) (4)

 2.2            Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $684.32                   $684.32
                                                                      Check all that apply.
                ABIBATU B BANGURA
                350 VISTACOURT DR 6301                                ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                PLANO, TX 75074                                       Basis for the claim:
                Date or dates debt was incurred                       VACATION PAYABLE
                                                                      Is the claim subject to offset?
                Last 4 digits of account number: 9507                 þ No
                Specify Code subsection of PRIORITY                   ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) (4)

 2.3            Priority creditor’s name and mailing address As of the petition filing date, the claim is:                   $0.00                 $0.00
                                                                      Check all that apply.
                ADJOA K ASARE
                1921 COOPER MOUNTIAN                                  ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                JUSTIN, TX 76247                                      Basis for the claim:
                Date or dates debt was incurred                       VACATION PAYABLE
                                                                      Is the claim subject to offset?
                Last 4 digits of account number: 5083                 þ No
                Specify Code subsection of PRIORITY                   ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 1 of 257
 Debtor     Case     17-32255-sgj7
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             (Name)


  Part 1:    Additional Page

                                                                                                               Total claim           Priority amount

 2.4         Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ADRIAN C ALARCON
             2813 PRESCOTT DRIVE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CARROLLTON, TX 75006                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5720          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.5         Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,979.54              $2,979.54
                                                            Check all that apply.
             ADRIANA M GALLIVAN
             2627 LIVE OAK ST. #12074                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75204                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2815          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.6         Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $242.25               $242.25
                                                            Check all that apply.
             ADRIANA PINEDA
             1813 MILLWICK STREET                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5993          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.7         Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $815.51               $815.51
                                                            Check all that apply.
             AGNES C LINDER
             870 ST JAMES DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FAIRVIEW, TX 75069                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0545          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.8         Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $524.64               $524.64
                                                            Check all that apply.
             AISHA S TAYLOR
             18665 MIDWAY RD                                ¨ Contingent
             614                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7131          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 257
 Debtor     Case     17-32255-sgj7
             Walnut Hill                        Doc 59 Filed 06/30/17
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  Part 1:    Additional Page

                                                                                                               Total claim           Priority amount

 2.9         Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             AJI F LOUM
             3713 TOWNE CROSSING#1502                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3659          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.10        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,429.82              $2,429.82
                                                            Check all that apply.
             AKOSUA B EDWARDS
             12213 PLANO RD # 2044                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2397          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.11        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ALAA M MOHAMED
             327 HILLGLEN DRIVE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MURPHY, TX 75094                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1767          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.12        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ALBERTO PEREZ
             5115 EDGEWORTH DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             BALCH SPRINGS, TX 75180                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3623          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.13        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $872.10               $872.10
                                                            Check all that apply.
             ALEXANDER F GNAEDIG
             1555 ELM STREET 1901                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75201                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5387          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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 Debtor     Case     17-32255-sgj7
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  Part 1:    Additional Page

                                                                                                               Total claim           Priority amount

 2.14        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,472.88              $1,472.88
                                                            Check all that apply.
             ALEXANDRIA D SCHECK
             9729 SHADYDALE LANE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75238                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5479          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.15        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.15              $0.15
                                                            Check all that apply.
             ALEXANDRIA G RODRIGUEZ
             2000 WESTBOROUGH DR 509                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             KATY, TX 77449                                 Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4395          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.16        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $573.58               $573.58
                                                            Check all that apply.
             ALEXANDRYA H HEATH
             416 SANDY LANE                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROYSE CITY, TX 75189                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9762          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.17        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $145.44               $145.44
                                                            Check all that apply.
             ALITHA D BOYD
             422 MENLO PARK DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5855          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.18        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,032.10             $10,032.10
                                                            Check all that apply.
             ALONDRA C UMEH
             1447 LARAMIE LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75033                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7800          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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 Debtor     Case     17-32255-sgj7
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  Part 1:    Additional Page

                                                                                                               Total claim           Priority amount

 2.19        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,617.44              $1,617.44
                                                            Check all that apply.
             ALYSON M SNYDER
             3602 JENNIFER LN                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75088                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1975          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.20        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.90              $0.90
                                                            Check all that apply.
             AMANDA D GODDARD
             10588 STONE CANYON RD                          ¨ Contingent
             APT # 110                                      ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75230                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1346          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.21        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             AMANDA F ROBINSON
             120 ROYAL PARK LANE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WAXAHACIE, TX 75165                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5294          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.22        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $840.09               $840.09
                                                            Check all that apply.
             AMANDA J HALE
             7836 RAVEHILL LN                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75227                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9346          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.23        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             AMANDA K BARNES
             1939 CUTLER DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2181          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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 Debtor     Case     17-32255-sgj7
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  Part 1:    Additional Page

                                                                                                               Total claim           Priority amount

 2.24        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,202.46              $1,202.46
                                                            Check all that apply.
             AMANDA L LOPEZ
             5548 NORRIS DRIVE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             THE COLONY, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1685          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.25        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $575.20               $575.20
                                                            Check all that apply.
             AMBER L MALCHUS
             9600 GOLF LAKES TRAIL                          ¨ Contingent
             APT 3058                                       ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9900          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.26        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $539.98               $539.98
                                                            Check all that apply.
             AMBER S NOBLES
             1508 SAVANNAH ST                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9443          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.27        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $74.74                $74.74
                                                            Check all that apply.
             AMBRIA N MCGREE
             8410 S WESTMORELAND 601                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75237                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3861          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.28        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             AMBROSE E MIGWI
             815 W GRAUWYLER RD                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             IRVING, TX 75061                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0858          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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 Debtor     Case     17-32255-sgj7
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  Part 1:    Additional Page

                                                                                                               Total claim           Priority amount

 2.29        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,889.16             $10,889.16
                                                            Check all that apply.
             AMERICA U TARECTECAN
             8707 SOUTHWESTERN 1627                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2400          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.30        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,810.45              $4,810.45
                                                            Check all that apply.
             AMY C WOLFE
             401 FLEMING ST APT 301                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6982          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.31        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             AMY L CORNETT
             5323 GALLOPING WAY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TEXARKANA, TX 75503                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0486          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.32        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $7,974.73              $7,974.73
                                                            Check all that apply.
             AMY STIVER
             901 BROOKWATER DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75071                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1521          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.33        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,055.32              $8,055.32
                                                            Check all that apply.
             ANDREW D SUMMERS
             1108 ITALY DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75013                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1789          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.34        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,436.87              $2,436.87
                                                            Check all that apply.
             ANDREW J ANDERSON
             503 SAVANNAH DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             OVILLALTON, TX 75154                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9733          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.35        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,147.16              $3,147.16
                                                            Check all that apply.
             ANETEREA E ELIZARDO
             1518 SHOREHAVEN DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7662          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.36        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ANGELA A JEFFRESS
             2704 LEISURE LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LITTLE ELM, TX 75068                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3988          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.37        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,553.93              $2,553.93
                                                            Check all that apply.
             ANGELA D BRITT ARNOLD
             3005 MILL CREEK WAY                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5817          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.38        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $457.24               $457.24
                                                            Check all that apply.
             ANGELA F CROWDER
             438 SOREN DR                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MURPHY, TX 75094                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0547          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.39        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $15,760.74             $15,760.74
                                                            Check all that apply.
             ANGELA R BOSWELL
             4630 ANCILLA DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75042                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4082          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.40        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $784.89               $784.89
                                                            Check all that apply.
             ANIL KC
             3400 RICHMOND PKWY # 619                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHMOND, CA 94806                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3541          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.41        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $232.56               $232.56
                                                            Check all that apply.
             ANJELICA R RAMIREZ
             1020 LOWNDES LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5642          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.42        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ANN MARIE EICKHOLT
             1418 BLUEBIRD LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75042                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4379          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.43        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $12,090.00             $12,090.00
                                                            Check all that apply.
             ANNE-MARIE C WHELAN
             1929 DESOTO DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1197          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.44        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ANNITRA L JONES
             2617 CHOICE ST                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75215                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3703          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.45        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $14,417.57             $14,417.57
                                                            Check all that apply.
             ANTHONY LEWANDOWSKI
             4208 CALCULUS DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75244                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0934          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.46        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,123.20              $1,123.20
                                                            Check all that apply.
             ANTONIO O ROBERTS
             9821 SUMMERWOOD CR 1207                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3759          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.47        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,910.42              $2,910.42
                                                            Check all that apply.
             ANTONIO RONY V SAMSON
             2913 FOWLER COURT                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75181                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6125          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.48        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $18,521.19             $18,521.19
                                                            Check all that apply.
             APRIL D THOMPSON
             101 GALLOPING TRAIL                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1334          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.49        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ARABY A ABOUZEID
             6071 VILAGE BEND DR 806                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8135          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.50        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,136.50              $3,136.50
                                                            Check all that apply.
             ARDITHA L MASON
             1102 HAILFAX LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1050          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.51        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,331.13              $4,331.13
                                                            Check all that apply.
             ARGELYN R MENDOZA
             4204 MAPLE SHADE AVE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SACHSE, TX 75048                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3132          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.52        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,765.20              $6,765.20
                                                            Check all that apply.
             ARKEITH L BROWN
             13302 GOODLAND PLACE                           ¨ Contingent
             APT C                                          ¨ Unliquidated
                                                            ¨ Disputed
             FARMERS BRANCH, TX 75234                       Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1846          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.53        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,358.83              $3,358.83
                                                            Check all that apply.
             ARNEL D SEVILLO
             429 SHADY OAKS DRIVE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MURPHY, TX 75094                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4663          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.54        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ARNOLD F ARCAINA
             7918 WAYNE PL                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75088                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9330          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.55        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $36.13                $36.13
                                                            Check all that apply.
             ASAF Y ATIAS
             3811 HOLLAND ST                                ¨ Contingent
             UNIT 2                                         ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75219                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4622          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.56        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ASHA SHARMA
             117 AMBERWOOD DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             COPPELL, TX 75019                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3835          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.57        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $419.94               $419.94
                                                            Check all that apply.
             ASHLEY H OCHOA
             1028 BARCLAY DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6679          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.58        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $840.32               $840.32
                                                            Check all that apply.
             ASHLEY M HAMILTON
             4561 CHAHA ROAD #186                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2454          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.59        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,775.53              $3,775.53
                                                            Check all that apply.
             ASHLEY N MONACO
             340 DAVE TRAIL                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PROSPER, TX 75078                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7553          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.60        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             AUGUSTINE U NWOSU
             2513 BASSWOOD DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75089                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6117          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.61        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $936.08               $936.08
                                                            Check all that apply.
             AUGUSTINO M DENG
             10820 STEPPINGTON 2303                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75230                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4430          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.62        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $22,890.53             $22,890.53
                                                            Check all that apply.
             AUTUMN PULIS
             9600 GOLF LAKES TRL 1032                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 115           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.63        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,161.35              $1,161.35
                                                            Check all that apply.
             BARBARA A JENKINS
             7638 SECO BLVD                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0481          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim       Priority amount

 2.64        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,106.35          $3,106.35
                                                            Check all that apply.
             BARBARA J SHEPHERD
             307 BRIAR COVE CIRCLE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RED OAK, TX 75154                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4723          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.65        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,540.33          $1,540.33
                                                            Check all that apply.
             BARIKAT ARUNA
             723 FAIRLAWN ST                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75002                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8956          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.66        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,247.12          $3,247.12
                                                            Check all that apply.
             BENNY GEORGE
             2809 CLEARMEADOW DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75181                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4185          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.67        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,152.71          $2,152.71
                                                            Check all that apply.
             BERNADETTE G PAGUIO
             5304 BOARDWALK DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75034                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3814          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.68        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,269.70          $3,269.70
                                                            Check all that apply.
             BERTHA M CHILUBA
             4640 HEDGECOXE RD 1424                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75024                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4277          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.69        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,350.45              $4,350.45
                                                            Check all that apply.
             BETH L YOUNG
             726 MORRIS DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5055          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.70        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             BEVERLY J SANG
             5445 PRESTON RD 1231                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75254                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4532          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.71        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $29.49                $29.49
                                                            Check all that apply.
             BEYONKA G POWELL
             1409 S BENTON STREET                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CORSICANA, TX 75110                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1578          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.72        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             BHAGWATI PRASAI
             1633 CAYOTE RIDGE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DARROLLTON, TX 75010                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4710          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.73        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $457.24               $457.24
                                                            Check all that apply.
             BHARAT D NAIK
             2204 MOLLY LANE                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75074                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9971          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.74        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $119.55            $119.55
                                                            Check all that apply.
             BRADLEY A HEDGES
             603 SE 27TH AVE                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MINERAL WELLS, TX 76067                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1230          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.75        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $848.26            $848.26
                                                            Check all that apply.
             BRANDON D IDELL
             13001 CLEVELAND GIBBS 79                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROANOKE, TX 76262                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0893          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.76        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,810.22           $4,810.22
                                                            Check all that apply.
             BRANDY N TAYLOR
             11906 GARDEN TERRACE DR                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9056          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.77        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $64.60             $64.60
                                                            Check all that apply.
             BREANNA L CHAMBERS
             633 SILVERYMOON                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75241                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5772          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.78        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $25,326.72          $25,326.72
                                                            Check all that apply.
             BRENDA SLADE
             84 BRIAR LN                                    ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WAXAHACHIE, TX 75165                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 117           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.79        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,329.98           $1,329.98
                                                            Check all that apply.
             BRETT A LAMBERT
             1405 BATEMAN                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CELINA, TX 75009                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2151          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.80        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $864.75            $864.75
                                                            Check all that apply.
             BRETT A WEBB
             5716 PINE MEADOW LANE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1195          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.81        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $880.68            $880.68
                                                            Check all that apply.
             BRIANNA S JONES
             9600 GOLF LAKES TR 1094                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0144          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.82        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,684.83           $1,684.83
                                                            Check all that apply.
             BRIDGETTE L GUMBS
             4705 SILVER AVE                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75223                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9550          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.83        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,745.73           $1,745.73
                                                            Check all that apply.
             BRITTANY E SMITH
             4404 RIVER CROSSING                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8913          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.84        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $12,156.05             $12,156.05
                                                            Check all that apply.
             BRITTNEY G WILLIAMS
             6980 FM 1388                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             KAUFMAN, TX 75142                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8560          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.85        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             BRUCE A KEY
             3008 SPRUCE STREET                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROYSE CITY, TX 75189                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0613          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.86        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,644.93              $1,644.93
                                                            Check all that apply.
             CALVIN T HANUS
             4407 PICKERING PLACE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             COLLEGE STATION, TX 77845                      Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1235          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.87        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CAMARIN M YOUNG
             3901 ACCNET DR #1424                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0115          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.88        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,917.18             $10,917.18
                                                            Check all that apply.
             CARLA D TRANTHAM
             335 HCR 4350 N                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HILLSBORO, TX 76645                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3157          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.89        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,802.93           $1,802.93
                                                            Check all that apply.
             CARLA J LOVELACE
             3594 LINCOLN DRIVE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75034                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9869          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.90        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $471.90            $471.90
                                                            Check all that apply.
             CARLOS D DUNN
             6009 MAGNOLIA LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75089                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5777          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.91        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,829.00           $1,829.00
                                                            Check all that apply.
             CARLOTTA L BOOKER
             3055 S WESTMORELAND 1001                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75233                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3138          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.92        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $581.40            $581.40
                                                            Check all that apply.
             CARMEN MARTINEZ
             2347 HONDO AVE                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75219                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9945          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.93        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $761.25            $761.25
                                                            Check all that apply.
             CAROLLE L NJINKAP
             421 CATTAIL CIRCLE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HARKER HEIGHTS, TX 76548                       Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2187          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.94        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $405.37            $405.37
                                                            Check all that apply.
             CARRIE L MAJORS
             4900 WINDHAVEN PKY 17108                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LEWISVILLE, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5817          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.95        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,784.80           $1,784.80
                                                            Check all that apply.
             CARRIE S UPTON
             704 BLUFFVIEW DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75071                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1273          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.96        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,391.50           $3,391.50
                                                            Check all that apply.
             CASEY C ELLIOTT
             8812 ANTRIM DRIVE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75218                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5069          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.97        Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,750.01           $1,750.01
                                                            Check all that apply.
             CASEY L FRANKLIN
             2312 ANITA DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5163          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.98        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $524.34            $524.34
                                                            Check all that apply.
             CASSANDRA H FORTSON
             1180 N MASTERS DR 617                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75217                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3895          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.99        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $431.67               $431.67
                                                            Check all that apply.
             CATALINA E GUTIERREZ
             200 GREENCOVE                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0185          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.100       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,578.38              $4,578.38
                                                            Check all that apply.
             CATHERINE A GORDON
             305 MIDNIGHT DRIVE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROYSE CITY, TX 75189                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2317          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.101       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CATHERINE D VAN ZANDT
             1640 W 3RD AVENUE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CORSICANA, TX 75110                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4556          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.102       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,902.86              $1,902.86
                                                            Check all that apply.
             CATHY E KNAPP
             1210 STACY RD                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FAIRVIEW, TX 75069                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2181          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.103       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $473.21               $473.21
                                                            Check all that apply.
             CHANDLAR R HANUS
             9600 GOLF LAKES TRAIL                          ¨ Contingent
             APT # 2006                                     ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8312          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.104       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,224.72           $3,224.72
                                                            Check all that apply.
             CHARLENE S BIERMAN
             8595 SOUTHWESTERN BLVD                         ¨ Contingent
             APT 2628                                       ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0095          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.105       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $213.18            $213.18
                                                            Check all that apply.
             CHARLES E BREWER
             317 INTERSTATE 30 114                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6036          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.106       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $26,556.69          $26,556.69
                                                            Check all that apply.
             CHARLOTTE E MCGEE
             2413 RICHVIEW CT                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1265          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.107       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,146.50           $2,146.50
                                                            Check all that apply.
             CHEALSCEY N KING
             807 WOODWAY LANE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75081                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9132          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.108       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,326.24           $2,326.24
                                                            Check all that apply.
             CHELSEA J HUTH
             2605 LAUREL LANE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75074                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6802          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.109       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,431.69              $5,431.69
                                                            Check all that apply.
             CHERYL A JONES
             739 OPAL LANE                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3919          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.110       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,188.46              $3,188.46
                                                            Check all that apply.
             CHRIS G PULINTHITTA
             5500 STATE HGWY 121 337                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LEWISVILLE, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4936          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.111       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,162.68              $1,162.68
                                                            Check all that apply.
             CHRISTI D HICKS
             1826 MORNING MIST WAY                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ST PAUL, TX 75098                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3936          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.112       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,824.19              $9,824.19
                                                            Check all that apply.
             CHRISTINA L CAMPBELL
             17671 ADDISON RD 3105                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6919          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.113       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CHRISTINE H LASERNA MENDOZA
             1414 SHILOH RD 1312                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75074                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8605          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim       Priority amount

 2.114       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,999.86          $1,999.86
                                                            Check all that apply.
             CHRISTINE M HOFFMAN
             4100 VISTA LANE 2023                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             KAUFMAN, TX 75142                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1709          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.115       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,968.25          $3,968.25
                                                            Check all that apply.
             CHRISTOPHER C ELIKWU
             9180 FOREST LANE 203                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3596          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.116       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,348.52          $3,348.52
                                                            Check all that apply.
             CHRISTOPHER M SMITH
             4018 HUCKLEBERRY CIR                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75216                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9560          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.117       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,945.97          $4,945.97
                                                            Check all that apply.
             CHRISTOPHER W SLINKARD
             955 W GEORGE BUSH 1111                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75080                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1096          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.118       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,951.91          $2,951.91
                                                            Check all that apply.
             CHRISTY M MAPLES
             2408 ORCHID DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5466          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.119       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $386.29               $386.29
                                                            Check all that apply.
             CILJA SIMON
             1877 ANDRESS DRIVE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CARROLLTON, TX 75010                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4711          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.120       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,718.39              $8,718.39
                                                            Check all that apply.
             CINDI A CARTER
             16706 30TH DRIVE SE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             BOTHELL, WA 98012                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8831          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.121       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CINDY D ALEXANDER
             3101 CORNELL AVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75205                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0510          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.122       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $7,641.16              $7,641.16
                                                            Check all that apply.
             CINDY D HOPKINS
             1030 PINEHURST DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROCKWALL, TX 75087                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1461          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.123       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,266.65              $3,266.65
                                                            Check all that apply.
             CINDY R DEAN
             3211 MANCHESTER DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1582          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.124       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,537.37              $2,537.37
                                                            Check all that apply.
             CINDY SANCHEZ
             3126 RAINBOW DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GRAND PRAIRIE, TX 75052                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3228          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.125       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $697.67               $697.67
                                                            Check all that apply.
             CLARA M SHEARD
             424 GATEWOOD DR 206                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3873          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.126       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,728.02              $3,728.02
                                                            Check all that apply.
             CLAUDIA R REGALADO
             11620 AUDELIA RD 325                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3574          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.127       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CLAUDIA TAVAREZ
             9047 ANACONDA                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75217                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3750          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.128       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,138.03              $2,138.03
                                                            Check all that apply.
             CLINT A HEARD
             6000 WILDERNESS RD                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TYLER, TX 75703                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1829          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.129       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,663.89              $8,663.89
                                                            Check all that apply.
             CODY C DUTTON
             3522 COUNTY ROAD 2156                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CADDO MILLS, TX 75135                          Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7282          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.130       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,713.48              $1,713.48
                                                            Check all that apply.
             CODY R BROWN
             105 LOGAN LN                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WAXAHACHIE, TX 75165                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3292          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.131       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CODY TRAYLOR
             5757 E UNIVERSITY #22K                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75306                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3745          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.132       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             COLETTE M CHAMBERS
             4316 HIGHLANDER DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8588          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.133       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             CONCEPCION JACQUEZ
             3011 BELMONT LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75160                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5973          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.134       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,513.21           $2,513.21
                                                            Check all that apply.
             CORINNE E WILLARD
             480 WINDING TRAIL                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             COMBINE, TX 75159                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5702          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.135       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $768.16            $768.16
                                                            Check all that apply.
             COURTNEI M TAYLOR
             2917 HOLY CROSS LN                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7237          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.136       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,154.08          $10,154.08
                                                            Check all that apply.
             COURTNEY FAHRENTHOLD
             17000 DARBY DRIVE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2502          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.137       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,763.64           $8,763.64
                                                            Check all that apply.
             COURTNEY L TAYLOR
             201 FORESTBROOK DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1126          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.138       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,065.46           $4,065.46
                                                            Check all that apply.
             CRISELDA A ENRIQUEZ
             4013 REDPINE DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6965          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim          Priority amount

 2.139       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $22,361.20            $22,361.20
                                                            Check all that apply.
             CRISTINA O AGUILA
             4629 PARKHAVEN                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1179          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.140       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,364.57             $1,364.57
                                                            Check all that apply.
             CRYSTAL D PARKER
             1617 CARDINAL POINT                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROYSE CITY, TX 75189                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0243          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.141       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,374.72             $1,374.72
                                                            Check all that apply.
             CRYSTAL G CARRAWAY
             1453 DAVID AVENUE 103                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DESOTO, TX 75115                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2593          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.142       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $1,311.57          $1,311.57
                                                            Check all that apply.
             CYNTHIA A LAFORGE
             4507 BELLCREST DR.                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8033          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.143       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,046.06             $9,046.06
                                                            Check all that apply.
             CYNTHIA C JACKSON
             522 SUMNER DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2971          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.144       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $452.20               $452.20
                                                            Check all that apply.
             CYNTHIA I FAULKNER
             721 TIMBERLAKE CIR.                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75080                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3088          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.145       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,640.77             $10,640.77
                                                            Check all that apply.
             CYNTHIA M ALLEN
             106 HACIENDA DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WAXAHACHIE, TX 75165                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0246          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.146       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $419.90               $419.90
                                                            Check all that apply.
             DAISY C MULWA
             201 RIO GRANDLE DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CRANDLE, TX 75114                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5600          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.147       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DAISY D CAYABYAB
             3617 CURBSTONE WAY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75074                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9490          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.148       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DAN M BODZIAK
             604 N FRANCES                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75160                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0586          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.149       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DANIEL F PERINBAM
             5645 HAMPSHIRE DRIVE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2701          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.150       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $831.73               $831.73
                                                            Check all that apply.
             DANIELA TURCIOS
             12208 ALLARD STREET                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             NORWALK, CA 90650                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0460          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.151       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,571.38              $3,571.38
                                                            Check all that apply.
             DANNY A ALVARADO
             815 FONTANA AVE                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75080                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3231          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.152       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,124.04              $1,124.04
                                                            Check all that apply.
             DANNY M THOMAS
             8601 HUNTINGTON DRIVE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLET, TX 75089                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5670          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.153       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,105.72             $10,105.72
                                                            Check all that apply.
             DARCENE VELEZ QUINTANA
             3513 HAMLETT LN                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1263          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim       Priority amount

 2.154       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,854.69          $1,854.69
                                                            Check all that apply.
             DARREN B EASON
             6301 STONEWOOD DR #2901                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75024                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8233          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.155       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,547.28          $3,547.28
                                                            Check all that apply.
             DARREN D PRICE
             3200 RIFLE GAP RD #1253                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75034                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2123          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.156       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,918.38          $2,918.38
                                                            Check all that apply.
             DAVID D FRYDBERG
             7209 DUFFIELD DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3838          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.157       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,085.78          $3,085.78
                                                            Check all that apply.
             DAVID L MOXLEY
             1408 MAPLETON DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75228                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2366          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.158       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,390.38          $3,390.38
                                                            Check all that apply.
             DAVID L ROUNTREE
             6731 VADA DR                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75214                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 116           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.159       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,259.70              $1,259.70
                                                            Check all that apply.
             DAVID MARTINEZ
             9000 VANTAGE POINT DR                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3323          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.160       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,868.66              $1,868.66
                                                            Check all that apply.
             DAVID W DILLARD
             8201 FAIR OAKS CR 3085                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4721          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.161       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,591.89              $4,591.89
                                                            Check all that apply.
             DAWIT A AKALU
             5445 PRESTON OAKS 636                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75254                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2648          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.162       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,432.18              $1,432.18
                                                            Check all that apply.
             DENISE A OZUNA
             746 GATEWOOD RD # 137                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4839          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.163       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DENISE S FOLLOWWILL
             3757 DUCHESS TRAIL                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75229                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3914          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.164       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $545.14               $545.14
                                                            Check all that apply.
             DEON L JACKSON
             7474 SKILLMAN ST 710                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3108          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.165       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DEQUINDRA D REDMOND
             6055 FOX POINT TRAIL                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75249                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4131          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.166       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,523.28              $4,523.28
                                                            Check all that apply.
             DESIREE T FORD
             6325 CEDAR FALLS DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             THE COLONY, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0733          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.167       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,516.52              $3,516.52
                                                            Check all that apply.
             DETRON D POWELL
             622 HUGH WALKER DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2498          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.168       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,264.13              $2,264.13
                                                            Check all that apply.
             DIANA E GARCIA
             1401 SHORECREST DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9906          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.169       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $23,637.10             $23,637.10
                                                            Check all that apply.
             DIANA L STUBBLEFIELD
             2032 BELGUIM DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75025                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 118           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.170       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,396.59             $10,396.59
                                                            Check all that apply.
             DIANTHE J JONES ALLEN
             1113 TIMBERLINE LN                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75002                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1232          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.171       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DIVINA A CASTILLO
             1800 E. FIR AVE                                ¨ Contingent
             204                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRESNO, CA 93720                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8880          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.172       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,605.59              $2,605.59
                                                            Check all that apply.
             DOLORES E ROMERO
             2426 CEDAR ELM LANE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9892          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.173       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $11,674.56             $11,674.56
                                                            Check all that apply.
             DOMITILLA A IWU
             1058 MOCKINGBIRD HILL CT                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MURPHY, TX 75094                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8977          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim          Priority amount

 2.174       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,966.42             $9,966.42
                                                            Check all that apply.
             DONALD M HODGES
             1121 FOOLISH PLEASURE DR                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75160                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2367          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.175       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,088.07             $1,088.07
                                                            Check all that apply.
             DONNA K WELTGE
             2904 MOONGOLD CT                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75069                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9260          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.176       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,723.54             $1,723.54
                                                            Check all that apply.
             DONNA M STEPHENS
             807 OAKWAY COURT                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75081                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7796          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.177       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $4,114.73          $4,114.73
                                                            Check all that apply.
             DONNA R SHULER
             6275 BRIDLE TRAIL                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CADDO MILLS, TX 75135                          Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3980          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.178       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,445.59             $1,445.59
                                                            Check all that apply.
             DUSTIN A BIERMAN
             633 FOSSIL WOOD DRIVE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SAGINAW, TX 76179                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4809          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.179       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             DUSTIN J RAY
             6890 MCCAIN DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SOUTHAVEN, MS 38671                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0438          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.180       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,694.49              $3,694.49
                                                            Check all that apply.
             DWAYNE LUSTER III
             4811 DUNCANVILLE RD 1806                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75236                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4921          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.181       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $596.39               $596.39
                                                            Check all that apply.
             EDDIE TRUJILLO
             1919 E. MELISSA RD                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MELISSA, TX 75454                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3260          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.182       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $161.52               $161.52
                                                            Check all that apply.
             EDNAH K SILMON
             5233 WORLEY DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             THE COLONY, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4110          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.183       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,902.86              $1,902.86
                                                            Check all that apply.
             EDYTHE L GATES
             7702 ISABELLA DR APT D                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PORT RICHEY, FL 34668                          Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1118          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.184       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,037.49              $1,037.49
                                                            Check all that apply.
             ELIZABETH GUTIERREZ
             1426 SHOREHAVEN DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3797          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.185       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $349.23               $349.23
                                                            Check all that apply.
             ELIZABETH L GONZALEZ
             1103 LAKE WHITNEY DR                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1158          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.186       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ELVIS ONDIEKI
             14255 PRESTON RD 625                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75254                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5051          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.187       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,065.61              $2,065.61
                                                            Check all that apply.
             EMILY J ARRAMBIDE
             1003 HOLMES CT                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75002                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1554          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.188       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,631.02              $1,631.02
                                                            Check all that apply.
             EMMA R WISE
             11405 CALLAHAN MILL DR                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CHARLOTTE, NC 28213                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3580          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim          Priority amount

 2.189       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,243.43             $6,243.43
                                                            Check all that apply.
             ERIC L SPEARS
             3209 MISTLETOE LANE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75088                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9680          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.190       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,354.34             $6,354.34
                                                            Check all that apply.
             ERICA C VENISON
             3932 EVERGREEN CT                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1729          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.191       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,001.27             $3,001.27
                                                            Check all that apply.
             ERICKA L GUILLEN
             1911 CASTAWAY DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75051                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5874          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.192       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $3,116.96          $3,116.96
                                                            Check all that apply.
             ERIKA E COBURN
             3653 TIMBERGLEN RD 934                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5660          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.193       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,769.06             $6,769.06
                                                            Check all that apply.
             ERIN H LANTRIP
             2208 MILAN DRIVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1027          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.194       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,366.14              $8,366.14
                                                            Check all that apply.
             ERIN L BARCHAK
             2063 FAIRCREST TRAIL                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3494          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.195       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $890.11               $890.11
                                                            Check all that apply.
             ESLI J BELTRAN
             2012 UTICA DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75217                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4935          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.196       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,733.32              $1,733.32
                                                            Check all that apply.
             ESTRELLA D DIAGO GERSBACH
             5030 SHADY GLEN DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7839          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.197       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,022.04              $3,022.04
                                                            Check all that apply.
             ETHAN N BUSSELL
             3015 C. MAHANNA SPRINGS                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75235                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8095          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.198       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             EVA E COLLINS
             905 RICHARD DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5686          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.199       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,599.91              $1,599.91
                                                            Check all that apply.
             EVA N KIRARA
             1090 W EXCHANGE PKY 6303                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75013                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5809          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.200       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             EVANGELINE L JAVELLANA
             3621 BLUE JAY BLVD                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75181                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5343          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.201       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $441.22               $441.22
                                                            Check all that apply.
             FERNANDO RIOS
             1304 SIERRA SPRING DR                          ¨ Contingent
             # 2110-1                                       ¨ Unliquidated
                                                            ¨ Disputed
             BEDFORD, TX 76021                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4026          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.202       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             FRANCES R WALLS
             1911 FAIR PARK LN                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5012          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.203       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,554.26              $2,554.26
                                                            Check all that apply.
             FRANCESCA B SAILALE
             7411 CHRISTIE LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75249                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3952          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.204       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,067.20           $2,067.20
                                                            Check all that apply.
             FRANCIS O OLAITAN
             1910 GARRISON WAY                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5478          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.205       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $585.02            $585.02
                                                            Check all that apply.
             GABRIELLE E WARES
             1505 TOPLEA DRIVE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             EULESS, TX 76040                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2245          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.206       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,712.77           $6,712.77
                                                            Check all that apply.
             GARY V FLATT
             9910 ROYAL LANE 1201                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7897          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.207       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,530.70           $9,530.70
                                                            Check all that apply.
             GAYLA A GARDNER
             5013 WETHINGTON CT                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75071                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0323          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.208       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,802.22           $1,802.22
                                                            Check all that apply.
             GEORGE I WHITING
             96020 MOSS HAVEN DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1802          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.209       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             GEORGE O NYAMBANE
             5945 W PARKER RD #1312                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75093                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2372          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.210       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,582.89              $2,582.89
                                                            Check all that apply.
             GEORGE T FOSTER
             5626 MCCOMMAS BLVD                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9457          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.211       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             GINCY M JOHN
             4417 GANNETT LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9750          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.212       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $406.66               $406.66
                                                            Check all that apply.
             GLORIA J KASS
             3614 BOBTOWN RD                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5815          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.213       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $784.89               $784.89
                                                            Check all that apply.
             GLORY RAJU
             818 MYERSMEADOW                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3931          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.214       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,468.63              $5,468.63
                                                            Check all that apply.
             GOPALAKRISHN NAIR
             290 WATERFORD                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SUNNYVALE, TX 75182                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1776          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.215       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,561.63              $4,561.63
                                                            Check all that apply.
             GRACE E OLSON
             6009 CRIMSON DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2524          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.216       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,596.91              $1,596.91
                                                            Check all that apply.
             GRACE F SARZA
             1221 MAGNOLIADR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75080                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5166          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.217       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,307.58              $3,307.58
                                                            Check all that apply.
             GURMESH K SAINI
             601 JAGGED WAY                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75074                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0273          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.218       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             GWEN WILSON
             7266 SUMMIT PARC DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75249                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4311          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.219       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,395.90           $1,395.90
                                                            Check all that apply.
             HALEATHA A DAUGHTERY
             11700 LEBANON RD                               ¨ Contingent
             APT 1314                                       ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75035                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8668          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.220       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,991.09           $1,991.09
                                                            Check all that apply.
             HANNAH FORAY
             10614 HASELWOOD LANE                           ¨ Contingent
             APT # H10614                                   ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75238                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1920          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.221       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $523.91            $523.91
                                                            Check all that apply.
             HANNAH OMANE
             12111 AUDILIA RD    601                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5758          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.222       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,258.92           $1,258.92
                                                            Check all that apply.
             HARDIK V SOLANKI
             812 NAPIER DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75081                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2565          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.223       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,644.38           $1,644.38
                                                            Check all that apply.
             HARRY A FLYNT
             7212 ANGEL FIRE DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75025                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1987          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.224       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.30              $0.30
                                                            Check all that apply.
             HASINA M ROBINSON
             3600 HOYA DR 224                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76015                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2759          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.225       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,201.56              $1,201.56
                                                            Check all that apply.
             HIWOT O ABEBE
             2419 MACKINAC DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75033                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2178          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.226       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,332.83              $4,332.83
                                                            Check all that apply.
             HOLLY A WOMACK
             2910 BIG OAKS DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9475          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.227       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,530.96              $2,530.96
                                                            Check all that apply.
             HOLLY D CHAPMAN
             2513 DOYLE DRIVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SACHSE, TX 75048                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8462          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.228       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $743.80               $743.80
                                                            Check all that apply.
             HOLLY T HOWARD
             2255 MARILLA ST 3302                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75201                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5935          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.229       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,072.36              $1,072.36
                                                            Check all that apply.
             IFEOMA OKORI
             PO BOX 667611                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HOUSTON, TX 77266                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2468          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.230       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,942.44              $2,942.44
                                                            Check all that apply.
             IMMACULATA N KEKE
             530 BUCKINGHAM RD #838                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75081                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3728          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.231       Priority creditor’s name and mailing address As of the petition filing date, the claim is:            UNKNOWN                UNKNOWN
                                                            Check all that apply.
             INTERNAL REVENUE SERVICE
             SPECIAL PROCEDURES INSOLVENCY                  þ Contingent
             PO BOX 7346                                    þ Unliquidated
             PHILADELPHIA, PA 19101-7346                    þ Disputed
             Date or dates debt was incurred                Basis for the claim:
                                                            POTENTIAL TAX LIABILITY
             Last 4 digits of account number:               Is the claim subject to offset?
             Specify Code subsection of PRIORITY            þ No
             unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.232       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,479.32              $2,479.32
                                                            Check all that apply.
             IRENE SALAS
             209 INDEPENDENCE TRAIL                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1018          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.233       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             ITUNU A OJO
             313 BASSWOOD TRAIL                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4403          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.234       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JACKLINE G MASEGA
             2415 CARSON TRAIL                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GRAND PRAIRIE, TX 75052                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5673          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.235       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,964.34              $1,964.34
                                                            Check all that apply.
             JACOB ORTIZ
             112 STONEBRIAR WAY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75160                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2659          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.236       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,501.98              $8,501.98
                                                            Check all that apply.
             JACQUELINE L BROWN
             78 LINCOLNSHIRE CIRCLE                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             BEDFORD, TX 76051                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3473          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.237       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.59              $0.59
                                                            Check all that apply.
             JAIME N HIGGINS
             4702 EL CAMPO AVENUE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FT WORTH, TX 76107                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1846          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.238       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,522.62              $1,522.62
                                                            Check all that apply.
             JAIMY J KARIMPANAMANNIL
             2610 PEARTREE LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75042                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9224          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.239       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $398.45               $398.45
                                                            Check all that apply.
             JAIMY M THOMAS
             7414 AMESBURY LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75089                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0210          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.240       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JAMES A KUOL
             9670 FOREST LANE 2142                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7986          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.241       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,209.80              $8,209.80
                                                            Check all that apply.
             JAMES R GRUBBS
             4722 PRESTON TRAIL DR                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7904          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.242       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,241.06              $5,241.06
                                                            Check all that apply.
             JAMES T CROUCH
             4117 TRAVIS ST                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75204                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7828          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.243       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,473.13              $5,473.13
                                                            Check all that apply.
             JAMES T LONG
             606 WATERVIEW DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             COPPELL, TX 75019                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1314          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.244       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,734.68              $2,734.68
                                                            Check all that apply.
             JAMES W ANDERSON
             2306 CASTLEGATE DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CORINTH, TX 76210                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5606          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.245       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,733.00              $6,733.00
                                                            Check all that apply.
             JANA S NEVAREZ
             5125 BARTLETT                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             THE COLONY, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5430          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.246       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $760.66               $760.66
                                                            Check all that apply.
             JANAE C CRENSHAW
             125 MEADOWCREST DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DESOTO, TX 75115                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5685          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.247       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $679.59               $679.59
                                                            Check all that apply.
             JANE M MUTISYA
             215 IDLEWYLD DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3692          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.248       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JANE NGUYEN
             7512 BERRENDA DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FT WORTH, TX 76131                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8763          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.249       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,915.57              $4,915.57
                                                            Check all that apply.
             JANET S RHOADES
             1600 AMAZON DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75075                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3253          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.250       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,777.77              $3,777.77
                                                            Check all that apply.
             JANIE M DANIELS
             PO BOX 309                                     ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LAVON, TX 75166                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1323          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.251       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,005.99              $5,005.99
                                                            Check all that apply.
             JANNICA D DANIELL
             1090 PRATT RD                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RED OAK, TX 75154                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2839          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.252       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JANUARY L GENTRY
             408 TOWN NORTH DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75160                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9931          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.253       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $674.04               $674.04
                                                            Check all that apply.
             JARED KAWALSKY
             6116 OAKCREST RD                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 123           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.254       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,804.08           $1,804.08
                                                            Check all that apply.
             JASMIN JOHN
             4513 WILLETT LN                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6789          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.255       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,134.89           $1,134.89
                                                            Check all that apply.
             JASMINE S MATAWARAN
             4336 PALMDALE DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75024                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3432          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.256       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $918.90            $918.90
                                                            Check all that apply.
             JASON D MATHIS
             3946 SUN VALLEY DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75224                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1208          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.257       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,059.84           $3,059.84
                                                            Check all that apply.
             JASON E CLIFFORD
             1225 FLAMINGO RD                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0059          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.258       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,405.30           $3,405.30
                                                            Check all that apply.
             JASON T BATES
             12454 CR 351                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75161                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1263          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim       Priority amount

 2.259       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,281.10          $4,281.10
                                                            Check all that apply.
             JASPREET K BAINS
             6513 ABRAMS DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75074                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0925          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.260       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,890.07          $2,890.07
                                                            Check all that apply.
             JEAN M PERIGORD
             1531 INSPERATION DR 4027                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75207                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0158          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.261       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,391.90          $4,391.90
                                                            Check all that apply.
             JEANIE C MILLER
             2608 WEBSTER DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75075                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3692          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.262       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $15,373.98         $15,373.98
                                                            Check all that apply.
             JEANNETTE MCCAMMACK
             7106 SAND PINE DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETTE, TX 75089                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 112           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.263       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,805.72          $3,805.72
                                                            Check all that apply.
             JEANNETTE SMITH
             1843 FM363                                     ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SAN AUGUSTINE, TX 75972                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5051          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.264       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,228.37              $4,228.37
                                                            Check all that apply.
             JEFFY T CHERIAN
             732 JOHN PETER WAY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75149                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9799          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.265       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $7,102.26              $7,102.26
                                                            Check all that apply.
             JENNIFER A CRATE
             1202 COLLEGE PARK BLVD                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75081                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3625          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.266       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,301.50              $2,301.50
                                                            Check all that apply.
             JENNIFER A NETHERLAND
             9980 BUCKINGHAM LANE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75035                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8685          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.267       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,207.06              $2,207.06
                                                            Check all that apply.
             JENNIFER J BROWN
             701 N LEORA LANE 113                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LEWISVILLE, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5961          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.268       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JENNIFER L FLOYD
             7018 W US HWY 175                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             KAUFMAN, TX 75142                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9476          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.269       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,390.39           $2,390.39
                                                            Check all that apply.
             JENNIFER M BEST
             412 TURNSTONE CT                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DESOTO, TX 75115                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2855          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.270       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,925.53           $1,925.53
                                                            Check all that apply.
             JENNIFER M COUCH-DUHAIME
             2359 RAILROAD ST 2210                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PITTSGURGH, PA 15222                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1228          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.271       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,431.44           $2,431.44
                                                            Check all that apply.
             JENNIFER M DAVILA
             10216 MATADOR DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0337          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.272       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,279.49           $1,279.49
                                                            Check all that apply.
             JENNIFER M RENSCH
             2448 LAUGHLIN DR 121                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75228                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9467          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.273       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $548.24            $548.24
                                                            Check all that apply.
             JENNIFER N MCADAMS
             942 VZCR 4110                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CANTON, TX 75103                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1183          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.274       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,018.87           $4,018.87
                                                            Check all that apply.
             JENNIFER R WEHUNT
             950 LANCASHIRE LN                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PROSPER, TX 75078                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 120           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.275       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,236.30           $1,236.30
                                                            Check all that apply.
             JENNIFER T STOVALL
             2710 FERN VALLEY LN                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROCKWALL, TX 75087                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3633          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.276       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,296.46           $1,296.46
                                                            Check all that apply.
             JENNIFER W SALAS
             324 W 8TH ST                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75208                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1249          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.277       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,863.47           $2,863.47
                                                            Check all that apply.
             JEOUNGRAN LEE
             8113 BOULDER RIVER TRL                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3415          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.278       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $775.44            $775.44
                                                            Check all that apply.
             JEREMY A JONES
             1520 N BECKLEY AVE #833                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75203                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9343          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.279       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $14,996.27          $14,996.27
                                                            Check all that apply.
             JEROD P GLASSON
             2924 LUCAS DR APT 3050                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75219                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8688          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.280       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,550.35           $1,550.35
                                                            Check all that apply.
             JESSICA K BLACK
             1112 W 13TH STREET                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             BONHAM, TX 75418                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8714          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.281       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,267.46           $2,267.46
                                                            Check all that apply.
             JESUS J MUNIZ
             6467 MELODY LN APT 1046                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5347          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.282       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,918.61           $6,918.61
                                                            Check all that apply.
             JO A MCGRAW
             226 RUSTIC RIDGE DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3513          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.283       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $318.45            $318.45
                                                            Check all that apply.
             JO I HERNANDEZ
             2426 CEDAR ELM LN                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9477          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.284       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $888.84               $888.84
                                                            Check all that apply.
             JOCELYN G BROWN
             2847 N SHILOH RD 337                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9605          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.285       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $298.54               $298.54
                                                            Check all that apply.
             JOEL A JOSEPH
             4413 SHADY LANE                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75089                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7666          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.286       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $213.18               $213.18
                                                            Check all that apply.
             JOHN A UPTON
             704 BLUFFVIEW DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75071                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4010          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.287       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,949.48              $3,949.48
                                                            Check all that apply.
             JOHN M CARTER
             101 N BROOKSIDE DR #501                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75214                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2292          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.288       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JOHN PAUL S OBAE
             625 VISTA RIDGE MALL 318                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LEWISVILLE, TX 75067                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4311          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.289       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,700.22              $6,700.22
                                                            Check all that apply.
             JOHN W SCHMIDT
             9392 ADAMS STREET                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TERRELL, TX 75160                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7891          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.290       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JOHNNY J CERBANTEZ
             4300 HORIZON N PKWY #331                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2259          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.291       Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $103,679.93             $103,679.93
                                                            Check all that apply.
             JONATHAN C COUNTRYMAN
             6910 NORWAY PLACE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75230                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 106           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.292       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $30,562.63             $30,562.63
                                                            Check all that apply.
             JONATHAN K ALDAMA
             28 ST. CHARLES PLACE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MIDLOTHIAN, TX 76065                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 103           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.293       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $12,872.88             $12,872.88
                                                            Check all that apply.
             JOSE F PARADA
             1604 E PARK BLVD                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75074                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6884          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.294       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $581.62               $581.62
                                                            Check all that apply.
             JOSE G ROSALAS
             4649 ST FRANCIS AVENUE                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75227                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5800          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.295       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $983.80               $983.80
                                                            Check all that apply.
             JOSE L ALEJANDRO
             6223 INTERBAY AVE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TAMPA, FL 33611                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6887          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.296       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $7,841.41              $7,841.41
                                                            Check all that apply.
             JOSEPH L LUGALIA
             17601 PRESTON RD 179                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75252                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2332          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.297       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,767.01              $2,767.01
                                                            Check all that apply.
             JOYCE J BOONE
             1710 JOHN WEST APT 306                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75228                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7743          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.298       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JOYCE M MACHARIA
             4607 TIMBERGLEN RD 1935                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3741          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.299       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JOYCE W WAWERU
             4417 WILLET LANE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8790          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.300       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JOYCELYN W WEAVER
             5317 DEER BROOK ROAD                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5978          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.301       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $1,026.11           $1,026.11
                                                            Check all that apply.
             JUANA P DOUCET
             249 ZETER DR                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROCKWALL, TX 75087                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0228          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.302       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $232.56              $232.56
                                                            Check all that apply.
             JUANITA G GARCIA
             1201 HALIFAX LN                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5040          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.303       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,757.81              $2,757.81
                                                            Check all that apply.
             JUDITH O AKANGBOU
             3191 MEDICAL CTR 34201                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75069                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1577          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.304       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,649.51              $6,649.51
                                                            Check all that apply.
             JULIANA M WATKINS
             6044 E LOVERS LN 11105                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75201                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2858          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.305       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JULIE D BIGNELL
             320 LAKE WICHATA DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5773          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.306       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,164.03              $2,164.03
                                                            Check all that apply.
             JULIE E SMITH
             419 MAGNOLIA DRIVE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3141          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.307       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             JULIO C GONZALEZ
             1103 LAKE WHITNEY DR                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6799          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.308       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,044.20              $1,044.20
                                                            Check all that apply.
             KALLA J BOEHRINGER
             7050 FM 660                                    ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ENNIS, TX 75119                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2066          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.309       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,043.70           $1,043.70
                                                            Check all that apply.
             KATARA L MAYDWELL
             14606 DALLAS PKWY                              ¨ Contingent
             #1036                                          ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75254                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5801          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.310       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $22,214.87          $22,214.87
                                                            Check all that apply.
             KATHLEEN S BURMAN
             3101 YELLOWSTONE DRIVE                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76013                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2900          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.311       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $971.93            $971.93
                                                            Check all that apply.
             KATHRYN D MCCARTY
             504 BOWIE ST                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6434          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.312       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $15,064.64          $15,064.64
                                                            Check all that apply.
             KATHY S NEAL
             4001 DAVID DR                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75088                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8026          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.313       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $319.70            $319.70
                                                            Check all that apply.
             KATWANNA T BROWN
             6102 CAPESTONE DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75217                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0065          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.314       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,079.23              $1,079.23
                                                            Check all that apply.
             KEANDREA R EPPS
             1515 POOL LN                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GLENN HEIGHTS, TX 75154                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1343          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.315       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,457.25              $2,457.25
                                                            Check all that apply.
             KEELY N BARKHAM
             11000 COUNTRY RIDGE LN                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4272          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.316       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,428.87              $3,428.87
                                                            Check all that apply.
             KEISHA J EGGINS
             1125 E RENNER RD 1149A                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75082                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9942          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.317       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             KELLIE D WILLIAMS
             4700 S RIDGE RD #7214                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1066          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.318       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $978.76               $978.76
                                                            Check all that apply.
             KELLY A PRICE
             2310 MIDBURY DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LANCASTER, TX 75134                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2293          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.319       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             KEN W WILSON
             2220 CANTON STREET #106                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75201                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1115          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.320       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,378.67              $5,378.67
                                                            Check all that apply.
             KENNETH C ADAMS
             2113 CONE FLOWER DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3608          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.321       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,928.37              $2,928.37
                                                            Check all that apply.
             KENNETH N COOK
             706 YELLOSTONE DR.                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75002                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2588          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.322       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $15,992.64             $15,992.64
                                                            Check all that apply.
             KERI D WHITE
             1907 PARK HILL DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76012                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 124           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.323       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $12,538.27             $12,538.27
                                                            Check all that apply.
             KERI M LAMPE
             1941 MORNINGSIDE DR                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75042                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9934          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.324       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             KERRY W WATKINS
             2716 BRANCH HOLLOW                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3793          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.325       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,209.65             $10,209.65
                                                            Check all that apply.
             KEVIN O LOFTICE
             325 OLD HWY 6                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HOWE, TX 95459                                 Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3110          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.326       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,052.21              $2,052.21
                                                            Check all that apply.
             KIM SHIELDS
             2610 LAKEHILL LN APT 19C                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CARROLLTON, TX 75006                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1095          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.327       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,403.44              $1,403.44
                                                            Check all that apply.
             KIMBERLY M WALTON
             1421 INDIAN LAKE TRAIL                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CARROLLTON, TX 75007                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2747          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.328       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             KIMBERLY N ALLEN
             8650 SOUTHWESTERN BLVD                         ¨ Contingent
             APT # 2707                                     ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7658          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.329       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             KORI A HANSEN
             8521 MESA VERDE DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75025                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3769          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.330       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $219.64               $219.64
                                                            Check all that apply.
             KOURTNEY C WEHMEYER
             4900 PEAR RIDGE DR 1502                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4239          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.331       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,031.10              $1,031.10
                                                            Check all that apply.
             KRISHNA R PATEL
             5200 MANSFIELD HWY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FT WORTH, TX 76119                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3654          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.332       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             KRISTA L SHEPARD
             131 FALLEN ROCK DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WAXAHACHIE, TX 75165                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5831          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.333       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,763.61              $1,763.61
                                                            Check all that apply.
             KRISTEN N KOSAREK
             1520 SOUTHWOOD BLVD                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76013                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4794          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.334       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,283.02              $1,283.02
                                                            Check all that apply.
             KRISTI F TEICHELMAN
             4610 ELDERBERRY                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4565          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.335       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,742.94              $5,742.94
                                                            Check all that apply.
             KYA V CULLERS
             4120 CORY LEE CT                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76015                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2206          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.336       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $10,819.16             $10,819.16
                                                            Check all that apply.
             LA WANDA G CRAWFORD
             2805 MCKENZIE LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LANCASTER, TX 75134                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2619          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.337       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             LALAINE H BOADO
             4549 BONNYWOOD DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1162          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.338       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,423.57              $1,423.57
                                                            Check all that apply.
             LANA S RANDALL
             8591 SOUTHWESTERN BLVD                         ¨ Contingent
             2717                                           ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9173          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.339       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             LARRIE D COLEMAN
             14255 PRESTON RD APT 322                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75254                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5224          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.340       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $314.93               $314.93
                                                            Check all that apply.
             LARRY D DUNN
             1018 HIGH COUNTRY DR                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75041                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5824          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.341       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $15,793.57             $15,793.57
                                                            Check all that apply.
             LARRY W SUTHERLAND
             3405 RADCLIFFE DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75088                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1061          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.342       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.29              $0.29
                                                            Check all that apply.
             LASHAWN K GUSTAVE
             838 ROUSE RD                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             NEWPORT NEWS, VA 23608                         Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1772          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.343       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.78              $0.78
                                                            Check all that apply.
             LASHUNDA L BRADLEY
             3400 CUSTER ROAD, #1094                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             PLANO, TX 75023                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1744          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.344       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $775.46            $775.46
                                                            Check all that apply.
             LATANYA M KNOWLES
             2612 COUNTRY RIDGE #2501                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76006                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3551          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.345       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $395.68            $395.68
                                                            Check all that apply.
             LATARSHA G BRYANT
             249 BELLWOOD DR.                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3420          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.346       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $80.47             $80.47
                                                            Check all that apply.
             LATOYA N HARRIS
             807 CATHERINE LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             SEAGOVILLE, TX 75159                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4458          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.347       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,877.20           $1,877.20
                                                            Check all that apply.
             LAURA B KOESTER
             5349 AMESBURY DR 1107                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4255          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.348       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,219.30           $2,219.30
                                                            Check all that apply.
             LAURA D NASSEF
             2155 MCINTOSH DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75040                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6981          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim       Priority amount

 2.349       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,162.06          $5,162.06
                                                            Check all that apply.
             LAURA K SETTLES
             2801 STONERIDGE DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4909          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.350       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,667.47          $1,667.47
                                                            Check all that apply.
             LAURA L COOPER
             125 DOE MEADOW LANE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4851          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.351       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,053.40          $2,053.40
                                                            Check all that apply.
             LAURA S SCHIEFFER
             8827 LAVALLE LN                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6027          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.352       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,527.96          $2,527.96
                                                            Check all that apply.
             LAURA Y RAMIREZ
             2706 WIMBLEDON CT D                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75041                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3929          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.353       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,465.06          $9,465.06
                                                            Check all that apply.
             LAUREN K MATLAGE
             3011 TRAILWOOD DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2994          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.354       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,135.14              $2,135.14
                                                            Check all that apply.
             LAURIE A DIRKS
             1833 GRAND MEADOW DR                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             KELLER, TX 76248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7052          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.355       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $712.22               $712.22
                                                            Check all that apply.
             LAVERT C WILLIAMS
             1717 LACY LANE                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75181                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2985          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.356       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,206.03              $5,206.03
                                                            Check all that apply.
             LAWRENCE M BOHON
             3805 OHARE DRIVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3825          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.357       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             LEEMANUEL T COLEMAN
             2102 CARTWRIGHT                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             IRVING, TX 75061                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0526          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.358       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,092.72              $1,092.72
                                                            Check all that apply.
             LEIGHANN GRAHAM
             1621 MEADOW LARK                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROYCE CITY, TX 75189                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1176          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.359       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $529.51            $529.51
                                                            Check all that apply.
             LESLIE B AYALA
             246 WYNDHAM MEADOWS WAY                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WYLIE, TX 75098                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4280          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.360       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,791.84           $6,791.84
                                                            Check all that apply.
             LESLIE D COBB
             9910 ROYAL LN       1402                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1442          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.361       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $787.32            $787.32
                                                            Check all that apply.
             LETETIA C HOUSTON
             1914 GARDEN CREST LN                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75232                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2334          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.362       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $735.89            $735.89
                                                            Check all that apply.
             LETITA C WALDON
             2160 GUS THOMASSON RD                          ¨ Contingent
             APT 2309                                       ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75150                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4421          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.363       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $930.24            $930.24
                                                            Check all that apply.
             LETITIA M COLLINS
             6208 RHAPSODY LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75241                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4839          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.364       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,161.54              $2,161.54
                                                            Check all that apply.
             LILIAN C ONUOHA
             8850 FAIR OAKS                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2240          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.365       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $13,014.51             $13,014.51
                                                            Check all that apply.
             LINDA K DELISLE-MILLER
             8717 LAKEPOINTE AVE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75088                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 114           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.366       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             LINDA NDHLOVU
             3105 LAFAYETTE DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLET, TX 75088                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0263          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.367       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,439.14              $1,439.14
                                                            Check all that apply.
             LINDA NIETO-MIRANDA
             3529 LADD STREET                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75212                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4376          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.368       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,338.00              $1,338.00
                                                            Check all that apply.
             LINDSEY B NALL
             5605 NAAMAN FOREST BLVD                        ¨ Contingent
             APT # 1902                                     ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9151          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.369       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,576.99              $4,576.99
                                                            Check all that apply.
             LINDSEY W ADAMS
             10062 ROYAL LN # 140                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75238                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3037          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.370       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $120.72               $120.72
                                                            Check all that apply.
             LISA C URBINA
             2919 LOURDES ST                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75211                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3887          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.371       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $8,065.73              $8,065.73
                                                            Check all that apply.
             LIZA TAYEH
             2621 PIONEER BLUFFS RD                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75181                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3929          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.372       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             LIZET G ENRIQUEZ
             727 E CELESTE DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75041                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3766          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.373       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,297.18              $6,297.18
                                                            Check all that apply.
             LORELIE A PENA
             4809 MARINA COVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0270          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.374       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,931.52              $2,931.52
                                                            Check all that apply.
             LORI C TURNER
             301 TRAILRIDGE DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75043                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7324          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.375       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,766.94              $1,766.94
                                                            Check all that apply.
             LOTTIE M EVERETT
             4525 DRAKE LANE #921                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FT WORTH, TX 76137                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9769          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.376       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,914.19              $2,914.19
                                                            Check all that apply.
             LUCIA LUGO
             5434 BELMONT AVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 110           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.377       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             LYDIA A ANIMOS
             3019 LARRETA                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GRAND PRAIRIE, TX 75054                        Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2183          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.378       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,701.27              $3,701.27
                                                            Check all that apply.
             M HYACINTH L MOORE
             4201 KEYSTONE ST                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75041                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3029          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.379       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $988.04               $988.04
                                                            Check all that apply.
             MADALINE CASANOVA
             203 FOREST TRACE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROCKWALL, TX 75087                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3046          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.380       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MADELIENE B PADIERNOS
             5805 WILFORD DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MCKINNEY, TX 75070                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6531          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.381       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MAGED A ATIA
             3159 NORTHAVEN RD                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75229                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8700          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.382       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $389.62               $389.62
                                                            Check all that apply.
             MANIKA I FAIR
             2225 GRAYCLIFF DR #1057                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75228                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6099          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.383       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,672.60              $3,672.60
                                                            Check all that apply.
             MARCUS A COLSTON
             616 KING STREET                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CEDAR HILL, TX 75104                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7643          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.384       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,207.51              $1,207.51
                                                            Check all that apply.
             MARIA B NIIZEKI - ROY
             801 AMBER CT                                   ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75002                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3564          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.385       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,037.91              $2,037.91
                                                            Check all that apply.
             MARIA CALDERON
             6031 PINELAND DR. #2106                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3992          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.386       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MARIA D MIJARES
             425 WHITEWING LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MURPHY, TX 75094                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8978          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.387       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $503.88               $503.88
                                                            Check all that apply.
             MARIA PICACHE
             984 CANTERBURY LANE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FORNEY, TX 75126                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5969          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.388       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,084.89              $9,084.89
                                                            Check all that apply.
             MARICRIS S IGNACIO
             980 PANTHER LANE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75013                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5442          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.389       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,164.42              $3,164.42
                                                            Check all that apply.
             MARIE A MAHFOUZ
             822 W ROYAL LN APT 382                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             IRVING, TX 75039                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1731          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.390       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MARIE FLOR P CRUZET
             1512 FIELDSTONE DR                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROCKWALL, TX 75032                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1141          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.391       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,092.32              $1,092.32
                                                            Check all that apply.
             MARIE J ROTELLO
             1309 EDGEWOOD DR                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75081                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2859          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.392       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $265.51              $265.51
                                                            Check all that apply.
             MARIO ELIZONDO
             3411 TEXAS DRIVE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75211                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3733          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.393       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $3,112.83           $3,112.83
                                                            Check all that apply.
             MARION J JOHNSON
             1433 STONEY HILLS DR                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CEDAR HILL, TX 75104                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1923          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.394       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,695.15              $9,695.15
                                                            Check all that apply.
             MARIVIC PAYOPAY
             2614 BIG OAKS DRIVE                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75044                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7829          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.395       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MARK E MERKEL
             4037 RYECROFT LANE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRANKLIN, TN 37064                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0988          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.396       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MARLYN D MONSANTO
             1152 LANDON LANE                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75013                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0368          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.397       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,214.51              $3,214.51
                                                            Check all that apply.
             MARSHA D TAYLOR
             5708 WORTHING PL                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ARLINGTON, TX 76017                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6212          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.398       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,167.08              $1,167.08
                                                            Check all that apply.
             MARTITA REYES
             8790 PARK LANE APT 1087                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5210          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.399       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,646.60              $3,646.60
                                                            Check all that apply.
             MARY B BALL
             6550 SHADY BROOK LANE                          ¨ Contingent
             APT 821                                        ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75206                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4322          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.400       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MARY M SMITH
             4043 N BELTLINE RD 412                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             IRVING, TX 75038                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2840          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.401       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,444.83              $4,444.83
                                                            Check all that apply.
             MARYANN RAMIREZ
             1623 MAIN ST 403                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75201                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2645          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.402       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $11,007.90             $11,007.90
                                                            Check all that apply.
             MATT L ADAMS
             1434 ROGERS COURT                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75013                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 102           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.403       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,449.12              $2,449.12
                                                            Check all that apply.
             MATTHEW A ITZO
             7511 BRENTCOVE CIRCLE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75214                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5032          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.404       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.60              $0.60
                                                            Check all that apply.
             MATTHEW S SHUTTS
             302 HAWTHORN DR                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROCKWALL, TX 75087                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4297          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.405       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MAUDELINE CLERVIL
             9637 FOREST LANE 718                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4077          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.406       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,252.26              $3,252.26
                                                            Check all that apply.
             MAUREEN K MASARA
             8515 PARK LANE #208                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75231                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6080          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.407       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,019.39              $1,019.39
                                                            Check all that apply.
             MAY W UVERE
             913 SAINT PAUL DR 230                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75080                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5583          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.408       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MEENAKUMARI M PATEL
             878 OPEN SKY CT                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75013                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1194          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.409       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MEGAN N LEBOW
             2620 AUSTIN DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MESQUITE, TX 75181                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3930          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.410       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,384.00              $6,384.00
                                                            Check all that apply.
             MELANI K HOOD
             416 SANDY LANE                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROYSE CITY, TX 75189                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6090          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.411       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $6,200.52              $6,200.52
                                                            Check all that apply.
             MELISSA J MILLER
             1218 HARVARD LANE                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ALLEN, TX 75002                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 0123          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.412       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $13,986.10             $13,986.10
                                                            Check all that apply.
             MELISSA L MORASCH
             7601 CHURCHILL WAY #839                        ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75251                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6999          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.413       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,054.80              $2,054.80
                                                            Check all that apply.
             MELISSIA A MOORE
             5930 ARAPHO RD, #1050                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2638          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.414       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MICHAEL A CORNETT
             5323 GALLOPING WAY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             TEXARKANA, TX 75503                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7661          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.415       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             $19,545.20             $19,545.20
                                                            Check all that apply.
             MICHAEL J CADORET
             2801 BRAZOS BLVD.                              ¨ Contingent
             #3201                                          ¨ Unliquidated
                                                            ¨ Disputed
             EULESS, TX 76039                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 6086          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.416       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,368.14              $3,368.14
                                                            Check all that apply.
             MICHAEL L HOLMBERG
             2400 SPRINGWOOD LANE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RICHARDSON, TX 75082                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 7190          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.417       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $9,561.92              $9,561.92
                                                            Check all that apply.
             MICHAEL S CONDRA
             201 S 4TH STREET                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             CRANDALL, TX 75114                             Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5534          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.418       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $928.30               $928.30
                                                            Check all that apply.
             MICHAEL T MAUZY
             15632 GOLDEN CREEK RD                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2239          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim        Priority amount

 2.419       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,358.27           $1,358.27
                                                            Check all that apply.
             MICHAEL U RHEE
             4141 ROSEMEADE PKWY                            ¨ Contingent
             # 1213                                         ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75287                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2822          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.420       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $190.03            $190.03
                                                            Check all that apply.
             MICHELLE A CONDRA
             2009 ROBIN CREEK COVE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HEARTLAND, TX 75126                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5465          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.421       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,137.56           $4,137.56
                                                            Check all that apply.
             MICHELLE R LINDSEY
             1260 TRAILWOOD DR                              ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HURST, TX 76053                                Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2167          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.422       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $5,143.36           $5,143.36
                                                            Check all that apply.
             MICKY D MCDANIEL
             3505 BRIARCLIFF CT                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             IRVUNG, TX 75062                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5122          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.423       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,652.26           $2,652.26
                                                            Check all that apply.
             MIKE E ZVOLANEK
             7410 AUTHON DR                                 ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 1105          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.424       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,855.32              $2,855.32
                                                            Check all that apply.
             MINAL B SHAH
             14981 YORKTOWN DRIVE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             FRISCO, TX 75035                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4847          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.425       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             MIRIAM W NGUYO
             15820 KNOLL TRAIL DR 302                       ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75248                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8040          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.426       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,630.29              $3,630.29
                                                            Check all that apply.
             MOLLIE MILES
             3501 TOLER RD                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             ROWLETT, TX 75089                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 113           þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.427       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $485.62               $485.62
                                                            Check all that apply.
             MONICA J GABY
             549 WINBRIDGE LN                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HASLET, TX 76052                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5487          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.428       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $3,073.04              $3,073.04
                                                            Check all that apply.
             MONICA L REZA
             4102 DRAGONFLY COURT                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             HEARTLAND, TX 75126                            Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9965          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.429       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $7,559.40              $7,559.40
                                                            Check all that apply.
             MUHAMMAD S ALI
             2853 SHORELINE WAY                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             LEWISVILLE, TX 75056                           Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 8980          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.430       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,575.01              $1,575.01
                                                            Check all that apply.
             MYDEEM D DOGBEY
             18909 LLOYD CIRCLE 521                         ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75252                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5393          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.431       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,788.74              $4,788.74
                                                            Check all that apply.
             NADIA NAZEER
             4407 PICKERING PLACE                           ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             COLLEGE STATION, TX 77845                      Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 2029          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.432       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             NAKIA R WILLIAMS
             PO BOX 495011                                  ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             GARLAND, TX 75049                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 5327          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.433       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $2,534.51              $2,534.51
                                                            Check all that apply.
             NATALIE T WEEKS
             520 MCFARLAND LN                               ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             WEATHERFORD, TX 76088                          Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3712          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                               Total claim           Priority amount

 2.434       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $4,679.28              $4,679.28
                                                            Check all that apply.
             NEGA B GETAW
             11911 GREENVILLE 3102                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75243                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3568          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.435       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                      $0.00              $0.00
                                                            Check all that apply.
             NEHA BISHET
             605 PORT ROYALE WAY                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             EULESS, TX 76039                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 4518          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.436       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $429.70              $429.70
                                                            Check all that apply.
             NELLIE N BROWNE
             3001 HICKORY RIDGE                             ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             MELISSA, TX 75454                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3680          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.437       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $3,026.11           $3,026.11
                                                            Check all that apply.
             NICHELLE Y MILLER
             1409 LENWAY                                    ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             DALLAS, TX 75215                               Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 3332          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)

 2.438       Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $1,481.67              $1,481.67
                                                            Check all that apply.
             NICHOLAS C AYCOCK
             114 HIDDEN CREEK LANE                          ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
             RED OAK, TX 75154                              Basis for the claim:
             Date or dates debt was incurred                VACATION PAYABLE
                                                            Is the claim subject to offset?
             Last 4 digits of account number: 9728          þ No
             Specify Code subsection of PRIORITY            ¨ Yes
             unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.439      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,497.38          $1,497.38
                                                           Check all that apply.
            NICOLE M WHITFIELD
            4112 PARKER STREET                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            AMARILLO, TX 79110                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1938          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.440      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,323.97          $1,323.97
                                                           Check all that apply.
            NICOLE S TOWNSEND
            2704 BRUSHWOOD LANE                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75150                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9615          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.441      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,918.27          $1,918.27
                                                           Check all that apply.
            NIDA A WESONGA
            5445 PRESTON OAKS RD                           ¨ Contingent
            APT 1432                                       ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75254                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7781          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.442      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,529.08          $1,529.08
                                                           Check all that apply.
            NIKITA S RANA
            1760 CRYSTAL WAY                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PLANO, TX 75074                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3174          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.443      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,089.69          $4,089.69
                                                           Check all that apply.
            NIKKI L BAKER
            2345 N HOUSTON ST                              ¨ Contingent
            APT #401                                       ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75219                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5894          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.444      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,514.24              $3,514.24
                                                           Check all that apply.
            NJUGGIE W NDEERE
            2001 N FITZHUGH AVE,                           ¨ Contingent
            #111                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75204                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7848          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.445      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $821.20                $821.20
                                                           Check all that apply.
            NORMA E RUIZ
            1349 NIMITZ WAY                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75181                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5396          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.446      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $7,347.17              $7,347.17
                                                           Check all that apply.
            NORMA OSEI
            1411 LAURA DR                                  ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WYLIE, TX 75098                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1108          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.447      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $13,810.34             $13,810.34
                                                           Check all that apply.
            NYDIA C HENRY-GLASS
            1108 PRAIRIE CREEK PLACE                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FLOWER MOUND, TX 75028                         Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1298          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.448      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            OLIVER C OKOYE
            2245 S SOUTHEAST BLVD #6                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            SPOKANE, WA 99203                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2143          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.449      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,353.41              $2,353.41
                                                           Check all that apply.
            PAMELA A BANKS
            4900 PEAR RIDGE RD 2313                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75287                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3885          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.450      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $784.01                $784.01
                                                           Check all that apply.
            PAMELA J KARAFFA
            2208 PRIMROSE AVENUE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FT WORTH, TX 76111                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1440          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.451      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,879.11              $2,879.11
                                                           Check all that apply.
            PAMELA M GEORGE
            709 WINDSONG                                   ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75149                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3993          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.452      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            PANEDRA U ROGERS
            709 CANDLILA DR                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DESOTO, TX 75115                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9088          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.453      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $468.35                $468.35
                                                           Check all that apply.
            PATIENT T JORKEY
            268 S BARNES DR                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75042                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5664          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.454      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,107.52              $3,107.52
                                                           Check all that apply.
            PATRICK C AKWA
            14715 FOXBRIAR LN                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRISCO, TX 75035                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3413          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.455      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,302.30              $4,302.30
                                                           Check all that apply.
            PATRICK S PATE
            6808 SKILLMAN ST 1311                          ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75231                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1866          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.456      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,447.17              $4,447.17
                                                           Check all that apply.
            PATRICK W TIEMEYER
            4851 CEDAR SPRINGS #384                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75219                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3707          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.457      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,848.22              $1,848.22
                                                           Check all that apply.
            PATSY J BERNARD
            VIVIAN DR                                      ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WAXAHACHIE, TX 75165                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9474          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.458      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            PAUL L SUPELANA
            8410 CARRIE LANE                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROWLETT, TX 75089                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4017          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.459      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $30,381.41             $30,381.41
                                                           Check all that apply.
            PAULA K SPENCER
            2317 EDINBURGH WAY                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75040                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2418          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.460      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $20,122.35             $20,122.35
                                                           Check all that apply.
            PAULA P MATRICARDI
            2000 WESTMINSTER                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MCKINNEY, TX 75070                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 111           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.461      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            PAULA Y HARRIS
            1810 WYNN JOYCE                                ¨ Contingent
            # 101                                          ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5093          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.462      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,880.48              $4,880.48
                                                           Check all that apply.
            PEDRO J RODRIGUEZ
            2201 ROSE COURT                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75060                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0101          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.463      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $27,812.36             $27,812.36
                                                           Check all that apply.
            PEGGY L TODD
            4059 KILLION DRIVE                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75229                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3075          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.464      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $23,185.13         $23,185.13
                                                           Check all that apply.
            PENNY S PALUMBO
            6727 SANTA ANITA DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75214                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2586          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.465      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $917.32            $917.32
                                                           Check all that apply.
            PETRINA C TRUJILLO
            2813 PRESCOTT DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CARROLLTON, TX 75006                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5628          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.466      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,237.46          $3,237.46
                                                           Check all that apply.
            PETRONA J PAZ
            1721 KIRKWOOD DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75041                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3906          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.467      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,506.79          $1,506.79
                                                           Check all that apply.
            PIERCE R PARKER
            1617 CARDINAL POINT                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROYSE CITY, TX 75189                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9492          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.468      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $14,856.19         $14,856.19
                                                           Check all that apply.
            PRESTON D HUFF
            925 NW 7TH STREET                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GRAND PRAIRIE, TX 75050                        Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7448          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.469      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,868.01              $1,868.01
                                                           Check all that apply.
            PRINCESS GBOR
            3814 CATALINA ST                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROWLETT, TX 75088                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4431          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.470      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,830.60              $4,830.60
                                                           Check all that apply.
            RACHEL MORALES
            1221 ROCKLEDGE DR                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1225          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.471      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            RACHEL W KIARIE
            10075 ROYAL LN 2026                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75238                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1299          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.472      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,736.26              $3,736.26
                                                           Check all that apply.
            RANDI A PEDLOW
            6615 SADDLE RIDGE ROAD                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ARLINGTON, TX 76016                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9145          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.473      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            RANDOLPH L PHAM
            6418 NUECES BAY DR                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROWLETT, TX 75089                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5746          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.474      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $17,166.13             $17,166.13
                                                           Check all that apply.
            RAQUEL A JARABATA
            6925 COTTON SEED DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MCKINNEY, TX 75070                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7840          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.475      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $727.84                $727.84
                                                           Check all that apply.
            RAVEN A GALVAN
            5131 AUTUMN HILL DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GRAND PRAIRIE, TX 75052                        Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9181          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.476      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,286.53              $5,286.53
                                                           Check all that apply.
            REBA F PALMER
            2005 PLYMOUTH ROCK DR                          ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75081                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2814          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.477      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $13,262.82             $13,262.82
                                                           Check all that apply.
            REBECCA A MUNCH
            1811 GREENVILLE AVE 2121                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75206                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9576          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.478      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            REGINA N CAIN
            3049 SAINT URSELA DR                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75233                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 6108          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.479      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,837.11              $4,837.11
                                                           Check all that apply.
            REUMALDO SANCHEZ
            208 JANIS LANE                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WAXAHACHIE, TX 75165                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9032          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.480      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            RHONDULA S GREEN
            1701 E HEBRON PKWY                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CARROLLTON, TX 75010                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0666          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.481      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $41,728.09             $41,728.09
                                                           Check all that apply.
            RICHARD E LEONARD
            817 SANDHURST DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PLANO, TX 75025                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 109           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.482      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $10,167.86             $10,167.86
                                                           Check all that apply.
            RICHARD J TROJACEK
            802 CARLETON DR                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75081                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2978          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.483      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,650.32              $3,650.32
                                                           Check all that apply.
            RIK A MONTGOMERY
            9333 SANTEE LN                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRISCO, TX 75033                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3850          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.484      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $9,108.53              $9,108.53
                                                           Check all that apply.
            ROBERT A RUSSO
            6304 BRIMWOOD DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PLANO, TX 75035                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2758          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.485      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            ROBIN I BROWN
            2140 GUS THOMASSON 3204                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75150                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4612          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.486      Priority creditor’s name and mailing address As of the petition filing date, the claim is:       ($1,472.36)             ($1,472.36)
                                                           Check all that apply.
            RODOLFO S COSME
            8690 VIRGINIA PKWY 322                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MCKINNEY, TX 75071                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3251          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.487      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,470.23              $4,470.23
                                                           Check all that apply.
            ROISEAN D SURBER
            5990 ARAPAHO RD # 19-J                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75248                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 8377          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.488      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $236.19                $236.19
                                                           Check all that apply.
            ROLONDA S WORTHEN
            1684 IVYBRIDGE WAY                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4749          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.489      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,054.09          $1,054.09
                                                           Check all that apply.
            RONALD D WHITE
            2251 S SH121                                   ¨ Contingent
            APT 114                                        ¨ Unliquidated
                                                           ¨ Disputed
            LEWISVILLE, TX 75057                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1792          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.490      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $16,201.30         $16,201.30
                                                           Check all that apply.
            RONNELL A JOHNSON
            1609 NIGHTINGALE DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            LEWISVILLE, TX 75077                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2873          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.491      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $8,214.05          $8,214.05
                                                           Check all that apply.
            ROSELLA A RIDDLE
            3009 ELMHURST STREET                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROWLETT, TX 75088                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1239          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.492      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,761.11          $1,761.11
                                                           Check all that apply.
            RYAN-BIANCA WALTER
            13500 NOEL RD 502                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75240                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0918          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.493      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $10,406.46         $10,406.46
                                                           Check all that apply.
            SAJEE MATHEW
            2109 SUNRIDGE DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75042                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1829          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.494      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SAMKUTTY GEORGE
            814 MYERS MEADOWS DR                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0970          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.495      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,768.00              $2,768.00
                                                           Check all that apply.
            SAMUEL S MARTIN
            2333 KIRBY ST                                  ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75204                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2613          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.496      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $7,686.00              $7,686.00
                                                           Check all that apply.
            SANDY A GILCREASE
            1230 POTTER AVENUE                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROCKWALL, TX 75087                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0630          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.497      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SANTOS J MALDONADO
            127 ACADIA LN                                  ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2600          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.498      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,123.78              $3,123.78
                                                           Check all that apply.
            SARA E HAURY
            1456 RED WOLF DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROCKWALL, TX 75087                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1116          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.499      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $6,160.00          $6,160.00
                                                           Check all that apply.
            SCOTT P PATTERSON
            600 WILLOW COVE                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RENO, TX 75462                                 Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0606          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.500      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $23,523.77         $23,523.77
                                                           Check all that apply.
            SELINA RAHMAN
            737 SUNKIST LANE                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75025                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1121          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.501      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $452.20            $452.20
                                                           Check all that apply.
            SERENA R MCDANIEL
            3221 S FM 551                                  ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROYSE CITY, TX 75189                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1523          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.502      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,402.79          $2,402.79
                                                           Check all that apply.
            SETH D JOHNSON
            6060 VILLAGE BEND 2104                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75206                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4668          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.503      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,878.00          $1,878.00
                                                           Check all that apply.
            SHABRICCA L HAWKINS
            2102 LONG FOREST RD                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            HEARTLAND, TX 75126                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2722          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.504      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $620.16            $620.16
                                                           Check all that apply.
            SHANE M GRAHAM
            4450 GOLFERS CIRCLE                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PALM BEACH, FL 33410                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5770          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.505      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,907.00          $2,907.00
                                                           Check all that apply.
            SHANNAN E EVANS
            11411 LUNA RD APT 20107                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FARMERS BRANCH, TX 75234                       Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4725          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.506      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,550.40          $1,550.40
                                                           Check all that apply.
            SHANNON N RICE
            7601 CHURCHILL WAY 1333                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75251                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5293          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.507      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,721.11          $2,721.11
                                                           Check all that apply.
            SHANON G STROUD
            4800 KELLER SPRINGS 1443                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ADDISON, TX 75001                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1430          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.508      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,882.10          $1,882.10
                                                           Check all that apply.
            SHANTA L CLARDY
            2010 GLENRIDGE DR                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROWLETT, TX 75503                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4396          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.509      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,153.21              $2,153.21
                                                           Check all that apply.
            SHARON D WILLIAMS
            PO BOX 1241                                    ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CEDAR HILL, TX 75106                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9158          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.510      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SHAVONDA L FUQUA
            919 VALLEY CREEK RD                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75181                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 6238          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.511      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,085.28              $1,085.28
                                                           Check all that apply.
            SHAWN L WANG
            2100 TRINITY LANE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MCKINNEY, TX 75070                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3179          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.512      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,656.08              $2,656.08
                                                           Check all that apply.
            SHEILA M BARRERA
            1220 CREABTREE CT                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CEDAR HILL, TX 75104                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0376          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.513      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SHERMECKA K DANCY
            3019 BICKERS ST #193                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75212                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4000          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.514      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $394.06                $394.06
                                                           Check all that apply.
            SHERRI D MARTIN
            360 WEST HARWOOD ROAD                          ¨ Contingent
            APT A                                          ¨ Unliquidated
                                                           ¨ Disputed
            HURST, TX 76054                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3641          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.515      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,450.77              $2,450.77
                                                           Check all that apply.
            SHERRI L HARDIN
            1322 RANCHO DR.                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75149                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0931          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.516      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SHERRY L GRIFFIN
            8600 COPPERFIELD LN #303                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2857          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.517      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,006.62              $3,006.62
                                                           Check all that apply.
            SHERRY R GOODE
            526 JOE TYL RD                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            TEXARCANA, TX 75501                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5949          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.518      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $132.04                $132.04
                                                           Check all that apply.
            SHEVELLE N SPEED
            3102 CHARLES COURT                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WHLIE, TX 75098                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4835          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.519      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,234.46          $1,234.46
                                                           Check all that apply.
            SHIKA N BROOKS
            4929 N. GALLOWAY                               ¨ Contingent
            #615                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75150                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3666          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.520      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $791.92            $791.92
                                                           Check all that apply.
            SHINICE N SMITH
            1327 NEWTON DR                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CEDAR HILL, TX 75104                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9584          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.521      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,050.01          $1,050.01
                                                           Check all that apply.
            SHINY PETER
            3718 EASTON MEADOWS 7201                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5654          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.522      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $19,306.40         $19,306.40
                                                           Check all that apply.
            SHIRLEY J PAYNE
            13695 GOLDMARK DR 4203                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75240                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 6289          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.523      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,354.85          $1,354.85
                                                           Check all that apply.
            SHONDOLYN L BLAIR
            3811 HERRLING ST                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75210                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0097          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.524      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SHONTELL A WHITE
            2117 LINCOLN DR 1086                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ARLINGTON, TX 76011                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4670          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.525      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $10,307.50             $10,307.50
                                                           Check all that apply.
            SHUDAN ZHANG
            7150 SPRING VALLEY                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75254                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1041          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.526      Priority creditor’s name and mailing address As of the petition filing date, the claim is:            $97.95                 $97.95
                                                           Check all that apply.
            SHUN S WATSON
            10227 MACARTHUR BLVD 269                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75063                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9809          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.527      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $723.65                $723.65
                                                           Check all that apply.
            SIMONE R TBAINI
            4404 MEADOWVIEW LANE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            SACHSE, TX 75048                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3706          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.528      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $889.14                $889.14
                                                           Check all that apply.
            SOLOMON J THULLAH
            6121 ABRAMS ST APT 2116                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75231                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5257          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.529      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,444.00              $1,444.00
                                                           Check all that apply.
            SOMPHAVANH KEOHAVONG
            4837 CEDAR SPRINGS #315                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75219                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1170          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.530      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $11,149.38             $11,149.38
                                                           Check all that apply.
            SONAM CHOKEY
            8200 SOUTHWESTERN 712                          ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75206                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7774          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.531      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,015.52              $2,015.52
                                                           Check all that apply.
            SORAYA JOHNSON
            4601 LATHEM DRIVE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRISCO, TX 75034                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5366          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.532      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $755.82                $755.82
                                                           Check all that apply.
            SOSAMMA ABRAHAM
            5117 CRAWFISH LANE                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5955          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.533      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            STACYE L WILSON
            4933 GREAT DIVIDE DR                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FT WORTH, TX 76137                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2399          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.534      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            STANLY SIMON
            3928 FENS DR                                   ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CARROLLTON, TX 75007                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0260          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.535      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            STEPHANIE A BANKS
            2709 W ROYAL LN APT 612                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75063                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5281          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.536      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $9,445.18              $9,445.18
                                                           Check all that apply.
            STEPHANIE L HYDEN
            13037 EMERALD RANCH LANE                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7373          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.537      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $536.18                $536.18
                                                           Check all that apply.
            STEPHANIE L LETT
            9448 FOREST LN #1107                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3550          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.538      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $297.16                $297.16
                                                           Check all that apply.
            STEVE A DAVIS
            3009 O HENRY DRIVE                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 755042                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5927          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.539      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $22,859.45             $22,859.45
                                                           Check all that apply.
            STEVEN R FRIEDMAN
            8441 TOWNESHIP LANE                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1270          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.540      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $8,535.30              $8,535.30
                                                           Check all that apply.
            STEWART W MORRISON
            1745 BLOSSOM TRAIL                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PLANO, TX 75074                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0706          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.541      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,210.63              $5,210.63
                                                           Check all that apply.
            SUDEIPT LYALL
            3301 NORTHSTAR RD 516                          ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75082                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7529          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.542      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SUDHAN GHIMIRE
            1632 SECRETARIAT LN                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75060                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4855          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.543      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $14,272.57             $14,272.57
                                                           Check all that apply.
            SUMMER D SUTCLIFFE
            1636 SOUTHWESTERN DR                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ALLEN, TX 75013                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2438          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.544      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            SUMMER R WILSON
            1205 N MACARTHUR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75061                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0045          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.545      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,734.95              $5,734.95
                                                           Check all that apply.
            SUNG-CHUL SONG
            6015 LEWIS STREET                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75206                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2061          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.546      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,498.15              $5,498.15
                                                           Check all that apply.
            SUSAMA DOTEL
            4102 ESTERS RD 289                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75038                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2162          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.547      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $9,925.80              $9,925.80
                                                           Check all that apply.
            SUSAN E SAVAGE
            418 W OAK STREET                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WYLIE, TX 75098                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9493          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.548      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,631.02              $1,631.02
                                                           Check all that apply.
            SUSAN M JOHNSON
            2205 JEFFERSON TRAIL                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DENTON, TX 76205                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2422          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.549      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,137.50          $1,137.50
                                                           Check all that apply.
            SUSEN D MCCLEERY-DERRICK
            10526 YORKFORD DRIVE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75238                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5986          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.550      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,900.48          $3,900.48
                                                           Check all that apply.
            TAMEKA N WELLS
            8275 STONEBROOK PKY 2211                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRISCO, TX 75034                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2762          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.551      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $815.51            $815.51
                                                           Check all that apply.
            TAMMY I AKIN
            P.O. BOX 741731                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4073          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.552      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $15,447.76         $15,447.76
                                                           Check all that apply.
            TAMMY M COPLING
            2729 GARLAND AVE APT 3                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75040                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9352          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.553      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $697.68            $697.68
                                                           Check all that apply.
            TAMMY TABERA
            2802 CHARIOT LN                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75044                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2361          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim        Priority amount

 2.554      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,716.78           $5,716.78
                                                           Check all that apply.
            TAMRA L TRUITT
            2409 MIGUEL LN                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ARLINGTON, TX 76016                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3105          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.555      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           ($99.63)            ($99.63)
                                                           Check all that apply.
            TANIA R FREIRE
            1401 SCOTTSBORO LANE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75081                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5784          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.556      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,666.87           $1,666.87
                                                           Check all that apply.
            TANYA DAVIS
            13218 CARTHANGE LANE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75143                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1163          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.557      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $959.04             $959.04
                                                           Check all that apply.
            TARA J BRAWLEY
            528 LASALLE DRIVE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75081                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5043          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.558      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $403.75             $403.75
                                                           Check all that apply.
            TARA S SAVAGE
            1406 ACTON AVE      13                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DUNCANVILLE, TX 75137                          Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5807          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.559      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $715.88                $715.88
                                                           Check all that apply.
            TARA T FIELD
            5603 TIMBERS TRL DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            HUMBLE, TX 77346                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7268          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.560      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $567.78                $567.78
                                                           Check all that apply.
            TATIANA I BURKINS
            10000 WALNUT ST APT 2061                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0625          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.561      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,124.09              $2,124.09
                                                           Check all that apply.
            TAYLOR M TAYLOR
            3901 ACCENT DRIVE #1226                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75287                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1987          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.562      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $684.89                $684.89
                                                           Check all that apply.
            TEKARA T YOUNG
            10222 WALTON WALKER 3005                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75220                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3307          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.563      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            TERESA A WOLFE
            103 LELAND AVENUE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MCKINNEY, TX 75069                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0100          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.564      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $597.36                $597.36
                                                           Check all that apply.
            TERESA D YOUNG
            PO BOX 15                                      ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WEATHERFORD, TX 76086                          Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 121           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.565      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $678.30                $678.30
                                                           Check all that apply.
            TERIMEIKA L SLATEN
            8850 FERGUSON RD                               ¨ Contingent
            #3062                                          ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75228                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0335          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.566      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            TERRA L JOHNSON
            4 KATIE CT                                     ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MANSFIELD, TX 76063                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0184          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.567      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,199.55              $2,199.55
                                                           Check all that apply.
            TERRACE B DIAZ
            4800 KELLER SPRINGS 1443                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ADDISON, TX 75001                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 8963          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.568      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $232.56                $232.56
                                                           Check all that apply.
            TERRANCE A PICHON
            3622 ANTHONY DR.                               ¨ Contingent
            #1D                                            ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75150                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3826          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.569      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $9,798.64          $9,798.64
                                                           Check all that apply.
            TERRI J RITCHISON
            2817 ST. CHARLES DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PLANO, TX 75074                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2321          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.570      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,318.89          $1,318.89
                                                           Check all that apply.
            TERRI K TYREE
            709 BROOKFIELD DRIVE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75040                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1231          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.571      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,061.82          $3,061.82
                                                           Check all that apply.
            TERRI L BENBOW
            280 W RENNER RD       4112                     ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75080                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3338          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.572      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $573.41            $573.41
                                                           Check all that apply.
            TESHIA M SHELDON
            11012 JEFFREY'S BAY                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRISCO, TX 75035                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2020          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.573      Priority creditor’s name and mailing address As of the petition filing date, the claim is:       UNKNOWN            UNKNOWN
                                                           Check all that apply.
            TEXAS COMPTROLLER OF PUBLIC
            ACCOUNTS                                       þ Contingent
            LYNDON B JOHNSON STATE OFFICE BLDG             þ Unliquidated
            111 EAST 17TH ST                               þ Disputed
            AUSTIN, TX 78774                               Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)




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                                                                                                         Total claim           Priority amount

 2.574      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $6,406.71              $6,406.71
                                                           Check all that apply.
            THELMA T PAMPHILE
            108 MAIN PLACE                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            EULESS, TX 76040                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 101           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.575      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            THERESA BROWN
            7171 GASTON AVE,                               ¨ Contingent
            APT 1226                                       ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75214                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 8863          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.576      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,279.53              $1,279.53
                                                           Check all that apply.
            THERESE D VERGARA
            1102 SANDY CREEK DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ALLEN, TX 75002                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3620          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.577      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $7,875.50              $7,875.50
                                                           Check all that apply.
            THOMAS M O'GORMAN
            2613 FOUNTAIN HEAD DR                          ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            PLANO, TX 75023                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7480          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.578      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,454.10              $4,454.10
                                                           Check all that apply.
            THUY B NGUYEN
            2564 PRIMEROSE DR                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75082                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 6743          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.579      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $586.25                $586.25
                                                           Check all that apply.
            THYREN M JUSTUS
            3520 WHEELER ST                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75209                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3632          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.580      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            TIA C GAINES
            7474 SKILLMAN ST # 710                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75231                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3741          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.581      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $150.52                $150.52
                                                           Check all that apply.
            TIANA R TANNER
            3716 VALLEY VIEW LN 1032                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75062                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5939          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.582      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $616.67                $616.67
                                                           Check all that apply.
            TIESHA C BURROWS
            2929 CLEARMEADOW DR                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75181                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0628          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.583      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            TIFANY L COLLINS
            6420 GLENNOX LANE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75214                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7690          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.584      Priority creditor’s name and mailing address As of the petition filing date, the claim is:            $96.90             $96.90
                                                           Check all that apply.
            TIFFANEY L CHERRY
            770 GATEWAY RD 258                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 4653          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.585      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $13,161.64         $13,161.64
                                                           Check all that apply.
            TIFFANY A CLARK
            2737 N FITZHIGH AVE                            ¨ Contingent
            APT # 3327                                     ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75204                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0281          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.586      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $12,052.34         $12,052.34
                                                           Check all that apply.
            TIFFANY HOPKINS
            504 ELM GROVE TRAIL                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1408          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.587      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,587.97          $5,587.97
                                                           Check all that apply.
            TIFFANY R COOPER
            4849 FRANKFORD RD                              ¨ Contingent
            APT 1037-1                                     ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75287                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2153          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.588      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $11,965.58         $11,965.58
                                                           Check all that apply.
            TINA G COKER
            1700 CEDAR SPRINGS RD                          ¨ Contingent
            #1204                                          ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75202                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 105           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.589      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            TNEECIA L APPLEWHITE
            PO BOX 180723                                  ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75227                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3827          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.590      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $647.66                $647.66
                                                           Check all that apply.
            TOBIAS A SMITH
            1435 BOGGS RD # 1008                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DULUTHTON, GA 30096                            Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7772          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.591      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,090.99              $1,090.99
                                                           Check all that apply.
            TODD A GRAHAM
            639 CAMBRIDGE CIRCLE                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75080                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 8427          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.592      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $5,817.52              $5,817.52
                                                           Check all that apply.
            TODD K GRUNDNER
            1703 TRAVIS COURT                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ALLEN, TX 75002                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9914          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.593      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,865.13              $3,865.13
                                                           Check all that apply.
            TODD S BALES
            4533 CEDAR SPRINGS 203                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75219                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1533          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.594      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $383.15            $383.15
                                                           Check all that apply.
            TOMMY L BURTON
            18081 MIDWAY RD APT 822                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75287                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3726          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.595      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,173.12          $3,173.12
                                                           Check all that apply.
            TONIA S HENNING
            8667 CARSGATE PLACE                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75238                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9616          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.596      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $7,143.42          $7,143.42
                                                           Check all that apply.
            TOP T LUANGRAJ
            2517 BRIARCLIFF DR                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            IRVING, TX 75062                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9510          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.597      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $433.50            $433.50
                                                           Check all that apply.
            TRACY D JACKSON
            202 TRELLIS PLACE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            RICHARDSON, TX 75081                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2475          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.598      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,116.16          $3,116.16
                                                           Check all that apply.
            TRACY I PARRISH
            705 BRAY CENTRAL DR 5106                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ALLEN, TX 75013                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9146          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.599      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,849.11              $1,849.11
                                                           Check all that apply.
            TRANG X TRAN
            3463 RIDGE OAK WAY                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FARMERS BRANCH, TX 75234                       Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7963          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.600      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $8,096.60              $8,096.60
                                                           Check all that apply.
            TRINA L TAYLOR
            1405 WHIPPOORWILL DR                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75040                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3378          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.601      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            TRINIDAD P ANDRES
            1604 HILLTOP DR                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75042                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0139          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.602      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,131.93              $1,131.93
                                                           Check all that apply.
            UNNIKRISHNAN S KANNAMTHANATHU
            621 SOUTHWYND STREET                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75150                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3074          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.603      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $486.55                $486.55
                                                           Check all that apply.
            URSULA M MUZEYA
            3001 KNIGHTS BRIDGE LN                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75043                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3537          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.604      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,114.41              $1,114.41
                                                           Check all that apply.
            UVALDO MONTELONGO
            617 N TOWN EAST #623                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MESQUITE, TX 75150                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1064          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.605      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            VALERIE M MARQUEZ
            1103 SANDY TRAIL                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ALLEN, TX 75002                                Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5160          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.606      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,183.37              $2,183.37
                                                           Check all that apply.
            VAN LOUIS M REYES
            17006 HIDDEN TREASURE CR                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRIENDSWOOD, TX 77546                          Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2630          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.607      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,913.46              $2,913.46
                                                           Check all that apply.
            VANESSA DIOSDADO
            5200 TOWN AND COUNTRY BL                       ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FRISCO, TX 75034                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9612          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.608      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $460.91                $460.91
                                                           Check all that apply.
            VERONICA RODRIGUEZ
            2042 CHESTNUT RD                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            CARROLLTON, TX 75007                           Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5797          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.609      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,569.36          $2,569.36
                                                           Check all that apply.
            VICKI J LAWRENCE
            403 BRIDGES ST                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75217                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 6695          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.610      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,991.77          $3,991.77
                                                           Check all that apply.
            VICKIE D CUTBIRTH
            7135 GREY DAWN LN                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75227                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1635          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.611      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $15,187.24         $15,187.24
                                                           Check all that apply.
            VICKY G PEARSON
            9547 CR 346                                    ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            TERRELL, TX 75161                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2231          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.612      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $697.68            $697.68
                                                           Check all that apply.
            VICKY M CARTER-PEARCE
            11055 COUNTRY RIDGE LN                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1306          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.613      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $20,182.41         $20,182.41
                                                           Check all that apply.
            VICKY RUSSELL
            27874 BUCK CREEK RD                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            BOKOSHE, OK 74930                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1065          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim       Priority amount

 2.614      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,501.15          $2,501.15
                                                           Check all that apply.
            VICTOR B OGEGA
            2355 N HWY 360 1038                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GRAND PRAIRIE, TX 75050                        Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2597          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.615      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,354.04          $2,354.04
                                                           Check all that apply.
            VICTORIA D RODRIGUEZ
            5759 PINELAND DR #2064                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75231                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3024          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.616      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $14,278.47         $14,278.47
                                                           Check all that apply.
            VISAL P CHEV
            113 BOB WHITE CT                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ROCKWALL, TX 75087                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2733          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.617      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $323.00            $323.00
                                                           Check all that apply.
            VLADIMIR E JIRON
            3727 ELISE WAY                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75236                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5810          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.618      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $4,789.46          $4,789.46
                                                           Check all that apply.
            VONTELLA W STEWART
            2312 EMERALD LANE                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            MCKINNEY, TX 75071                             Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 9261          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.619      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.26              $0.26
                                                           Check all that apply.
            VONTISHA S LACY
            4009 WINDSOR AVENUE                            ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            WACO, TX 76708                                 Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1779          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.620      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $1,478.80              $1,478.80
                                                           Check all that apply.
            WADE R VADNEY
            1708 ARROW LANE                                ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GARLAND, TX 75042                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 2386          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.621      Priority creditor’s name and mailing address As of the petition filing date, the claim is:           $815.93                $815.93
                                                           Check all that apply.
            WILLIAM A MENSAH
            10127 APPLE CREEK DRIVE                        ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 5450          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.622      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $3,956.04              $3,956.04
                                                           Check all that apply.
            WILLIAM B SMITH
            203 JESSICA CT                                 ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 1348          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.623      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,580.58              $2,580.58
                                                           Check all that apply.
            WILLIAM F TAYAMEN
            109 FIELDWOOD CT                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            FORNEY, TX 75126                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 119           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                         Total claim           Priority amount

 2.624      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,563.99              $2,563.99
                                                           Check all that apply.
            WILLIAM R KILGORE
            2502 KNIGHTSBRIDGE                             ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            GRAND PRAIRIE, TX 75050                        Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 3889          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.625      Priority creditor’s name and mailing address As of the petition filing date, the claim is:        $14,452.18             $14,452.18
                                                           Check all that apply.
            WILLIE C WHITE
            400 GEORGETOWN DR                              ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            EVERMAN, TX 76140                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 122           þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.626      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $2,795.80              $2,795.80
                                                           Check all that apply.
            WINNEFRED H AKANGBOU
            8631 BRITTANIA COURT                           ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75243                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7851          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.627      Priority creditor’s name and mailing address As of the petition filing date, the claim is:         $6,036.63              $6,036.63
                                                           Check all that apply.
            WINSTON Q WILLIAMS
            4005 VITRUVIAN WAY 250                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            ADDISON, TX 75001                              Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 0941          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

 2.628      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $0.00              $0.00
                                                           Check all that apply.
            YSHECA S LEE
            9808 WHISTLER DR                               ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
            DALLAS, TX 75217                               Basis for the claim:
            Date or dates debt was incurred                VACATION PAYABLE
                                                           Is the claim subject to offset?
            Last 4 digits of account number: 7544          þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)




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                                                                                                                 Total claim          Priority amount

 2.629      Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $2,594.93             $2,594.93
                                                            Check all that apply.
            YUSANG KIM
            1211 FLANDERS ST                                ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
            DALLAS, TX 75208                                Basis for the claim:
            Date or dates debt was incurred                 VACATION PAYABLE
                                                            Is the claim subject to offset?
            Last 4 digits of account number: 3582           þ No
            Specify Code subsection of PRIORITY             ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (4)

  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims


 3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                    Amount of claim

 3.1        Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                       $913.18
                                                                             Check all that apply.
            214-265-5937 ATT
            PO BOX 5001                                                      ¨ Contingent
                                                                             ¨ Unliquidated
                                                                             ¨ Disputed
            CAROL STREAM, IL 60197-5001                                      Basis for the claim:
                                                                             TRADE VENDOR
            Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                             þ No
            Last 4 digits of account number: 1743                            ¨ Yes

 3.2        Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                    $14,559.94
                                                                             Check all that apply.
            214-365-1100 ATT
            PO BOX 105414                                                    ¨ Contingent
                                                                             ¨ Unliquidated
                                                                             ¨ Disputed
            ATLANTA, GA 30348-5414                                           Basis for the claim:
                                                                             TRADE VENDOR
            Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                             þ No
            Last 4 digits of account number: 1744                            ¨ Yes

 3.3        Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                   $164,257.00
                                                                             Check all that apply.
            360 MEDICAL, LLC
            1925 EDGEWATER                                                   ¨ Contingent
            PLANO, TX 75075                                                  þ Unliquidated
                                                                             ¨ Disputed
            Date or dates debt was incurred
                                                                             Basis for the claim:
            Last 4 digits of account number:                                 SURPLUS CASH NOTES
                                                                             Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                    $84,364.43
                                                                             Check all that apply.
            360 MEDICAL, LLC
            1925 EDGEWATER                                                   ¨ Contingent
            PLANO, TX 75075                                                  þ Unliquidated
                                                                             ¨ Disputed
            Date or dates debt was incurred
                                                                             Basis for the claim:
            Last 4 digits of account number:                                 SURPLUS CASH NOTES
                                                                             Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes



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 3.5        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $699.85
                                                                       Check all that apply.
            469-232-9572 ATT
            PO BOX 105414                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30348-5414                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1741                      ¨ Yes

 3.6        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            721 EXECUTIVE MANAGEMENT
            2310 N HENDERSON AVE #721                                  þ Contingent
            DALLAS, TX 75206                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           LITIGATION
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,143.25
                                                                       Check all that apply.
            831-000-4321 ATT
            PO BOX 5019                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CAROL STREAM, IL 60197-5019                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1738                      ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,163.73
                                                                       Check all that apply.
            972-863-6090 ATT
            PO BOX 105414                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30348-5414                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1742                      ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,500.00
                                                                       Check all that apply.
            A. CARL HENRY, M.D.
            3409 WORTH STREET                                          ¨ Contingent
            STE 720                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75246                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1710                      ¨ Yes




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 3.10       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $537,099.03
                                                                       Check all that apply.
            A. JAY STAUB
            7006 N. JANMAR DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.11       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,577.28
                                                                       Check all that apply.
            A. JAY STAUB
            7006 N. JANMAR DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.12       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,273.25
                                                                       Check all that apply.
            ABBOTT LABORATORIES INC
            100 ABBOTT PARK ROAD                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ABBOTT PARK, IL 60064                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1026                      ¨ Yes

 3.13       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $126,825.26
                                                                       Check all that apply.
            ABBOTT VASCULAR
            75 REMITTANCE DR                                           ¨ Contingent
            STE 1138                                                   ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60675-1138                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1105                      ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $765.38
                                                                       Check all that apply.
            ABILITY NETWORK INC
            DEPT CH 16577                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PALATINE, IL 60055-6577                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1708                      ¨ Yes




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 3.15       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $16,095.82
                                                                      Check all that apply.
            ACADIAN AMBULANCE SERVICES
            PO BOX 92970                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            LAFAYETTE, LA 70509-2970                                  Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1889                     ¨ Yes

 3.16       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $6,879.70
                                                                      Check all that apply.
            ACCENT
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
            Date or dates debt was incurred                           TRADE VENDOR
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: 0122                     þ No
                                                                      ¨ Yes

 3.17       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,327.38
                                                                      Check all that apply.
            ACCESS CLOSURE INC
            PO BOX 347446                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PITTSBURGH, PA 15251-4446                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1472                     ¨ Yes

 3.18       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,290.75
                                                                      Check all that apply.
            ACCESS E FORMS LP
            PO BOX 733                                                ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            SULPHUR SPRINGS, TX 75483                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1266                     ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $68,221.15
                                                                      Check all that apply.
            ACCOUNTABLE HEALTHCARE STAFF
            PO BOX 732800                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75373-2800                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1578                     ¨ Yes




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 3.20       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $82,128.50
                                                                       Check all that apply.
            ACCOUNTABLE PHYSICIANS INVESTMENT, LLC
            5521 CEDAR CREEK LANE                                      ¨ Contingent
            DALLAS, TX 75252                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.21       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $19,232.42
                                                                       Check all that apply.
            ACCOUNTING PRINCIPALS
            10201 CENTURION PKWY N #400                                ¨ Contingent
            JACKSONVILLE, FL 32256                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2052                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.22       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,394.74
                                                                       Check all that apply.
            ACCUVEIN INC
            27874 BUCK CREEK RD                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BOKOSHE, OK 74930                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1065                      ¨ Yes

 3.23       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,357.00
                                                                       Check all that apply.
            ACELL, INC
            PO BOX 347766                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGE, PA 15251-4766                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1682                      ¨ Yes

 3.24       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,500.00
                                                                       Check all that apply.
            ACUITY SURGICAL DEVICES, LLC
            14215 PROTON ROAD                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75244                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1675                      ¨ Yes




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 3.25       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,790,330.09
                                                                       Check all that apply.
            ADENIRAN ABRAHAM ARIYO
            2411 POINCIANA PLACE                                       ¨ Contingent
            DALLAS, TX 75212                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.26       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,790,330.09
                                                                       Check all that apply.
            ADVISORS HEALTH CARE FUND, LLC
            2952 VIA ESPERANZA                                         ¨ Contingent
            EDMOND, OK 73013                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.27       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $137,645.85
                                                                       Check all that apply.
            AESCULAP INC
            PO BOX 780426                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PHILADELPHIA, PA 19178-0426                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1005                      ¨ Yes

 3.28       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,510.98
                                                                       Check all that apply.
            AHMAD FOROUTAN
            3001 SHELTON WAY                                           ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,187.33
                                                                       Check all that apply.
            AIRGAS USA, LLC
            PO BOX 676015                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75267-6015                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1055                      ¨ Yes




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 3.30       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,330.00
                                                                      Check all that apply.
            ALERE INFORMATICS, INC
            PO BOX 845849                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            BOSTON, MA 02284-5849                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1036                     ¨ Yes

 3.31       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,178.35
                                                                      Check all that apply.
            ALIMED, INC
            ACCOUNTS RECEIVABLE                                       ¨ Contingent
            PO BOX 9135                                               ¨ Unliquidated
                                                                      ¨ Disputed
            DEDHAM, MA 02027                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1553                     ¨ Yes

 3.32       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,334.05
                                                                      Check all that apply.
            ALL CUSTOM WEAR
            PO BOX 872984                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            KANSAS CITY, MO 64187-2984                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1332                     ¨ Yes

 3.33       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $393.92
                                                                      Check all that apply.
            ALL HANDS FIRE EQUIPMENT
            PO BOX 1245                                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            WALL, NJ 07719                                            Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1704                     ¨ Yes

 3.34       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,631.66
                                                                      Check all that apply.
            ALLEGIANCE AMBULANCE
            PO BOX 4320                                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            HOUSTON, TX 77210-4320                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1912                     ¨ Yes




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 3.35       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $14,404.87
                                                                       Check all that apply.
            ALLIED WORLD
            4407 PICKERING PLACE                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            COLLEGE STATION, TX 77845                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2029                      ¨ Yes

 3.36       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $855.00
                                                                       Check all that apply.
            ALLOSOURCE
            6278 S TROY CIR                                            ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CENTENNIAL, CO 80111                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1776                      ¨ Yes

 3.37       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            ALPHATEC SPINE, INC.
            C/O MARK A. BUKATY                                         þ Contingent
            13155 NOEL ROAD, SUITE 900                                 þ Unliquidated
            DALLAS, TX 75240                                           þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       LITIGATION
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.38       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,397.07
                                                                       Check all that apply.
            AMBU INC
            PO BOX 347818                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15251-4818                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1004                      ¨ Yes

 3.39       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            AMEESA MAJID
            3352 BLACKBURN ST                                          ¨ Contingent
            DALLAS, TX 75204                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.40       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $73,602.40
                                                                       Check all that apply.
            AMEESA MAJID
            3352 BLACKBURN ST                                          ¨ Contingent
            DALLAS, TX 75204                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.41       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            AMENDIA, INC
            GRUBER ELROD JOHANSEN                                      þ Contingent
            C/O TREY H CRAWFORD                                        þ Unliquidated
            1445 ROSS AVE, STE 2500                                    þ Disputed
            DALLAS, TX 75202                                           Basis for the claim:
            Date or dates debt was incurred                            LITIGATION
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.42       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $155,684.04
                                                                       Check all that apply.
            AMENDIA, INC.
            1755 WEST OAK PARKWAY                                      ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MARIETTA, GA 30062                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1773                      ¨ Yes

 3.43       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $15,150.00
                                                                       Check all that apply.
            AMERICAN COLLEGE OF CARDIOLO
            PO BOX 37095                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BALTIMORE, MD 21297-3095                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1242                      ¨ Yes

 3.44       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $774.56
                                                                       Check all that apply.
            AMERICAN GOLF CARS
            855 SOUTH LOOP 12                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            IRVING, TX 75060                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1925                      ¨ Yes




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 3.45       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,187.00
                                                                       Check all that apply.
            AMERICAN HEALTH INFORMATION
            233 N MICHIGAN AVE                                         ¨ Contingent
            SUITE 2100                                                 ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60601                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1993                      ¨ Yes

 3.46       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,023.00
                                                                       Check all that apply.
            AMERICAN MEDICAL RESPONSE
            PO BOX 847925                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75284-7925                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1715                      ¨ Yes

 3.47       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,495.00
                                                                       Check all that apply.
            AMNIOX MEDICAL, INC.
            8305 NW 27 STREET, STE 101                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DORAL, FL 33122                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1910                      ¨ Yes

 3.48       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $76,304.20
                                                                       Check all that apply.
            AMY ANDERSON
            3533 SOUTHWESTERN BOULEVARD                                ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.49       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $231,154.56
                                                                       Check all that apply.
            ANDREW J LUISI JR
            17110 DALLAS PARKWAY                                       ¨ Contingent
            SUITE 290                                                  þ Unliquidated
            DALLAS, TX 75248                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.50       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            ANDREW K. PHAN
            3503 ASBURY STREET                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.51       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $321,449.48
                                                                       Check all that apply.
            ANDREW K. PHAN
            3503 ASBURY STREET                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.52       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            ANDREW K. PHAN
            3503 ASBURY STREET                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.53       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $150,575.54
                                                                       Check all that apply.
            ANDREW LUISI (JESAJL1998, LLC)
            17110 DALLAS PARKWAY                                       ¨ Contingent
            SUITE 290                                                  þ Unliquidated
            DALLAS, TX 75248                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.54       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $158,948.81
                                                                       Check all that apply.
            ANGELA STRAFACE
            3700 IMPERIAL DRIVE                                        ¨ Contingent
            FLOWER MOUND, TX 75028                                     þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.55       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,148.19
                                                                       Check all that apply.
            ANGIODYNAMICS, INC
            PO BOX 1549                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ALBANY, NY 12201-1549                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1482                      ¨ Yes

 3.56       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            ANN WOODBRIDGE STILLMAN, MD
            3608 BRYN MAUR                                             ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.57       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $172,802.54
                                                                       Check all that apply.
            ANN WOODBRIDGE STILLMAN, MD
            3608 BRYN MAUR                                             ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.58       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,620.70
                                                                       Check all that apply.
            ANN WOODBRIDGE STILLMAN, MD
            3608 BRYN MAUR                                             ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.59       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,535.28
                                                                       Check all that apply.
            APPLETON MEDICAL SERVICES
            118 NORTH MAIN STREET                                      ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            SAINT CHARLES, MO 63301                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1593                      ¨ Yes




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 3.60       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $862.57
                                                                       Check all that apply.
            APRIOMED, INC.
            2 PALMER DRIVE                                             ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            LONDONDERRY, NH 03053                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2021                      ¨ Yes

 3.61       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,125.00
                                                                       Check all that apply.
            ARGON MEDICAL DEVICES INC
            PO BOX 677482                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75267                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1425                      ¨ Yes

 3.62       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $15,528.54
                                                                       Check all that apply.
            ARTHREX INC
            PO BOX 403511                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30384-3511                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1601                      ¨ Yes

 3.63       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,840.26
                                                                       Check all that apply.
            ASAHI INTECC USA, INC
            2500 RED HILL AVE STE 210                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            SANTA ANA, CA 92705                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2017                      ¨ Yes

 3.64       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $159,983.07
                                                                       Check all that apply.
            ASHIRVAAD TRUST
            6430 PEMBERTON DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.65       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $159,168.25
                                                                       Check all that apply.
            ASHIRVAAD TRUST
            6430 PEMBERTON DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.66       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            ASHIRVAAD, LP
            6430 PEMBERTON DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.67       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,067.55
                                                                       Check all that apply.
            ASPEN SURGICAL PRODUCTS INC
            3998 RELIABLE PARKWAY                                      ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60686-0039                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1003                      ¨ Yes

 3.68       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,838.00
                                                                       Check all that apply.
            ASTORA WOMENS HEALTH, LLC
            PO BOX 74008158                                            ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60674-8158                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1456                      ¨ Yes

 3.69       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $911.41
                                                                       Check all that apply.
            AT&T ATLANTA
            PO BOX 105414                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30348-5414                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1363                      ¨ Yes




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                                                                                                                      Amount of claim

 3.70       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,188.74
                                                                      Check all that apply.
            AT&T PO BOX 5019
            PO BOX 5019                                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CAROL STREAM, IL 60197                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1404                     ¨ Yes

 3.71       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                 $88.65
                                                                      Check all that apply.
            AT&T TELECONFERENCE SERVICES
            PO BOX 5002                                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CAROL STREAM, IL 601975002                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1303                     ¨ Yes

 3.72       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $1,353,193.13
                                                                      Check all that apply.
            ATALAYA ADMINISTRATIVE LLC
            ATTN: JUSTIN FRANTZREB                                    ¨ Contingent
            780 THIRD AVE, 27TH FLOOR                                 ¨ Unliquidated
                                                                      ¨ Disputed
            NEW YORK, NY 10017                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1485                     ¨ Yes

 3.73       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $20,028.75
                                                                      Check all that apply.
            ATLAS MEDSTAFF LLC
            11840 NICHOLAS STREET                                     ¨ Contingent
            STE 215                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            OMAHA, NE 68154                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1781                     ¨ Yes

 3.74       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $18,008.61
                                                                      Check all that apply.
            ATMOS ENERGY
            PO BOX 790311                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ST. LOUIS, MO 63179-0311                                  Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1253                     ¨ Yes




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                                                                                                                       Amount of claim

 3.75       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,750.00
                                                                       Check all that apply.
            ATRICURE, INC.
            6217 CENTRE DRIVE                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            WEST CHESTER, OH 45069                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1915                      ¨ Yes

 3.76       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,186.70
                                                                       Check all that apply.
            AUREUS RADIOLOGY
            13609 CALIFORNIA ST                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            OMAHA, NE 68154                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1758                      ¨ Yes

 3.77       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,997.50
                                                                       Check all that apply.
            AUTO-SAN, LLC
            PO BOX 171415                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MEMPHIS, TN 38187-1415                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1772                      ¨ Yes

 3.78       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,764.78
                                                                       Check all that apply.
            AVINGER, INC
            400 CHESAPEAKE DR                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            REDWOOD CITY, CA 94083                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1598                      ¨ Yes

 3.79       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $86,854.81
                                                                       Check all that apply.
            AVRAHAM
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.80       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $94,613.42
                                                                       Check all that apply.
            BAHRAM ROBERT OLIAI, MD - OLIAI REVOCABLE TRUST
            4211 MCFARLIN BLVD                                         ¨ Contingent
            UNIVERSITY PARK, TX 75205                                  þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.81       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $50,000.00
                                                                       Check all that apply.
            BAKER BOTTS LLP
            PO BOX 301251                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75303-1251                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1861                      ¨ Yes

 3.82       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $12,000.00
                                                                       Check all that apply.
            BAKER, DONELSON, BEARMAN
            165 MADISON AVE, STE 2000                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MEMPHIS, TN 38103                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1919                      ¨ Yes

 3.83       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,375.00
                                                                       Check all that apply.
            BARD ACCESS SYSTEMS, SUB OF
            PO BOX 75767                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHARLOTTE, NC 28275                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1002                      ¨ Yes

 3.84       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             ($1,118.67)
                                                                       Check all that apply.
            BARD PERIPHERAL VASCULAR SUB
            PO BOX 75767                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHARLOTTE, NC 28275                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1056                      ¨ Yes




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 3.85       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $15,986.04
                                                                      Check all that apply.
            BAXTER HEALTHCARE CORPORATIO
            PO BOX 730531                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75373-0531                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1278                     ¨ Yes

 3.86       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $13,584.70
                                                                      Check all that apply.
            BAYER CORPORATION
            PO BOX 360172                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PITTSBURGH, PA 15251-6172                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1101                     ¨ Yes

 3.87       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              ($783.76)
                                                                      Check all that apply.
            BAYLIS MEDICAL COMPANY
            5959 TRANS-CANADA HIGHWAY                                 ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MONTREAL, QC H4T1A1                                       Basis for the claim:
            CANADA                                                    TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1292                     ¨ Yes

 3.88       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $12,339.85
                                                                      Check all that apply.
            BEACON HILL STAFFING GROUP
            11055 COUNTRY RIDGE LN                                    ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FORNEY, TX 75126                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1306                     ¨ Yes

 3.89       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $694.80
                                                                      Check all that apply.
            BEE'S KEYES
            7711 INWOOD RD                                            ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75209                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1699                     ¨ Yes




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                                                                                                                      Amount of claim

 3.90       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,687.41
                                                                      Check all that apply.
            BETSY ROSS FLAG GIRL INC
            11005 GARLAND RD                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75218                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1983                     ¨ Yes

 3.91       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $5,110.58
                                                                      Check all that apply.
            BIOMERIEUX, INC
            PO BOX 500308                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ST. LOUIS, MO 63150-0308                                  Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1341                     ¨ Yes

 3.92       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $20,829.29
                                                                      Check all that apply.
            BIOMET MICROFIXATION
            75 REMITTANCE DRIVE                                       ¨ Contingent
            STE 3071                                                  ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60675-3071                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1642                     ¨ Yes

 3.93       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $16,559.64
                                                                      Check all that apply.
            BIOMET, INC
            75 REMITTANCE DRIVE                                       ¨ Contingent
            STE 6931                                                  ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60675-6931                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1490                     ¨ Yes

 3.94       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $13,093.30
                                                                      Check all that apply.
            BIO-RAD LABORATORIES INC
            PO BOX 849740                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            LOS ANGELES, CA 90084-9740                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1014                     ¨ Yes




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 3.95       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $630.00
                                                                       Check all that apply.
            BIOTEK SERVICES, INC.
            5310 SOUTH LABURNUM AVE                                    ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            RICHMOND, VA 23231                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1476                      ¨ Yes

 3.96       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,230.50
                                                                       Check all that apply.
            BIOTRONIK INC
            6024 JEAN ROAD                                             ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            LAKE OSWEGO, OR 97035                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1955                      ¨ Yes

 3.97       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            BIREN PARIKH
            4816 SEA PINES DRIVE                                       ¨ Contingent
            DALLAS, TX 75287                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.98       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,528.62
                                                                       Check all that apply.
            BISCOM, INC
            321 BILLERICA ROAD                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHELMSFORD, MA 01824                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1865                      ¨ Yes

 3.99       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $368.50
                                                                       Check all that apply.
            BLACKWELL, BLACKBURN & SINGE
            7557 RAMBLER ROAD                                          ¨ Contingent
            SUITE 1450                                                 ¨ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
                                                                       Basis for the claim:
            Date or dates debt was incurred                            TRADE VENDOR
                                                                       Is the claim subject to offset?
            Last 4 digits of account number: 2057                      þ No
                                                                       ¨ Yes




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 3.100      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $6,997.72
                                                                      Check all that apply.
            BOSS INSTRUMENTS LTD, INC
            104 SOMMERFIELD DRIVE                                     ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            GORDONSVILLE, VA 22942                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1677                     ¨ Yes

 3.101      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $1,461,828.99
                                                                      Check all that apply.
            BOSTON SCIENTIFIC CORP & SUB
            PO BOX 951653                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75395-1653                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1209                     ¨ Yes

 3.102      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $438.30
                                                                      Check all that apply.
            BOUNDLESS NETWORK INC
            200 E 6TH STREET, STE 300                                 ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            AUSTIN, TX 78701                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1047                     ¨ Yes

 3.103      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,785.00
                                                                      Check all that apply.
            BRACEWELL & GIULIANI LLP
            711 LOUISIANA                                             ¨ Contingent
            STE 2300                                                  ¨ Unliquidated
                                                                      ¨ Disputed
            HOUSTON, TX 77002                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1826                     ¨ Yes

 3.104      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $781,656.09
                                                                      Check all that apply.
            BRENNAN, MANNA, & DIAMOND LL
            75 EAST MARKET STREET                                     ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            AKRON, OH 44308                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1633                     ¨ Yes




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 3.105      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,432,264.07
                                                                       Check all that apply.
            BRIAN D. LE
            3820 VILLANOVA STREET                                      ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.106      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $165,857.60
                                                                       Check all that apply.
            BRIAN EADES, MD
            5628 ENCORE DRIVE                                          ¨ Contingent
            DALLAS, TX 75240                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.107      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $300.00
                                                                       Check all that apply.
            BRIDGE ORTHOPEDIC SOLUTIONS
            1433 STONEY HILLS DR                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CEDAR HILL, TX 75104                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1923                      ¨ Yes

 3.108      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,420.00
                                                                       Check all that apply.
            C R BARD INC BARD MEDICAL
            PO BOX 75767                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHARLOTTE, NC 28275                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1060                      ¨ Yes

 3.109      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,846.40
                                                                       Check all that apply.
            CAESAR A. RICCI
            7036 CAPELLA PARK AVENUE                                   ¨ Contingent
            DALLAS, TX 75236                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.110      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,473.66
                                                                      Check all that apply.
            CANTEEN VENDING
            PO BOX 417632                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            BOSTON, MA 02241-7632                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1373                     ¨ Yes

 3.111      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $231.00
                                                                      Check all that apply.
            CANTRELL DRUG COMPANY
            7700 NORTHSHORE PLACE DRIVE                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            NORTH LITTLE ROCK, AR 72118                               Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1344                     ¨ Yes

 3.112      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $15,591.63
                                                                      Check all that apply.
            CAP COLLEGE OF AMERICAN PATH
            1113 TIMBERLINE LN                                        ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ALLEN, TX 75002                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1232                     ¨ Yes

 3.113      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $441,528.01
                                                                      Check all that apply.
            CAPX FUND IV, LP
            AS ADMINISTRATIVE AGENT                                   ¨ Contingent
            155 N WACKER DRIVE                                        ¨ Unliquidated
            STE 1760                                                  ¨ Disputed
            CHICAGO, IL 60606                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1533                     ¨ Yes

 3.114      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $158,714.48
                                                                      Check all that apply.
            CARDINAL HEALTH (11115039)
            PO BOX 730112                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75373                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1068                     ¨ Yes




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 3.115      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,772.23
                                                                      Check all that apply.
            CARDINAL NUCLEAR MED
            NUCLEAR PHARMACY SERVICES                                 ¨ Contingent
            P.O. BOX 70609                                            ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-0609                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1044                     ¨ Yes

 3.116      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $198,478.58
                                                                      Check all that apply.
            CARDINAL PHARMACY
            8441 TOWNESHIP LANE                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75243                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1270                     ¨ Yes

 3.117      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $54,419.94
                                                                      Check all that apply.
            CARDIOVASCULAR SYSTEMS INC
            DEPT. CH 19348                                            ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PALATINE, IL 60055-9348                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1287                     ¨ Yes

 3.118      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $9,888.80
                                                                      Check all that apply.
            CAREFUSION 211 INC.
            88253 EXPEDITE WAY                                        ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60695-0001                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1819                     ¨ Yes

 3.119      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $33,667.51
                                                                      Check all that apply.
            CAREFUSION 2200 INC
            25146 NETWORK PL                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1059                     ¨ Yes




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 3.120      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $95,309.50
                                                                      Check all that apply.
            CAREFUSION PYXIS
            PYXIS PRODUCTIONS                                         ¨ Contingent
            25082 NETWORK PLACE                                       ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-1250                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1780                     ¨ Yes

 3.121      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $87,017.04
                                                                      Check all that apply.
            CAREFUSION SOLUTIONS, LLC
            25146 NETWORK PLACE                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-1250                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1001                     ¨ Yes

 3.122      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $26,371.97
                                                                      Check all that apply.
            CARTER BLOODCARE
            PO BOX 916068                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FORT WORTH, TX 76191                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1301                     ¨ Yes

 3.123      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $87,734.30
                                                                      Check all that apply.
            CARTER VALIDUS
            4890 W. KENNEDY BLVD                                      ¨ Contingent
            STE 650                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            TAMPA, FL 33609                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1789                     ¨ Yes

 3.124      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $546,944.48
                                                                      Check all that apply.
            CARTER/VALIDUS OPERATING PAR
            4890 W. KENNEDY BLVD                                      ¨ Contingent
            STE 650                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            TAMPA, FL 33609                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1870                     ¨ Yes




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 3.125      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $22,920.00
                                                                      Check all that apply.
            CASTLEROCK PERFUSION LLC
            906 W. MCDERMOTT DR                                       ¨ Contingent
            STE 116-173                                               ¨ Unliquidated
                                                                      ¨ Disputed
            ALLEN, TX 75013                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1558                     ¨ Yes

 3.126      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $7,280.00
                                                                      Check all that apply.
            CAYENNE MEDICAL INC.
            16597 N 92ND ST                                           ¨ Contingent
            SUITE 101                                                 ¨ Unliquidated
                                                                      ¨ Disputed
            SCOTTSDALE, AZ 85260                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1913                     ¨ Yes

 3.127      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $30,066.43
                                                                      Check all that apply.
            CDW LLC
            75 REMITTANCE DR                                          ¨ Contingent
            STE 1515                                                  ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60675                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1218                     ¨ Yes

 3.128      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,440.37
                                                                      Check all that apply.
            CELONOVA BIOSCIENCES INC
            PO BOX 731923                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75373                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1483                     ¨ Yes

 3.129      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $9,865.87
                                                                      Check all that apply.
            CENTRAL ADMIXTURE PHARMACY S
            PO BOX 780404                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PHILADELPHIA, PA 19178-0404                               Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1592                     ¨ Yes




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 3.130      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,645.40
                                                                       Check all that apply.
            CENTURION MEDICAL PRODUCTS C
            PO BOX 842816                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BOSTON, MA 22842816                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1139                      ¨ Yes

 3.131      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $3,568,891.86
                                                                       Check all that apply.
            CERNER HEALTH SERVICES, INC
            C/O US BANK                                                ¨ Contingent
            PO BOX 959167                                              ¨ Unliquidated
                                                                       ¨ Disputed
            ST LOUIS, MO 63195-9167                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1812                      ¨ Yes

 3.132      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $74,769.02
                                                                       Check all that apply.
            CESAR B PENA
            7311 MAPLECREST DRIVW                                      ¨ Contingent
            DALLAS, TX 75254                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.133      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,869.12
                                                                       Check all that apply.
            CESAR B PENA
            7311 MAPLECREST DRIVW                                      ¨ Contingent
            DALLAS, TX 75254                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.134      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,208.30
                                                                       Check all that apply.
            CHAMBERLIN DALLAS, LLC
            2346 GLENDA LANE                                           ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75229                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1749                      ¨ Yes




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                                                                                                                       Amount of claim

 3.135      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,584.12
                                                                       Check all that apply.
            CHAN YOUNG OR KEN PARK
            6628 MYRTLE BEACH DRIVE                                    ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.136      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,000.00
                                                                       Check all that apply.
            CHARLES B. LEVIN
            5349 CASTLEWOOD RD                                         ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            1/1/2015                                                   NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.137      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $51,424.35
                                                                       Check all that apply.
            CHARLES B. LEVIN
            5349 CASTLEWOOD RD                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75229                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1777                      ¨ Yes

 3.138      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $716,132.04
                                                                       Check all that apply.
            CHARLES B. LEVIN
            5349 CASTLEWOOD ROAD                                       ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.139      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,577.28
                                                                       Check all that apply.
            CHARLES B. LEVIN
            5349 CASTLEWOOD ROAD                                       ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.140      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            CHARLES E. MANGUM
            7119 MEADOW LAKE                                           ¨ Contingent
            DALLAS, TX 75214                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.141      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $317,897.63
                                                                       Check all that apply.
            CHIAO YUNG LIE
            744 KESSLER LAKE DRIVE                                     ¨ Contingent
            DALLAS, TX 75208                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.142      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $454,888.79
                                                                       Check all that apply.
            CHOPRA IMAGING CENTERS, INC.
            PO BOX 301103                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            HOUSTON, TX 77230-1103                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1383                      ¨ Yes

 3.143      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $12,807.91
                                                                       Check all that apply.
            CITY OF DALLAS UTILITIES AND
            CITY HALL, 2D SOUTH                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75277                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1240                      ¨ Yes

 3.144      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $45,890.00
                                                                       Check all that apply.
            CIVA
            7150 GREENVILLE AVE                                        ¨ Contingent
            STE 650                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75231                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1189                      ¨ Yes




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 3.145      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,788.64
                                                                       Check all that apply.
            CLARK GRIFFITH
            7011 N. TANMAR                                             ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.146      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            CLARK W. GRIFFITH, MD
            7011 N. TANMAR                                             ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.147      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,031.32
                                                                       Check all that apply.
            CLASSIC IMAGING
            519 INTERSTATE 30 #329                                     ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ROCKWALL, TX 35087                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1285                      ¨ Yes

 3.148      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,575.33
                                                                       Check all that apply.
            CLIFFORD POWERSYSTEMS INC
            PO BOX 875500                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            KANSAS CITY, MO 64187-5500                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1276                      ¨ Yes

 3.149      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $725.18
                                                                       Check all that apply.
            COASTAL LIFE SYSTEMS, INC.
            1803 GRANDSTAND DRIVE                                      ¨ Contingent
            STE 101                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            SAN ANTONIO, TX 78238                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1416                      ¨ Yes




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 3.150      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $969.00
                                                                      Check all that apply.
            CODING INSTITUTE LLC
            2222 SEDWICK DR                                           ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DURHAM, NC 27713                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1942                     ¨ Yes

 3.151      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $12,868.00
                                                                      Check all that apply.
            COHERA MEDICAL, INC.
            227 FAYETTEVILLE ST                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            RALEIGH, NC 27601                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1994                     ¨ Yes

 3.152      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,500.00
                                                                      Check all that apply.
            COLLIN COUNTY TREASURY
            COLLIN COUNTY ADMINISTRATION BUILDING                     ¨ Contingent
            2300 BLOOMDALE RD., SUITE 3138                            ¨ Unliquidated
            MCKINNEY, TX 75071                                        ¨ Disputed
                                                                      Basis for the claim:
            Date or dates debt was incurred                           TRADE VENDOR
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: 0117                     þ No
                                                                      ¨ Yes

 3.153      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,403.16
                                                                      Check all that apply.
            COLOPLAST CORP
            1601 WEST RIVER ROAD, NORTH                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MINNEAPOLIS, MN 55411                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1093                     ¨ Yes

 3.154      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $117,907.02
                                                                      Check all that apply.
            COMPREHENSIVE PHARMACY SERV.
            PO BOX 638316                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CINCINNATI, OH 45263-8316                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1167                     ¨ Yes




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 3.155      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,368.84
                                                                      Check all that apply.
            CONMED CORPORATION
            2208 MILAN DRIVE                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FORNEY, TX 75126                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1027                     ¨ Yes

 3.156      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $51,566.28
                                                                      Check all that apply.
            COOK MEDICAL INC
            22988 NETWORK PLACE                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-1229                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1037                     ¨ Yes

 3.157      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,108.00
                                                                      Check all that apply.
            COOKING EQUIPMENT SPECIALIST
            3040 EAST MEADOWS BLVD                                    ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MESQUITE, TX 75150                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1779                     ¨ Yes

 3.158      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $37,100.00
                                                                      Check all that apply.
            CORIN USA, LTD
            PO BOX 1065                                               ¨ Contingent
            CHURCH STREET STATION                                     ¨ Unliquidated
                                                                      ¨ Disputed
            NEW YORK, NY 10008-1065                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1795                     ¨ Yes

 3.159      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $14,400.00
                                                                      Check all that apply.
            CORMATRIX CARDIOVASCULAR, IN
            1100 OLD ELLIS RD                                         ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ROSWELL, GA 30076                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1474                     ¨ Yes




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                                                                                                                       Amount of claim

 3.160      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $25,586.93
                                                                       Check all that apply.
            CORPORATE CLEANING SOLUTIONS
            10445 MARKISON RD                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75038                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1307                      ¨ Yes

 3.161      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $189,929.29
                                                                       Check all that apply.
            CORY A. ROBERTS
            1355 RIVER BEND DRIVE                                      ¨ Contingent
            DALLAS, TX 75247                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.162      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,738.25
                                                                       Check all that apply.
            CORY A. ROBERTS
            1355 RIVER BEND DRIVE                                      ¨ Contingent
            DALLAS, TX 75247                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.163      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            CORY A. ROBERTS
            1355 RIVER BEND DRIVE                                      ¨ Contingent
            DALLAS, TX 75247                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.164      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $138,228.35
                                                                       Check all that apply.
            CORY COUNTRYMAN
            4726 BOWSER AVE.                                           ¨ Contingent
            DALLAS, TX 75219                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.165      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $77,730.37
                                                                       Check all that apply.
            CORY COUNTRYMAN
            4726 BOWSER AVE.                                           ¨ Contingent
            DALLAS, TX 75219                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.166      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $111,199.81
                                                                       Check all that apply.
            COVIDIEN SALES LLC DBA GIVEN
            PO BOX 932928                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 31193-2928                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1070                      ¨ Yes

 3.167      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,484.45
                                                                       Check all that apply.
            COWAN BENEFIT SERVICES
            5110 MARYLAND WAY                                          ¨ Contingent
            SUITE 250                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            BRENTWOOD, TN 37027                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1186                      ¨ Yes

 3.168      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $244,431.00
                                                                       Check all that apply.
            CPM MEDICAL CONSULTANTS
            1565 N CENTRAL EXPRESSWAY                                  ¨ Contingent
            STE 200                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            RICHARDSON, TX 75080                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1797                      ¨ Yes

 3.169      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            CPM MEDICAL CONSULTANTS LLC
            FERGUSON BRASWELL & FRASER PC                              þ Contingent
            C/O JOHN D FRASER                                          þ Unliquidated
            2500 DALLAS PARKWAY #501                                   þ Disputed
            PLANO, TX 75093                                            Basis for the claim:
            Date or dates debt was incurred                            LITIGATION
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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 3.170      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $94,964.64
                                                                       Check all that apply.
            CRAIG LITZ
            3720 STANFORD AVENUE                                       ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.171      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,761.81
                                                                       Check all that apply.
            CRAIG LITZ
            3720 STANFORD AVENUE                                       ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.172      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,354.50
                                                                       Check all that apply.
            CREATIVE MEDICAL SOLUTIONS
            1665 LAKESHORE DR                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            EUSTIS, FL 32726                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1902                      ¨ Yes

 3.173      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,659.80
                                                                       Check all that apply.
            CRH MEDICAL CORPORATION
            522-999 CANADA PLACE                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            VANCOUVER, BC V6C 3                                        Basis for the claim:
            CANADA                                                     TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1607                      ¨ Yes

 3.174      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $575,290.71
                                                                       Check all that apply.
            CROTHALL HEALTHCARE INC
            13028 COLLECTION CENTER DR                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1033                      ¨ Yes




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 3.175      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,586.00
                                                                       Check all that apply.
            CS MEDICAL LLC
            2179 EAST LYON STATION RD                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CREEDMOOR, NC 27522                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1637                      ¨ Yes

 3.176      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,565.00
                                                                       Check all that apply.
            CUMMINGS ELETRICAL
            14900 GRAND RIVER #124                                     ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            FORT WORTH, TX 76155                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1966                      ¨ Yes

 3.177      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $5,596,944.44
                                                                       Check all that apply.
            CV REIT
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
            5/8/2015                                                   ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       NOTE PAYABLE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.178      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $694,429.48
                                                                       Check all that apply.
            CYNTHIA PENNINGS
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.179      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $269,582.46
                                                                       Check all that apply.
            DALE YOO
            8440 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 700                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.180      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $207,945.58
                                                                       Check all that apply.
            DALE YOO
            8440 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 700                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.181      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            DALE YOO
            8440 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 700                                                  þ Unliquidated
            DALLAS, TX 75254                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.182      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $708,619.87
                                                                       Check all that apply.
            DALLAS COUNTY TAX OFFICE
            PO BOX 139066                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75313-9066                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1660                      ¨ Yes

 3.183      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $80,845.53
                                                                       Check all that apply.
            DANIEL MIJARES, MD
            5959 COLHURST STREET                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.184      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $76,093.90
                                                                       Check all that apply.
            DANNY CHAN
            3625 NORTHWEST PARKWAY                                     ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.185      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            DARFAM INVESTMENT HOLDINGS, LP
            431 SADDLEBACK DRIVE                                       ¨ Contingent
            FAIRVIEW, TX 75069                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.186      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $69,087.00
                                                                       Check all that apply.
            DARRYL KAWALSKY
            6116 OAKCREST RD                                           ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            1/29/2015                                                  NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.187      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $30,565.00
                                                                       Check all that apply.
            DARRYL KAWALSKY
            6116 OAKCREST RD                                           ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75248                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1787                      ¨ Yes

 3.188      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,253,231.06
                                                                       Check all that apply.
            DARRYL KAWALSKY
            6116 OAKCREST ROAD                                         ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.189      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            DARRYL KAWALSKY
            6116 OAKCREST ROAD                                         ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.190      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,560.54
                                                                       Check all that apply.
            DARRYL KAWALSKY
            6116 OAKCREST ROAD                                         ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.191      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,790,330.09
                                                                       Check all that apply.
            DAVID AZOUZ, MD
            PO BOX 801209                                              ¨ Contingent
            DALLAS, TX 75380                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.192      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,253,231.06
                                                                       Check all that apply.
            DAVID R. MUSSELMAN
            17827 CEDAR CREEK CANYON DRIVE                             ¨ Contingent
            DALLAS, TX 75252                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.193      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            DAVID R. MUSSELMAN
            17827 CEDAR CREEK CANYON DRIVE                             ¨ Contingent
            DALLAS, TX 75252                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.194      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            DAVID R. MUSSELMAN
            17827 CEDAR CREEK CANYON DRIVE                             ¨ Contingent
            DALLAS, TX 75252                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.195      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,100.15
                                                                       Check all that apply.
            DE LAGE LANDEN FINANCIAL SER
            PO BOX 41602                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PHILADELPHIA, PA 19101-1602                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1184                      ¨ Yes

 3.196      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,072.11
                                                                       Check all that apply.
            DENNIS A GOODMAN
            1 CENTRAL PARK WEST                                        ¨ Contingent
            #29A                                                       þ Unliquidated
            NEW YORK, NY 10023                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.197      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,259.22
                                                                       Check all that apply.
            DFW ELECTRIC GROUP, LLC
            130 KRISTEN LANE                                           ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            WYLIE, TX 75098                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1619                      ¨ Yes

 3.198      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,415.00
                                                                       Check all that apply.
            DIAGNOSTIC HEALTH SERVICES
            PO BOX 972288                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75397-2288                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1451                      ¨ Yes

 3.199      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $297,178.04
                                                                       Check all that apply.
            DIANA KIM NGUYEN
            3316 HAYLEY COURT                                          ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.200      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,074,198.05
                                                                       Check all that apply.
            DIANA NGUYEN
            3316 HALEY COURT                                           ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.201      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $680.00
                                                                       Check all that apply.
            DIESEL FUEL MAINTENANCE, INC
            3932 EVERGREEN CT                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MCKINNEY, TX 75070                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1729                      ¨ Yes

 3.202      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            DR. PABLO ZEBALLOS & DR. LAURA ZEBALLOS
            10425 REMINGTON LANE                                       ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.203      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $114,831.45
                                                                       Check all that apply.
            DUC TRAN
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.204      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $82,662.03
                                                                       Check all that apply.
            E. BARROW MEDICAL GROUP
            3230 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 620                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.205      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            EB HUNT FAMILY LIMITED PARTNERSHIP
            6330 ABERDEEN                                              ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.206      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $217,765.24
                                                                       Check all that apply.
            EBJ HOLDINGS LLC
            7557 RAMBLER ROAD                                          ¨ Contingent
            DALLAS, TX 75231                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.207      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,520.00
                                                                       Check all that apply.
            EC2 SOFTWARE SOLUTIONS LLC
            3035 E PATRICK LANE                                        ¨ Contingent
            SUITE 1                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            LAS VEGAS, NV 89120                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1995                      ¨ Yes

 3.208      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,240.60
                                                                       Check all that apply.
            ECOLAB
            GCS SERVICE, INC                                           ¨ Contingent
            PO BOX 32027                                               ¨ Unliquidated
                                                                       ¨ Disputed
            NEW YORK, NY 10087-2027                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1505                      ¨ Yes

 3.209      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $153,288.71
                                                                       Check all that apply.
            EDDIE ALEXANDER
            201 SEABOARD LANE                                          ¨ Contingent
            SUITE 100                                                  þ Unliquidated
            FRANKLIN, TN 37067                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.210      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $152,608.40
                                                                       Check all that apply.
            EDWARD VALENTINE (BOOKER INDUSTRIES)
            3235 NORCROSS LANE                                         ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.211      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $52,536.15
                                                                       Check all that apply.
            EDWARDS LIFESCIENCES LLC.
            23146 NETWORK PLACE                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-1231                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1156                      ¨ Yes

 3.212      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,191.81
                                                                       Check all that apply.
            EEPB PC
            2950 NORTH LOOP WEST                                       ¨ Contingent
            STE 1200                                                   ¨ Unliquidated
                                                                       ¨ Disputed
            HOUSTON, TX 77092                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1254                      ¨ Yes

 3.213      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $414.89
                                                                       Check all that apply.
            ELIGIBILITY CONSULTANTS
            1111 DIGITAL DRIVE                                         ¨ Contingent
            STE 125                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            RICHARDSON, TX 75081                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1855                      ¨ Yes

 3.214      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,188.68
                                                                       Check all that apply.
            ENCON SYSTEMS, LTD. INC.
            420 N. TOWN EAST BLVD                                      ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            SUNNYVALE, TX 75182                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1376                      ¨ Yes




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 3.215      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,878.57
                                                                       Check all that apply.
            ENDOEVOLUTION, LLC
            PO BOX 775                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PLYMOUTH, MA 02362                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1549                      ¨ Yes

 3.216      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $108,814.19
                                                                       Check all that apply.
            ENDOLOGIX, INC
            PO BOX 848291                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75284-8291                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1860                      ¨ Yes

 3.217      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,292.80
                                                                       Check all that apply.
            ENTECH SALES AND SERVICE, IN
            3404 GARDEN BROOK DRIVE                                    ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75234                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1676                      ¨ Yes

 3.218      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            EQUITY TRUST COMPANY DBA STERLING TRUST
            CUSTODIAN FBO MORRIS M. PRIGOFF, DPM                       ¨ Contingent
            2909 S. HAMPTON ROAD                                       þ Unliquidated
            LB #7                                                      ¨ Disputed
            DALLAS, TX 75224                                           Basis for the claim:
            Date or dates debt was incurred                            SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.219      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $691,983.41
                                                                       Check all that apply.
            ERIC KAVOSH MD
            5904 CHAPEL HILL BLVD                                      ¨ Contingent
            SUITE 103                                                  þ Unliquidated
            PLANO, TX 75093                                            ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.220      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $83,082.34
                                                                       Check all that apply.
            ERIC KAVOSH MD
            5904 CHAPEL HILL BLVD                                      ¨ Contingent
            SUITE 103                                                  þ Unliquidated
            PLANO, TX 75093                                            ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.221      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,903.06
                                                                       Check all that apply.
            ERIC KAVOSH MD
            5904 CHAPEL HILL BLVD                                      ¨ Contingent
            SUITE 103                                                  þ Unliquidated
            PLANO, TX 75093                                            ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.222      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $301,681.63
                                                                       Check all that apply.
            ERNEST EDWARD BEECHERYL
            3801 BEVERLY DRIVE                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.223      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,353.00
                                                                       Check all that apply.
            ESCREEN
            PO BOX 654094                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75265-4094                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1257                      ¨ Yes

 3.224      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $345,287.72
                                                                       Check all that apply.
            EWEN YI-WUEN TSENG
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.225      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $45.84
                                                                       Check all that apply.
            EXALT PRINTING SOLUTIONS, LL
            1875 MONETARY LANE                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CARROLLTON, TX 75006                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1813                      ¨ Yes

 3.226      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,673.00
                                                                       Check all that apply.
            EXTREMITY MEDICAL, LLC
            300 INTERPACE PARKWAY                                      ¨ Contingent
            SUITE 410                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            PARSIPPANY, NJ 07054                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2011                      ¨ Yes

 3.227      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,073.66
                                                                       Check all that apply.
            FASTSIGNS
            5920 BELTLINE RD                                           ¨ Contingent
            STE 300                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75254                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1522                      ¨ Yes

 3.228      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $856.06
                                                                       Check all that apply.
            FEDEX
            4837 CEDAR SPRINGS #315                                    ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75219                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1170                      ¨ Yes

 3.229      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,991.53
                                                                       Check all that apply.
            FELICIA TILLMAN
            8160 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 224                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.230      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            FELICIA TILLMAN TOE`
            9346 W. LAKE HIGHLANDS DR.                                 ¨ Contingent
            DALLAS, TX 75218                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.231      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            FELICIA TILLMAN TOE`
            9346 W. LAKE HIGHLANDS DR.                                 ¨ Contingent
            DALLAS, TX 75218                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.232      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $83,198.32
                                                                       Check all that apply.
            FELICIA TILLMAN TOE`
            9346 W. LAKE HIGHLANDS DR.                                 ¨ Contingent
            DALLAS, TX 75218                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.233      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,246.00
                                                                       Check all that apply.
            FFF ENTERPRISES INC
            1601 OLD GREENSBORO RD                                     ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            KERNERSVILLE, NC 27284                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1964                      ¨ Yes

 3.234      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,239.00
                                                                       Check all that apply.
            FIRST DATABANK, INC
            500 E. 96TH STREET                                         ¨ Contingent
            STE 500                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            INDIANAPOLIS, IN 46240                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1888                      ¨ Yes




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 3.235      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,466,758.67
                                                                       Check all that apply.
            FIRST FINANCIAL
            PO BOX 87618                                               ¨ Contingent
            DEPT #2067                                                 ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60680                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1453                      ¨ Yes

 3.236      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,944.40
                                                                       Check all that apply.
            FIRST PARTY RECEIVABLES SOLU
            5754 WEST 11TH STREET                                      ¨ Contingent
            STE 100                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            GREELEY, CO 80634                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1856                      ¨ Yes

 3.237      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,600.00
                                                                       Check all that apply.
            FIRST SLEEP, LLC
            PO BOX 862                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            AUBREY, TX 76227-0862                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1667                      ¨ Yes

 3.238      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $255,564.45
                                                                       Check all that apply.
            FISHER HEALTHCARE
            ACCT# 059544-001                                           ¨ Contingent
            PO BOX 404705                                              ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30384-4705                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1013                      ¨ Yes

 3.239      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $716,132.04
                                                                       Check all that apply.
            FOGWELL FAMILY PARTNERSHIP, LTD
            7131 STEFANI DRIVE                                         ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.240      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,603.00
                                                                       Check all that apply.
            FORESIGHT MEDICAL MANAGEMENT
            PO BOX 264                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            FAYETTEVILLE, NY 13066                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1770                      ¨ Yes

 3.241      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,500.00
                                                                       Check all that apply.
            FOUNDATION MEDICINE
            PO BOX 347790                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15251                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1974                      ¨ Yes

 3.242      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $11,665.00
                                                                       Check all that apply.
            FOUR RIVERS SOFTWARE SYSTEMS
            10801-2 N MOPAC EXPRESSWAY                                 ¨ Contingent
            STE 400                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            AUSTIN, TX 78759                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1245                      ¨ Yes

 3.243      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $716,132.04
                                                                       Check all that apply.
            FRANCESCA PERUGINI, MD
            8160 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 224                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.244      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $153,288.71
                                                                       Check all that apply.
            FRANK SOSSI
            8355 ST. DANASUS                                           ¨ Contingent
            NASHVILLE, TN 37211                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.245      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            FRANK SOSSI
            8355 ST. DANASUS                                           ¨ Contingent
            NASHVILLE, TN 37211                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.246      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $125.25
                                                                       Check all that apply.
            FREEDOM MEDICAL, INC
            PO BOX 822704                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PHILADELPHIA, PA 19182-2704                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1836                      ¨ Yes

 3.247      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $31,583.75
                                                                       Check all that apply.
            FRESENIUS MEDICAL CARE
            10614 HASELWOOD LANE                                       ¨ Contingent
            APT # H10614                                               ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75238                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1920                      ¨ Yes

 3.248      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,063.65
                                                                       Check all that apply.
            FRESHLOC TECHNOLOGIES INC
            3939 BELT LINE ROAD                                        ¨ Contingent
            STE 400                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            ADDISON, TX 75001                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1398                      ¨ Yes

 3.249      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $96,870.79
                                                                       Check all that apply.
            FUJIFILM MEDICAL SYSTEMS USA
            PO BOX 347689                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15251-4689                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1824                      ¨ Yes




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 3.250      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $6,533,690.08
                                                                       Check all that apply.
            GARRISON LOAN AGENCY SERVICE
            1290 AVENUE OF THE AMERICAS                                ¨ Contingent
            STE 914                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            NEW YORK, NY 10104                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1467                      ¨ Yes

 3.251      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,149.00
                                                                       Check all that apply.
            GARTZKE PRODUCTS INC
            PO BOX 66                                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            STOUGHTON, WI 53589                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1816                      ¨ Yes

 3.252      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $70,863.13
                                                                       Check all that apply.
            GARY GOFF MD PA
            8440 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 420                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.253      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $362,541.57
                                                                       Check all that apply.
            GE HEALTHCARE
            PO BOX 96483                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1109                      ¨ Yes

 3.254      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,765.58
                                                                       Check all that apply.
            GE HEALTHCARE (PHARM)
            PO BOX 640200                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15264-0200                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1808                      ¨ Yes




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                                                                                                                       Amount of claim

 3.255      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $634,930.48
                                                                       Check all that apply.
            GE HEALTHCARE FIN SVC (GE)
            PO BOX 641419                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15264                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1455                      ¨ Yes

 3.256      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            GE HFS, LLC
            LOCKE LORD LLP                                             þ Contingent
            C/O KENT HOFMANN                                           þ Unliquidated
            600 CONGRESS AVENUE, STE 2200                              þ Disputed
            AUSTIN, TX 78701                                           Basis for the claim:
            Date or dates debt was incurred                            LITIGATION
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.257      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $75,778.46
                                                                       Check all that apply.
            GEORGE MARKUS
            2100 N. COLLINS BLVD.                                      ¨ Contingent
            SUITE 315                                                  þ Unliquidated
            RICHARDSON, TX 75080                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.258      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $313.00
                                                                       Check all that apply.
            GI SUPPLY
            200 GRANDVIEW AVE                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CAMP HILL, PA 17011-1706                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1497                      ¨ Yes

 3.259      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $62,449.95
                                                                       Check all that apply.
            GIVEN IMAGING
            3950 SHACKLEFORD ROAD                                      ¨ Contingent
            SUITE 500                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            DULUTH, GA 30096                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1610                      ¨ Yes




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                                                                                                                       Amount of claim

 3.260      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,950.00
                                                                       Check all that apply.
            GLOBAL MEDICAL IMAGING
            222 RAMPART ST.                                            ¨ Contingent
            CHARLOTTE, NC 28203                                        ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2050                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.261      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            GRACE V. KUMAR, MD
            6142 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.262      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,652.45
                                                                       Check all that apply.
            GRAINGER
            1411 LAURA DR                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            WYLIE, TX 75098                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1108                      ¨ Yes

 3.263      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,622.92
                                                                       Check all that apply.
            GRAPHICS GROUP, INC.
            2800 TAYLOR STREET                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75226-1906                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1901                      ¨ Yes

 3.264      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $221.00
                                                                       Check all that apply.
            GREAT BASIN SCIENTIFIC, INC
            420 E SOUTH TEMPLE, SUITE 520                              ¨ Contingent
            SALT LAKE CITY, UT 84111                                   ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2055                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.265      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,353.13
                                                                       Check all that apply.
            GREAT SOUTHWESTERN FIRE & SA
            310 W COMMERCE ST.                                         ¨ Contingent
            DALLAS, TX 75208                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2042                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.266      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $231,047.25
                                                                       Check all that apply.
            GREGORY HOSLER
            4522 ARCADY AVENUE                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.267      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $189,929.29
                                                                       Check all that apply.
            GREGORY HOSLER
            4522 ARCADY AVENUE                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.268      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,778.08
                                                                       Check all that apply.
            GROUPONE SERVICES INC
            250 DECKER DRIVE                                           ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            IRVING, TX 75062-2706                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1019                      ¨ Yes

 3.269      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $13,480.00
                                                                       Check all that apply.
            GTR MEDICAL GROUP, LLC
            5164 VILLAGE CREEK DR                                      ¨ Contingent
            SUITE 200                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            PLANO, TX 75093                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1908                      ¨ Yes




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 3.270      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,305.55
                                                                       Check all that apply.
            GUERBET LLC
            DEPT CH 19815                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PALANTINE, IL 60055-9815                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1495                      ¨ Yes

 3.271      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $25,825.17
                                                                       Check all that apply.
            HAEMONETICS CORPORATION
            24849 NETWORK PLACE                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 606731248                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1183                      ¨ Yes

 3.272      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,054.50
                                                                       Check all that apply.
            HALYARD SALES, INC
            PO BOX 732583                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TS 75373-2583                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1719                      ¨ Yes

 3.273      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $159,021.96
                                                                       Check all that apply.
            HANIL, LLC
            4236 CRESTFIELD DRIVE                                      ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.274      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,233.54
                                                                       Check all that apply.
            HARDY DIAGNOSTICS
            PO BOX 645264                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CINCINNATI, OH 45264-5264                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1277                      ¨ Yes




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 3.275      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $76,234.10
                                                                       Check all that apply.
            HARMAN MD PLLC
            17110 DALLAS PARKWAY                                       ¨ Contingent
            SUITE 290                                                  þ Unliquidated
            DALLAS, TX 75248                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.276      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $9,767,385.75
                                                                       Check all that apply.
            HC-7502 GREENVILLE AVE, LLC
            4890 W. KENNEDY BLVD                                       ¨ Contingent
            STE 650                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            TAMPA, FL 33609                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1385                      ¨ Yes

 3.277      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $724.20
                                                                       Check all that apply.
            HCPRO
            PO BOX 5094                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BRENTWOOD, TN 37024                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1274                      ¨ Yes

 3.278      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $29.17
                                                                       Check all that apply.
            HD SUPPLY FACILITIES MAINTEN
            PO BOX 509058                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            SAN DIEGO, CA 92150-9058                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1259                      ¨ Yes

 3.279      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,979.09
                                                                       Check all that apply.
            HEALTH CARE LOGISTICS INC
            450 E TOWN ST                                              ¨ Contingent
            PO BOX 400                                                 ¨ Unliquidated
                                                                       ¨ Disputed
            CIRCLEVILLE, OH 43113-0400                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1267                      ¨ Yes




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 3.280      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $321.20
                                                                      Check all that apply.
            HEALTH CONNECT PARTNERS
            65 BUSINESS PARK DR.                                      ¨ Contingent
            LEBANON, TN 37090                                         ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 0152                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.281      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $13,800.00
                                                                      Check all that apply.
            HEALTHCARE DEVELOPMENT RESOU
            1817 WATERSTONE CT                                        ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FRANKLIN, TN 37069                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1422                     ¨ Yes

 3.282      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $382.73
                                                                      Check all that apply.
            HEALTHMARK INDUSTRIES
            DEPT 7058                                                 ¨ Contingent
            PO BOX 30516                                              ¨ Unliquidated
                                                                      ¨ Disputed
            LANSING, MI 48909-8016                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1876                     ¨ Yes

 3.283      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $71,040.00
                                                                      Check all that apply.
            HEALTHPARK HOSPITALITY
            181 S NORTHWEST HWY                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            BARRINGTON, IL 60010                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1358                     ¨ Yes

 3.284      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $918.03
                                                                      Check all that apply.
            HEALTHPORT
            PO BOX 409669                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ATLANTA, GA 30384-9669                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1399                     ¨ Yes




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 3.285      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $28,521.13
                                                                      Check all that apply.
            HEALTHSTREAM INC
            PO BOX 102817                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ATLANTA, GA 30368-2817                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1365                     ¨ Yes

 3.286      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $387,155.51
                                                                      Check all that apply.
            HILLCREST BANK
            PO BOX 26528                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            KANSAS CITY, MO 64196-6528                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1454                     ¨ Yes

 3.287      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,845.00
                                                                      Check all that apply.
            HILL-ROM COMPANY, INC
            955 W GEORGE BUSH 1111                                    ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            RICHARDSON, TX 75080                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1096                     ¨ Yes

 3.288      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,191.00
                                                                      Check all that apply.
            HMP COMMUNICATIONS
            70 E SWEDESFORD RD #100                                   ¨ Contingent
            MALVERN, PA 19355                                         ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 2048                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.289      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $45,675.00
                                                                      Check all that apply.
            HOANG NGUYEN
            3316 HAYLEY CT                                            ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            RICHARDSON, TX 75082                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1382                     ¨ Yes




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 3.290      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $44,017.01
                                                                      Check all that apply.
            HOLLAND & KNIGHT
            PO BOX 864084                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ORLANDO, FL 32886-4084                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1600                     ¨ Yes

 3.291      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $18,356.62
                                                                      Check all that apply.
            HOLOGIC, INC
            24506 NETWORK PLACE                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-1245                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1469                     ¨ Yes

 3.292      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,118.52
                                                                      Check all that apply.
            HOME DEPOT
            DEPT 32-2645041363                                        ¨ Contingent
            PO BOX 183176                                             ¨ Unliquidated
                                                                      ¨ Disputed
            COLUMBUS, OH 43218-3176                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1480                     ¨ Yes

 3.293      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,398.74
                                                                      Check all that apply.
            HOSPIRA WORLDWIDE, INC.
            75 REMITTANCE DRIVE                                       ¨ Contingent
            STE 6136                                                  ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60675-6136                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1714                     ¨ Yes

 3.294      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $447.93
                                                                      Check all that apply.
            HOTLINE DELIVERY SYSTEMS
            615 WESTPORT PARKWAY                                      ¨ Contingent
            STE 400                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            GRAPEVINE, TX 76051                                       Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1369                     ¨ Yes




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 3.295      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $92,707.17
                                                                       Check all that apply.
            HUNG B. CHU, M.D.
            5518 MATALEE AVENUE                                        ¨ Contingent
            DALLAS, TX 75206                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.296      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $722,812.00
                                                                       Check all that apply.
            HUNTINGTON TECHNOLOGY FINANC
            2285 FRANKLIN ROAD                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BLOOMFIELD HILLS, MI 48302                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1852                      ¨ Yes

 3.297      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,090.00
                                                                       Check all that apply.
            ID CARD GROUP
            3410 INDUSTRIAL BLVD                                       ¨ Contingent
            STE 105                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            WEST SACRAMENTO, CA 95691                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1560                      ¨ Yes

 3.298      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $16,103.77
                                                                       Check all that apply.
            IMPRIVATA INC
            10 MAGUIRE RD                                              ¨ Contingent
            BLDG 1 STE 125                                             ¨ Unliquidated
                                                                       ¨ Disputed
            LEXINGTON, MA 02421                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1818                      ¨ Yes

 3.299      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
            INDEED, INC
            MAIL CODE 5160                                             ¨ Contingent
            PO BOX 660367                                              ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75266-0367                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1204                      ¨ Yes




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 3.300      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,723.90
                                                                      Check all that apply.
            INDEMAND INTERPRETING
            555 ANDOVER PARK WEST                                     ¨ Contingent
            STE 201                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            TUKWILA, WA 98188                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1295                     ¨ Yes

 3.301      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,395.81
                                                                      Check all that apply.
            INPRO CORPORATION
            PO BOX 720                                                ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MUSKEGO, WI 53150                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1603                     ¨ Yes

 3.302      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $27,546.00
                                                                      Check all that apply.
            INTEGRA LIFESCIENCES CORP
            PO BOX 404129                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ATLANTA, GA 30384-4129                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1085                     ¨ Yes

 3.303      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,242.00
                                                                      Check all that apply.
            INTERNATIONAL TECHNIDYNE COR
            101 GALLOPING TRAIL                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FORNEY, TX 75126                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1334                     ¨ Yes

 3.304      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $8,556.79
                                                                      Check all that apply.
            INVUITY, INC
            DEPT CH 19705                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PALESTINE, IL 60055-9705                                  Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1520                     ¨ Yes




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 3.305      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $40,949.92
                                                                       Check all that apply.
            JAC RECEIVABLES PURCHASING, LLC
            2467 CREEKWOOD DRIVE                                       ¨ Contingent
            CEDAR HILL, TX 75104                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.306      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            JACK W. SPITZBERG, MD
            3510 TURTLE CREEK BLVD                                     ¨ Contingent
            SUITE 9A                                                   þ Unliquidated
            DALLAS, TX 75219                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.307      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,000.00
                                                                       Check all that apply.
            JACK WOLF SPITZBERG
            3510 TURTLE CREEK BLVD                                     ¨ Contingent
            STE 9A                                                     þ Unliquidated
            DALLAS, TX 75219                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       NOTE PAYABLE
            1/1/2015
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.308      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $53,424.35
                                                                       Check all that apply.
            JACK WOLF SPITZBERG
            3510 TURTLE CREEK BLVD                                     ¨ Contingent
            STE 9A                                                     ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75219                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1771                      ¨ Yes

 3.309      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $81,071.24
                                                                       Check all that apply.
            JAMES C. HAYHURST
            3312 BRYN MAWR                                             ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.310      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            JAMES CHANEZ
            2718 OAK POINT                                             ¨ Contingent
            GARLAND, TX 75044                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.311      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            JAMES CHANEZ
            2718 OAK POINT                                             ¨ Contingent
            GARLAND, TX 75044                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.312      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $78,451.41
                                                                       Check all that apply.
            JAMES CHANEZ
            2718 OAK POINT                                             ¨ Contingent
            GARLAND, TX 75044                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.313      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $163,195.82
                                                                       Check all that apply.
            JAMES M. REDPATH
            6497 CLIFFBROOK DRIVE                                      ¨ Contingent
            DALLAS, TX 75254                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.314      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $502,802.72
                                                                       Check all that apply.
            JANE E. NOKLEBERG
            3230 CENTENARY AVENUE                                      ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.315      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            JANE E. NOKLEBERG
            3230 CENTENARY AVENUE                                      ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.316      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $346,731.84
                                                                       Check all that apply.
            JANE E. NOKLEBERG
            3230 CENTENARY AVENUE                                      ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.317      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $25,000.00
                                                                       Check all that apply.
            JARED KAWALSKY
            6116 OAKCREST RD                                           ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            5/4/2015                                                   NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.318      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,350.11
                                                                       Check all that apply.
            JASON'S DELI
            DEPT #271                                                  ¨ Contingent
            PO BOX 4869                                                ¨ Unliquidated
                                                                       ¨ Disputed
            HOUSTON, TX 77210-4869                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1021                      ¨ Yes

 3.319      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            JAY M. JONES, MD
            5461 LASIERRA                                              ¨ Contingent
            DALLAS, TX 75231                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.320      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            JEB S. MIERS, MD
            8210 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 416                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.321      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $183,946.45
                                                                       Check all that apply.
            JEFFREY S. WENZEL, MD
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.322      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $97,626.60
                                                                       Check all that apply.
            JIVESH SHARMA, M.D.
            1749 HILTON HEAD LANE                                      ¨ Contingent
            FRISCO, TX 75034                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.323      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $67,629.31
                                                                       Check all that apply.
            JOHN GEORGE MD
            8088 PARK LANE                                             ¨ Contingent
            SUITE 504                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.324      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,790,330.09
                                                                       Check all that apply.
            JOHN L. TAN
            6315 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.325      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $275,919.68
                                                                       Check all that apply.
            JOHN L. TAN
            6315 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.326      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,253,247.16
                                                                       Check all that apply.
            JOHN L. TAN, M.D.
            6315 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75231                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            6/10/2014                                                  NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.327      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $153,288.71
                                                                       Check all that apply.
            JOHN PRATER
            6354 SHADOW RIDGE COURT                                    ¨ Contingent
            BRENTWOOD, TN 37027                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.328      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,155,772.80
                                                                       Check all that apply.
            JOHN TAN AND KHANH HOANG
            6315 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.329      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $152.00
                                                                       Check all that apply.
            JOHNSON & BRYAN
            PO BOX 20138                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30325                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1438                      ¨ Yes




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                                                                                                                       Amount of claim

 3.330      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,658.11
                                                                       Check all that apply.
            JOHNSON & JOHNSON HEALTH CAR
            J&J HEALTH CARE SYSTEMS INC                                ¨ Contingent
            5972 COLLECTION CENTER DR                                  ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1094                      ¨ Yes

 3.331      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,002.18
                                                                       Check all that apply.
            JOHNSON & ROUNDTREE PREMIUM
            6160 LUSK BLVD.                                            ¨ Contingent
            SAN DIEGO, CA 92121                                        ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2038                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.332      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $185,926.51
                                                                       Check all that apply.
            JONATHAN C. COUNTRYMAN
            4726 BOWSER AVE.                                           ¨ Contingent
            DALLAS, TX 75219                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.333      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $242,536.58
                                                                       Check all that apply.
            JORDAN PASTOREK, M.D.
            3829 CATHEDRAL LAKE DR.                                    ¨ Contingent
            FRISCO, TX 75034                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.334      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,446.00
                                                                       Check all that apply.
            JRF ORTHO
            PO BOX 843549                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            KANSAS CITY, MO 64184-3549                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1891                      ¨ Yes




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                                                                                                                       Amount of claim

 3.335      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            JULYE NESBITT CAREW, MD
            3809 PURDUE AVENUE                                         ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.336      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $342.31
                                                                       Check all that apply.
            KARCHER NORTH AMERICAN INC
            DEPT CH 19244                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PALATINE, IL 60055-9244                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1924                      ¨ Yes

 3.337      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            KAREN SALAND
            6033 ROYALCREST                                            ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.338      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,856.88
                                                                       Check all that apply.
            KCI USA INC
            PO BOX 301557                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75303-1557                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1023                      ¨ Yes

 3.339      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $693,463.68
                                                                       Check all that apply.
            KEN PARK
            6628 MYRTLE BEACH DRIVE                                    ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.340      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $12,669.39
                                                                       Check all that apply.
            KENNEDY WILSON
            324 W 8TH ST                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75208                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1249                      ¨ Yes

 3.341      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,076,201.54
                                                                       Check all that apply.
            KENNETH SALAND
            6033 ROYALCREST                                            ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.342      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,432,264.07
                                                                       Check all that apply.
            KHANH L. HOANG
            6315 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.343      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            KHANH L. HOANG
            6315 ROYALTON DRIVE                                        ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.344      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,074,198.05
                                                                       Check all that apply.
            KHETPAL FAMILY TRUST
            1275 MOCKINGBIRD LANE                                      ¨ Contingent
            DURANT, OK 74701                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                      Amount of claim

 3.345      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $760.24
                                                                      Check all that apply.
            KIMBROUGH FIRE EXTINGUISHER
            4112 PARKER STREET                                        ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            AMARILLO, TX 79110                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1938                     ¨ Yes

 3.346      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,645.00
                                                                      Check all that apply.
            KINAMED INC
            820 FLYNN RD.                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CAMARILLO, CA 93012                                       Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1670                     ¨ Yes

 3.347      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $5,000.00
                                                                      Check all that apply.
            L2 SURGICAL, LLC
            5710 LBJ FREEWAY STE#300                                  ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75240                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1965                     ¨ Yes

 3.348      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,698.46
                                                                      Check all that apply.
            LABCORP OF AMERICA HOLDINGS
            PO BOX 12140                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            BURLINGTON, NC 27216-2140                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1951                     ¨ Yes

 3.349      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,164.18
                                                                      Check all that apply.
            LABRESOURCE, INC
            501 AVIATOR DRIVE                                         ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FORT WORTH, TX 76179                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1946                     ¨ Yes




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                                                                                                                       Amount of claim

 3.350      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $91.89
                                                                       Check all that apply.
            LAKE HIGHLANDS FLOWERS
            9661 AUDELIA ROAD                                          ¨ Contingent
            STE 118                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75238                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1650                      ¨ Yes

 3.351      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,152.85
                                                                       Check all that apply.
            LANDAUER, INC
            PO BOX 809051                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60680-9051                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1269                      ¨ Yes

 3.352      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $82,433.38
                                                                       Check all that apply.
            LARRY DULLYE, DO
            4361 WEST LAWTHER DRIVE                                    ¨ Contingent
            DALLAS, TX 75214                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.353      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $389.28
                                                                       Check all that apply.
            LEMAITRE VASCULAR INC
            PO BOX 978979                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75397-8979                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1702                      ¨ Yes

 3.354      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $71,613.20
                                                                       Check all that apply.
            LEONARD M. BEHR
            5115 QUAIL LAKE DRIVE                                      ¨ Contingent
            DALLAS, TX 75287                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.355      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $11,207.32
                                                                       Check all that apply.
            LEXION MEDICAL LLC
            545 ATWATER CIRCLE                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ST PAUL, MN 55103                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1458                      ¨ Yes

 3.356      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $80,845.53
                                                                       Check all that apply.
            LIBERY TRUST COMPANY, LTD CUSTODIAN FBO ANN W.
            STILLMAN IRA #TC004301                                     ¨ Contingent
            3608 BRYN MAUR DRIVE                                       þ Unliquidated
            DALLAS, TX 75225                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.357      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $221,318.31
                                                                       Check all that apply.
            LIBERY TRUST COMPANY, LTD CUSTODIAN FBO WILLIAM
            THOMPSON IRA TC004440                           ¨ Contingent
            11527 ROYALSHIRE DRIVE                          þ Unliquidated
            DALLAS, TX 75230                                ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.358      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $716,132.04
                                                                       Check all that apply.
            LIESL BREDESON SMITH, MD
            3429 AMHERST AVENUE                                        ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.359      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $16,626.00
                                                                       Check all that apply.
            LIFECELL CORPORATION
            ONE MILLENNIUM WAY                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BRANCHBURG, NJ 08876                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1900                      ¨ Yes




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 3.360      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,474.00
                                                                       Check all that apply.
            LIFENET HEALTH
            PO BOX 79636                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BALTIMORE, MD 21279-0636                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1584                      ¨ Yes

 3.361      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,238,241.85
                                                                       Check all that apply.
            LIFESTAR INVESTMENTS, LLC
            3316 HALEY COURT                                           ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.362      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,621.88
                                                                       Check all that apply.
            LINA MEDICAL USA, INC
            PO BOX 2503                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            NORCROSS, GA 30091                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1903                      ¨ Yes

 3.363      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $803,658.74
                                                                       Check all that apply.
            LUCKY ATUL CHOPRA, M.D.
            16 CRESTWOOD                                               ¨ Contingent
            HOUSTON, TX 77007                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.364      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $162,292.96
                                                                       Check all that apply.
            LUIS F. PARADA
            3401 LEE PARKWAY                                           ¨ Contingent
            #1208                                                      þ Unliquidated
            DALLAS, TX 75219                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.365      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,000.00
                                                                       Check all that apply.
            LUTHER H. RAMSEY
            PO BOX 153684                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            IRVING, TX 75015                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1831                      ¨ Yes

 3.366      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            MAHMOOD ALI, M.D.
            6350 VANDERBILT AVENUE                                     ¨ Contingent
            DALLAS, TX 75214                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.367      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            MANISH GUPTA
            2805 MOUNTAIN LAUREL LANE                                  ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.368      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,797.80
                                                                       Check all that apply.
            MAQUET MEDICAL SYSTEMS USA
            7702 ISABELLA DR APT D                                     ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PORT RICHEY, FL 34668                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1118                      ¨ Yes

 3.369      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $88,763.76
                                                                       Check all that apply.
            MARGOT & ADAM CARTER
            3913 AMHERST AVENUE                                        ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.370      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,641.53
                                                                       Check all that apply.
            MARKETLAB INC
            3027 MOMENTUM PLACE                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60689-5330                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1356                      ¨ Yes

 3.371      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $68,664.11
                                                                       Check all that apply.
            MARTIN R BERK
            12208 PARK FOREST DR                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            1/1/2015                                                   NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.372      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $71,078.96
                                                                       Check all that apply.
            MARTIN R BERK
            12208 PARK FOREST DR                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75230                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1769                      ¨ Yes

 3.373      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $895,165.04
                                                                       Check all that apply.
            MARTIN RUSSEL BERK
            12208 PARK FOREST DRIVE                                    ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.374      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $189,929.29
                                                                       Check all that apply.
            MATTHEW LEWIN
            4330 NORTHCREST ROAD                                       ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.375      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $173,607.37
                                                                       Check all that apply.
            MATTHEW LEWIN
            4330 NORTHCREST ROAD                                       ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.376      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,928.00
                                                                       Check all that apply.
            MCCONNELL ORTHOPEDIC MANUFAC
            PO BOX 8306                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            GREENVILLE, TX 75404                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1691                      ¨ Yes

 3.377      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,605.35
                                                                       Check all that apply.
            MCKESSON TECHNOLOGIES INC.
            22423 NETWORK PLACE                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-1219                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1281                      ¨ Yes

 3.378      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $156,639.27
                                                                       Check all that apply.
            MCRC GROUP
            352 SEVENTH AVE                                            ¨ Contingent
            STE 1602                                                   ¨ Unliquidated
                                                                       ¨ Disputed
            NEW YORK, NY 10001                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1857                      ¨ Yes

 3.379      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,248.00
                                                                       Check all that apply.
            MD BUYLINE
            5910 N. CENTRAL EXPY                                       ¨ Contingent
            SUITE 1800                                                 ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75206                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1311                      ¨ Yes




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 3.380      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $10,914.40
                                                                      Check all that apply.
            MED FUSION LLC
            PO BOX 222137                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75222-2137                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1785                     ¨ Yes

 3.381      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $52,000.00
                                                                      Check all that apply.
            MED IT ASSOCIATES LLC
            846 POSSOM TROT HOLLOW RD                                 ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            WHITEWRIGHT, TX 75491                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1275                     ¨ Yes

 3.382      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $13,885.00
                                                                      Check all that apply.
            MEDACTA USA, INC.
            PO BOX 848515                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            LOS ANGELES, CA 90084-8515                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1651                     ¨ Yes

 3.383      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $183,126.19
                                                                      Check all that apply.
            MEDASSETS INC
            PO BOX 405652                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ATLANTA, GA 30384-5652                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1261                     ¨ Yes

 3.384      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $183,674.89
                                                                      Check all that apply.
            MEDICAL SOLUTIONS
            1010 N 102ND STREET                                       ¨ Contingent
            SUITE 300                                                 ¨ Unliquidated
                                                                      ¨ Disputed
            OMAHA, NE 68114                                           Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1980                     ¨ Yes




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 3.385      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,337.77
                                                                       Check all that apply.
            MEDICAL STAFFING OPTIONS
            PO BOX 404322                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30384-4322                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1673                      ¨ Yes

 3.386      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $448.00
                                                                       Check all that apply.
            MEDICOS
            1910 SILVER STREET                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            GARLAND, TX 75042                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1515                      ¨ Yes

 3.387      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $806.28
                                                                       Check all that apply.
            MEDI-DOSE INCORPORATED
            70 INDUSTRIAL DR.                                          ¨ Contingent
            WARMINSTER, PA 18974                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2045                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.388      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $4,103,008.73
                                                                       Check all that apply.
            MEDISTAR CORPORATION
            7660 WOODWAY, SUITE 160                                    ¨ Contingent
            HOUSTON, TX 77063                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            9/17/2014                                                  NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.389      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $636.89
                                                                       Check all that apply.
            MEDISTAR CORPORATION
            7660 WOODWAY, SUITE 160                                    ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            HOUSTON, TX 77063                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1721                      ¨ Yes




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                                                                                                                      Amount of claim

 3.390      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              ($178.61)
                                                                      Check all that apply.
            MEDIVATORS
            14605 28TH AVE NORTH                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MINNEAPOLIS, MN 55447-4829                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1788                     ¨ Yes

 3.391      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $252,144.50
                                                                      Check all that apply.
            MEDLINE INDUSTRIES, INC
            DEPT 1080                                                 ¨ Contingent
            PO BOX 121080                                             ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75312-1080                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1035                     ¨ Yes

 3.392      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $186.76
                                                                      Check all that apply.
            MEDMARC COMPANY
            415 N. MAIN STREET #106                                   ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            EULESS, TX 76039                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1353                     ¨ Yes

 3.393      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $941.76
                                                                      Check all that apply.
            MEDOVATIONS
            27270 NETWORK PL                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-1272                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1475                     ¨ Yes

 3.394      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $775,078.60
                                                                      Check all that apply.
            MEDTRONIC USA INC
            PO BOX 409201                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ATLANTA, GA 30384-9201                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1073                     ¨ Yes




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                                                                                                                       Amount of claim

 3.395      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $350,431.00
                                                                       Check all that apply.
            MEDUSA GROUP LLC
            DOMINION PLAZA                                             ¨ Contingent
            17304 PRESTON RD STE 800                                   ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75252                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1640                      ¨ Yes

 3.396      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            MEDUSA GROUP LLC
            FERGUSON BRASWELL & FRASER PC                              þ Contingent
            C/O JOHN D FRASER                                          þ Unliquidated
            2500 DALLAS PARKWAY #501                                   þ Disputed
            PLANO, TX 75093                                            Basis for the claim:
            Date or dates debt was incurred                            LITIGATION
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.397      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,131.59
                                                                       Check all that apply.
            MENTOR
            15600 COLLECTIONS CENTER DR                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1564                      ¨ Yes

 3.398      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,688.52
                                                                       Check all that apply.
            MERIT MEDICAL SYSTEMS, INC
            PO BOX 204842                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75320-4842                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1436                      ¨ Yes

 3.399      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $486.64
                                                                       Check all that apply.
            MERRY X-RAY/ SOURCEONE HEALT
            4444 VIEWRIDGE AVE, STE A                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            SAN DIEGO, CA 92123                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1074                      ¨ Yes




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                                                                                                                       Amount of claim

 3.400      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,782.51
                                                                       Check all that apply.
            MESA LABORATORIES, INC.
            11012 JEFFREY'S BAY                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            FRISCO, TX 75035                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2020                      ¨ Yes

 3.401      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $74,388.96
                                                                       Check all that apply.
            MICHAEL LANDGARTEN
            5716 CAVENDER DRIVE                                        ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.402      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $81.19
                                                                       Check all that apply.
            MICROSCOPE & MICROTOME SRVC
            1935 W STATE ST.                                           ¨ Contingent
            GARLAND, TX 75042                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2026                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.403      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,664.34
                                                                       Check all that apply.
            MICROTEK MEDICAL INC/ECOLAB
            602 LEHMBERG RD                                            ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            COLUMBUS, MS 39702                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1692                      ¨ Yes

 3.404      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,725.00
                                                                       Check all that apply.
            MILLENNIUM SURGICAL CORP.
            822 MONTGOMERY AVE. STE #20                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            NARBERTH, PA 19072                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2023                      ¨ Yes




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                                                                                                                       Amount of claim

 3.405      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $164,714.31
                                                                       Check all that apply.
            MILLENNIUM TRUST COMPANY, LLC CUST FBO RANDALL P
            MAYDEW ROTH IRA XXXX28012                       ¨ Contingent
            2001 SPRING ROAD                                þ Unliquidated
            SUITE 700                                       ¨ Disputed
            OAK BROOK, IL 60523                             Basis for the claim:
            Date or dates debt was incurred                            SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.406      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,051.00
                                                                       Check all that apply.
            MIMEDX GROUP INC
            1775 WEST OAK COMMONS COURT                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MARIETTA, GA 30062-2254                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1625                      ¨ Yes

 3.407      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $158,366.42
                                                                       Check all that apply.
            MINDRAY NORTH AMERICA
            24312 NETWORK PL                                           ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-1243                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1075                      ¨ Yes

 3.408      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,430.62
                                                                       Check all that apply.
            MOBILE INSTRUMENT SERVICE &
            333 WATER AVE                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BELLEFONTAINE, OH 43311-1777                               Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1723                      ¨ Yes

 3.409      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $974.25
                                                                       Check all that apply.
            MOBILE SURGICAL TECHNOLOGIES
            17817 DAVENPORT RD                                         ¨ Contingent
            STE 315                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75252                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1402                      ¨ Yes




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                                                                                                                       Amount of claim

 3.410      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            MOHIUDIN ZEB
            5128 S HIGHWAY 205                                         ¨ Contingent
            ROCK WALL, TX 75032                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.411      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,600.00
                                                                       Check all that apply.
            MONITORING CONCEPTS
            3100 MONTICELLE                                            ¨ Contingent
            STE 210                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75205                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1810                      ¨ Yes

 3.412      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,355.75
                                                                       Check all that apply.
            MOREDIRECT, INC
            PO BOX 536464                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15253-5906                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1872                      ¨ Yes

 3.413      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,000.00
                                                                       Check all that apply.
            MORRISON & HEAD, LP
            4210 SPICEWOOD SPRINGS RD                                  ¨ Contingent
            STE 211                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            AUSTIN, TX 78759                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1832                      ¨ Yes

 3.414      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $391,008.23
                                                                       Check all that apply.
            MORRISON MANAGEMENT SPECIALI
            PO BOX 102289                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 30368                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1040                      ¨ Yes




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                                                                                                                       Amount of claim

 3.415      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,237.41
                                                                       Check all that apply.
            MORTARA INSTRUMENTS, INC
            7865 N 86TH ST                                             ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MILWAUKEE, WI 53224                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1201                      ¨ Yes

 3.416      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,074,198.05
                                                                       Check all that apply.
            MOSHE FELDHENDLER
            6815 SAWMILL ROAD                                          ¨ Contingent
            DALLAS, TX 75252                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.417      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $716,132.04
                                                                       Check all that apply.
            MOSHE FELDHENDLER
            6815 SAWMILL ROAD                                          ¨ Contingent
            DALLAS, TX 75252                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.418      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $52,820.00
                                                                       Check all that apply.
            MRM MEDICAL INC
            5164 VILLAGE CREEK DR                                      ¨ Contingent
            STE 200                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            PLANO, TX 75093                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1764                      ¨ Yes

 3.419      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $632.00
                                                                       Check all that apply.
            MUSCULOSKELETAL TRANSPLANT F
            PO BOX 415911                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BOSTON, MA 02241                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1791                      ¨ Yes




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                                                                                                                       Amount of claim

 3.420      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $159,241.39
                                                                       Check all that apply.
            MUSTAFA DOHADWALA, MD
            8 9TH STREET                                               ¨ Contingent
            UNIT B01                                                   þ Unliquidated
            MEDFORD, MA 2155                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.421      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $73,909.07
                                                                       Check all that apply.
            MUSTAFA DOHADWALA, MD
            8 9TH STREET                                               ¨ Contingent
            UNIT B01                                                   þ Unliquidated
            MEDFORD, MA 2155                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.422      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,432,264.07
                                                                       Check all that apply.
            NABEEL FARAH
            3347 BLACKBURN                                             ¨ Contingent
            APARTMENT 10202                                            þ Unliquidated
            DALLAS, TX 75204                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.423      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $163,195.82
                                                                       Check all that apply.
            NABEEL FARAH
            3347 BLACKBURN                                             ¨ Contingent
            APARTMENT 10202                                            þ Unliquidated
            DALLAS, TX 75204                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.424      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,577.28
                                                                       Check all that apply.
            NABEEL FARAH
            3347 BLACKBURN                                             ¨ Contingent
            APARTMENT 10202                                            þ Unliquidated
            DALLAS, TX 75204                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.425      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            NADEEM AHMAD SIDDIQUI
            1427 RIO GRANDE DRIVE                                      ¨ Contingent
            ALLEN, TX 75013                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.426      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            NALCO COMPANY
            PO BOX 730005                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75373-0005                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1331                      ¨ Yes

 3.427      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $155,893.37
                                                                       Check all that apply.
            NANAK TRUST
            5112 SILVER LAKE DRIVE                                     ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.428      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,510.98
                                                                       Check all that apply.
            NASIR KAFAI
            8509 SEVERN COURT                                          ¨ Contingent
            PLANO, TX 75024                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.429      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            NATALIE CHAMBLISS LIGHT
            8160 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 224                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.430      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $79,991.53
                                                                       Check all that apply.
            NATALIE CHAMBLISS LIGHT
            8160 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 224                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.431      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,734.98
                                                                       Check all that apply.
            NATALIE CHAMBLISS LIGHT
            8160 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 224                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.432      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,582.00
                                                                       Check all that apply.
            NATIONAL NEUROMONITORING
            1141 N LOOP 1604 E                                         ¨ Contingent
            #105-612                                                   ¨ Unliquidated
                                                                       ¨ Disputed
            SAN ANTONIO, TX 782321397                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1879                      ¨ Yes

 3.433      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,432,264.07
                                                                       Check all that apply.
            NDMC GROUP LLC
            4705 COOPER MOUNTAIN LANE                                  ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.434      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $183,870.51
                                                                       Check all that apply.
            NDMC GROUP LLC
            4705 COOPER MOUNTAIN LANE                                  ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.435      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            NEIL N. PHUNG
            7123 ANGELINA DRIVE                                        ¨ Contingent
            IRVING, TX 75039                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.436      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $271.81
                                                                       Check all that apply.
            NESTLE HEALTHCARE NURTITION
            PO BOX 841933                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75284-1933                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1152                      ¨ Yes

 3.437      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,356.16
                                                                       Check all that apply.
            NETWORK SERVICES COMPANY
            1805 MOMENTUM PLACE                                        ¨ Contingent
            LOCKBOX#231805                                             ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 606895318                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1034                      ¨ Yes

 3.438      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $56,739.51
                                                                       Check all that apply.
            NORTH TEXAS HEART CENTER
            8440 WALNUT HILL LN                                        ¨ Contingent
            STE 700                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75231                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1873                      ¨ Yes

 3.439      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $15,502.92
                                                                       Check all that apply.
            NORTH TEXAS PERFUSION SYSTEM
            2114 EISENHOWER                                            ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MCKINNEY, TX 75071                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1343                      ¨ Yes




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 3.440      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $50,371.84
                                                                       Check all that apply.
            NORTON ROSE FULBRIGHT
            2200 ROSS AVE, SUITE 3600                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75201                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2022                      ¨ Yes

 3.441      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $161,766.29
                                                                       Check all that apply.
            NRY #1 FAMILY LIMITED PARTNERSHIP
            5615 STONE CLIFF COURT                                     ¨ Contingent
            DALLAS, TX 75287                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.442      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,037,810.43
                                                                       Check all that apply.
            NTHC HOLDINGS, LLC
            8440 WALNUT HILL LN                                        ¨ Contingent
            #700                                                       þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.443      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $415,025.10
                                                                       Check all that apply.
            NTHC HOLDINGS, LLC
            8440 WALNUT HILL LN                                        ¨ Contingent
            #700                                                       þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.444      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $198,565.75
                                                                       Check all that apply.
            NUANCE COMMUNICATIONS INC
            PO BOX 2561                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CAROL STREAM, IL 60132-2561                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1449                      ¨ Yes




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 3.445      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $25,661.25
                                                                       Check all that apply.
            NXSTAGE MEDICAL, INC
            DEPT CH 17659                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PALANTINE, IL 60055-7659                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1473                      ¨ Yes

 3.446      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $26,101.18
                                                                       Check all that apply.
            OCEAN FRESH LAUNDRIES
            6805 WILD RIDGE COURT                                      ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PLANO, TX 75024                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1880                      ¨ Yes

 3.447      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,862.84
                                                                       Check all that apply.
            OFFICE DEPOT
            209 INDEPENDENCE TRAIL                                     ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            FORNEY, TX 75126                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1018                      ¨ Yes

 3.448      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $19,827.40
                                                                       Check all that apply.
            OLYMPUS AMERICA INC
            PO BOX 120600                                              ¨ Contingent
            DEPT 0600                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75312-0600                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1046                      ¨ Yes

 3.449      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $159,021.96
                                                                       Check all that apply.
            OM PATEL PARTNERS, LTD
            4553 KENTUCKY DRIVE                                        ¨ Contingent
            PLANO, TX 75024                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.450      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,525.00
                                                                      Check all that apply.
            OMNI EEG LAB INC
            8500 N STEMMONS FWY                                       ¨ Contingent
            STE 2087                                                  ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75247                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1805                     ¨ Yes

 3.451      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $24,859.91
                                                                      Check all that apply.
            OMNI FILTRATION
            PO BOX 12560                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            BEAUMONT, TX 77726                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 2005                     ¨ Yes

 3.452      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $6,140.00
                                                                      Check all that apply.
            OMNI LIFE SCIENCE, INC
            PO BOX 654106                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75265-4106                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1501                     ¨ Yes

 3.453      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,299.00
                                                                      Check all that apply.
            ON-X LIFE TECHNOLOGIES
            PO BOX 102312                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ATLANTA, GA 30368-2312                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1830                     ¨ Yes

 3.454      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $80,333.87
                                                                      Check all that apply.
            ORTHO CLINICAL DIAGNOSTICS
            5972 COLLECTIONS CENTER DRI                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60693                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1104                     ¨ Yes




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 3.455      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,600.00
                                                                      Check all that apply.
            OSIRIS THERAPEUTICS, INC
            7015 ALBERT EINSTEIN DR                                   ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            COLUMBIA, MD 21046-1707                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1799                     ¨ Yes

 3.456      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $34,964.18
                                                                      Check all that apply.
            OSTEOMED, LP
            3885 ARAPAHO ROAD                                         ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ADDISON, TX 75001                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1971                     ¨ Yes

 3.457      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,640.00
                                                                      Check all that apply.
            OT MEDICAL, LLC
            100 SPRINGHOUSE DR                                        ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            COLLEGEVILLE, PA 19426                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 2006                     ¨ Yes

 3.458      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,078.00
                                                                      Check all that apply.
            PAC SYSTEMS, INC.
            751 109TH STREET                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ARLINGTON, TX 76011                                       Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1244                     ¨ Yes

 3.459      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,363.95
                                                                      Check all that apply.
            PAJUNK MEDICAL SYSTEMS L.P.
            5126 SOUTH ROYAL ATLANTA DR                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            TUCKER, GA 30084                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1389                     ¨ Yes




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 3.460      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $656,723.12
                                                                       Check all that apply.
            PAN 1 FAMILY LIMITED PARTNERSHIP
            3401 LEE PARKWAY                                           ¨ Contingent
            #2103                                                      þ Unliquidated
            DALLAS, TX 75219                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.461      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $40,704.91
                                                                       Check all that apply.
            PANGTAY RESEARCH CORPORATION
            1607 DRISKILL DRIVE                                        ¨ Contingent
            IRVING, TX 75038                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.462      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,810.35
                                                                       Check all that apply.
            PANGTAY RESEARCH CORPORATION
            1607 DRISKILL DRIVE                                        ¨ Contingent
            IRVING, TX 75038                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.463      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $14,390.70
                                                                       Check all that apply.
            PAPERBOY DELIVERIES, LLC
            PO BOX 832521                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            RICHARDSON, TX 75083                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1428                      ¨ Yes

 3.464      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $760.45
                                                                       Check all that apply.
            PARKS MEDICAL ELECTRONICS SA
            6000 S EASTERN AVE                                         ¨ Contingent
            STE 10-B                                                   ¨ Unliquidated
                                                                       ¨ Disputed
            LAS VEGAS, NV 89119                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1750                      ¨ Yes




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 3.465      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $85,536.09
                                                                       Check all that apply.
            PARTSSOURCE INC
            777 LENA DRIVE                                             ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            AURORA, OH 44202-8025                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1959                      ¨ Yes

 3.466      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,357.68
                                                                       Check all that apply.
            PATTERSON MEDICAL SUPPLY, IN
            PO BOX 93040                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-3040                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1157                      ¨ Yes

 3.467      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,957.95
                                                                       Check all that apply.
            PDC
            PO BOX 71549                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60694-1995                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1151                      ¨ Yes

 3.468      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,038.84
                                                                       Check all that apply.
            PEVCO SYSTEMS INTERNATIONAL
            1401 TANGIER DR                                            ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BALTIMORE, MA 21220-2876                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1541                      ¨ Yes

 3.469      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,560.54
                                                                       Check all that apply.
            PHILLIP ARONOFF
            8210 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 710                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.470      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $28,088.93
                                                                       Check all that apply.
            PICC ME PLLC
            6504 ALDERBROOK DRIVE                                      ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DENTON, TX 76210                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1283                      ¨ Yes

 3.471      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $68.74
                                                                       Check all that apply.
            PITNEY BOWES GLOBAL FINANCIA
            PO BOX 371887                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PITTSBURGH, PA 15250-7887                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1556                      ¨ Yes

 3.472      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $173,204.95
                                                                       Check all that apply.
            POOJA BANERJEE
            6430 PEMBERTON DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.473      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,761.81
                                                                       Check all that apply.
            POOJA BANERJEE (ASHIRVAAD, LP)
            6430 PEMBERTON DRIVE                                       ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.474      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            PREM S. PILLAY REVOCABLE TRUST, DATED 3/23/1998
            1127 VILLA SIETE                                           ¨ Contingent
            MESQUITE, TX 75181                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.475      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $24,852.82
                                                                      Check all that apply.
            PREMIUM ASSIGNMENT 15150911
            PO BOX 8000                                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            TALLAHASSEE, FL 32314-8000                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1793                     ¨ Yes

 3.476      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $13,662.40
                                                                      Check all that apply.
            PRODIGY HEALTH SUPPLIER CORP
            PO BOX 95429                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            GRAPEVILLE, TX 76099-9734                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 2016                     ¨ Yes

 3.477      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $748.90
                                                                      Check all that apply.
            PROFESSIONAL MEDIA RESOURCES
            PO BOX 460380                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ST LOUIS, MO 63146-7380                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1370                     ¨ Yes

 3.478      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $27,232.18
                                                                      Check all that apply.
            PROHEALTH STAFING LLC
            100 HARRISON #400 NORTH TOW                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            SEATTLE, WA 98119                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1786                     ¨ Yes

 3.479      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,836.21
                                                                      Check all that apply.
            PROMETHEUS LABORATORIES
            PO BOX 894115                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            LOS ANGELES, CA 90189-4115                                Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1761                     ¨ Yes




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 3.480      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $184,107.50
                                                                      Check all that apply.
            PROPATH ASSOCIATES
            DEPT. 41070 PO BOX 660811                                 ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 752660811                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1319                     ¨ Yes

 3.481      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $9,469.94
                                                                      Check all that apply.
            PROVATION MEDICAL INC
            62770 COLLECTIONS CENTER DR                               ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60693                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1674                     ¨ Yes

 3.482      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,630.82
                                                                      Check all that apply.
            PURCHASE POWER (POSTAGE)
            PO BOX 371874                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PITTSBURGH, PA 152507874                                  Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1512                     ¨ Yes

 3.483      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $144,604.39
                                                                      Check all that apply.
            QUAMMEN HEALTH CARE CONSULTA
            151 SOUTHHALL LANE                                        ¨ Contingent
            STE 150                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            MAITLAND, FL 32751                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1196                     ¨ Yes

 3.484      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $190,110.75
                                                                      Check all that apply.
            QUANTROS INC
            DEPT CH 16932                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            PALATINE, IL 60055-6932                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1291                     ¨ Yes




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                                                                                                                       Amount of claim

 3.485      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $530.33
                                                                       Check all that apply.
            QUANTUM MEDICAL
            15800 NW 15TH AVE                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MIAMI, FL 33169                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1581                      ¨ Yes

 3.486      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,570.34
                                                                       Check all that apply.
            QUEST DIAGNOSTICS INC
            PO BOX 841725                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75284-1725                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1028                      ¨ Yes

 3.487      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,028.38
                                                                       Check all that apply.
            QUINTECH, INC
            PO BOX 947                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            NASH, TX 75567                                             Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1433                      ¨ Yes

 3.488      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,801.16
                                                                       Check all that apply.
            R.W. SMITH & CO
            PO BOX 51847                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            LOS ANGELES, CA 90051-6147                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1362                      ¨ Yes

 3.489      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $2,650,000.00
                                                                       Check all that apply.
            RABBI TRUST
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.490      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,000.00
                                                                       Check all that apply.
            RADCOM ASSOCIATES, INC
            2302 GUTHRIE RD                                            ¨ Contingent
            STE 210                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            GARLAND, TX 75043                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1188                      ¨ Yes

 3.491      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $278.81
                                                                       Check all that apply.
            RADIOMETER AMERICA INC
            13217 COLLECTIONS CENTER DR                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1008                      ¨ Yes

 3.492      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $537,099.03
                                                                       Check all that apply.
            RAJ GUPTA
            3620 SHANTARA LANE                                         ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.493      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $166,164.68
                                                                       Check all that apply.
            RAJEEV JOSHI, M.D.
            8440 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 700                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.494      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,791.50
                                                                       Check all that apply.
            RAPID ORTHOPEDIC SUPPLIES
            3810 MELCER DR                                             ¨ Contingent
            STE 103                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            ROWLETT, TX 75088                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1570                      ¨ Yes




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                                                                                                                       Amount of claim

 3.495      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,518.13
                                                                       Check all that apply.
            REGENT SERVICES
            1307 8TH AVE                                               ¨ Contingent
            STE B2                                                     ¨ Unliquidated
                                                                       ¨ Disputed
            FORT WORTH, TX 76104                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1725                      ¨ Yes

 3.496      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $227,163.36
                                                                       Check all that apply.
            REHABCARE
            PO BOX 502096                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ST. LOUIS, MO 63150-2096                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1392                      ¨ Yes

 3.497      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $89,298.58
                                                                       Check all that apply.
            RELIANT
            PO BOX 120954                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75312-0954                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1246                      ¨ Yes

 3.498      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $55,500.50
                                                                       Check all that apply.
            RENOVIS SURGICAL TECHNOLOGIE
            1901 W. LUGONIA AVE                                        ¨ Contingent
            SUITE 340                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            REDLANDS, CA 92374                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1909                      ¨ Yes

 3.499      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $202,000.00
                                                                       Check all that apply.
            RICARDO GUERRA JR
            5012 HUMMINGBIRD LN                                        ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            2/10/2015                                                  NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.500      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $106,845.00
                                                                       Check all that apply.
            RICARDO GUERRA JR
            5012 HUMMINGBIRD LN                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PLANO, TX 75093                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1778                      ¨ Yes

 3.501      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,432,264.07
                                                                       Check all that apply.
            RICARDO GUERRA, JR.
            5012 HUMMINGBIRD LANE                                      ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.502      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            RICARDO GUERRA, JR.
            5012 HUMMINGBIRD LANE                                      ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.503      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $183,946.45
                                                                       Check all that apply.
            RICARDO GUERRA, JR., M.D.
            5012 HUMMINGBIRD LANE                                      ¨ Contingent
            PLANO, TX 75093                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.504      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $350.94
                                                                       Check all that apply.
            RICHARD WOLF MEDICAL INSTRUM
            353 CORPORATE WOODS PKWY                                   ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            VERNON HILLS, IL 60061-3110                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1697                      ¨ Yes




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 3.505      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,991.95
                                                                       Check all that apply.
            RICOH (LEASE/RENT)
            PO BOX 650016                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75265-0016                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1599                      ¨ Yes

 3.506      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,284.83
                                                                       Check all that apply.
            RICOH USA INC
            709 BROOKFIELD DRIVE                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            GARLAND, TX 75040                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1231                      ¨ Yes

 3.507      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $74,319.86
                                                                       Check all that apply.
            ROBERT FARKAS
            7150 EUDORA DRIVE                                          ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.508      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $28,080.61
                                                                       Check all that apply.
            ROBERT HALF FINANCE & ACCOUN
            PO BOX 743295                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            LOS ANGELES, CA 90074-3295                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1248                      ¨ Yes

 3.509      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $442.89
                                                                       Check all that apply.
            ROLL CALL
            ATTN: AR DEPT                                              ¨ Contingent
            5000 SAWGRASS VILLAGE CIR S                                ¨ Unliquidated
                                                                       ¨ Disputed
            PONTE VEDRA, FL 32082-5042                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1574                      ¨ Yes




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 3.510      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $487.13
                                                                       Check all that apply.
            RPM DOOR AND SERVICES
            708 VALLEY CT                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ROYSE CITY, TX 75189                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1539                      ¨ Yes

 3.511      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $15,750.00
                                                                       Check all that apply.
            RPNT ACUTE SERVICES INC
            4425 W AIRPORT FWY                                         ¨ Contingent
            STE 542                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            IRVING, TX 75062                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1573                      ¨ Yes

 3.512      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $107.48
                                                                       Check all that apply.
            RR DONNELLEY & SONS COMPANY
            7810 SOLUTION CENTER                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60677-7008                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1950                      ¨ Yes

 3.513      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,907.40
                                                                       Check all that apply.
            RTI SURGICAL INC
            DEPT 77190                                                 ¨ Contingent
            PO BOX 77000                                               ¨ Unliquidated
                                                                       ¨ Disputed
            DETROIT, MI 48277-0190                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1615                      ¨ Yes

 3.514      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $84,048.84
                                                                       Check all that apply.
            RUSH BARRETT STEELMAN, M.D.
            4242 LOMO ALTO DRIVE                                       ¨ Contingent
            E38                                                        þ Unliquidated
            DALLAS, TX 75219                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.515      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $42,479.64
                                                                       Check all that apply.
            RX REMOTE SOLUTIONS, INC
            PO BOX 638318                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CINCINNATI, OH 45263-8318                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1407                      ¨ Yes

 3.516      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            RYAN HEISE
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.517      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $231,154.56
                                                                       Check all that apply.
            SAAP INVESTMENTS LTD
            2105 MIRACLE POINT DRIVE                                   ¨ Contingent
            SOUTHLAKE, TX 76092                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.518      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $158,144.22
                                                                       Check all that apply.
            SAAP INVESTMENTS LTD
            2105 MIRACLE POINT DRIVE                                   ¨ Contingent
            SOUTHLAKE, TX 76092                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.519      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            SANDEEP GUPTA
            5600 WAYFARER DRIVE                                        ¨ Contingent
            PLANO, TX 75231                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.520      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $389,733.43
                                                                       Check all that apply.
            SBC COLLIN HOLDINGS LP
            6049 CANVAS BACK DRIVE                                     ¨ Contingent
            FRISCO, TX 75034                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.521      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,680.58
                                                                       Check all that apply.
            SCANLAN INTERNATIONAL INC
            ONE SCANLAN PLAZA                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ST PAUL, MN 55107                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1417                      ¨ Yes

 3.522      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,400.00
                                                                       Check all that apply.
            SCANSTAT TECHNOLOGIES
            288 SOUTH MAIN STREET SUITE                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ALPHARETTA, GA 30009                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2015                      ¨ Yes

 3.523      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,580.05
                                                                       Check all that apply.
            SCHILLER AMERICA INC
            10903 NW 33D STREET                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DORAL, FL 33172                                            Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1757                      ¨ Yes

 3.524      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,054.20
                                                                       Check all that apply.
            SCHINDLER ELEVATOR CORPORATI
            PO BOX 93050                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 606733050                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1372                      ¨ Yes




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                                                                                                                       Amount of claim

 3.525      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $11,452.14
                                                                       Check all that apply.
            SDP OF DALLAS ENTERPRISES, L
            201 SEABOARD LN                                            ¨ Contingent
            STE 100                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            FRANKLIN, TN 37067                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1446                      ¨ Yes

 3.526      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $6,854,146.03
                                                                       Check all that apply.
            SDP OF DALLAS ENTERPRISES, LLC
            201 SEABOARD LN                                            ¨ Contingent
            STE 100                                                    þ Unliquidated
            FRANKLIN, TN 37067                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       NOTE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.527      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,155,772.80
                                                                       Check all that apply.
            SDP OF DALLAS HOLDINGS
            201 SEABOARD LANE                                          ¨ Contingent
            SUITE 100                                                  þ Unliquidated
            FRANKLIN, TN 37067                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.528      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,770.24
                                                                       Check all that apply.
            SENTREHEART, INC
            300 SAGINAW DR                                             ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            REDWOOD CITY, CA 94063                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1542                      ¨ Yes

 3.529      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            SHAMIM KHAMBATI, M.D. & KHOZEMA KHAMBATI
            3505 MILTON AVENUE                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.530      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $346,570.87
                                                                       Check all that apply.
            SHAMIM KHAMBATI, M.D. & KHOZEMA KHAMBATI
            3505 MILTON AVENUE                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.531      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $322,191.15
                                                                       Check all that apply.
            SHAMIM KHAMBATI, M.D. & KHOZEMA KHAMBATI
            3505 MILTON AVENUE                                         ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.532      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $60,577.72
                                                                       Check all that apply.
            SHAUN KAISER
            2500 N. HOUSTON ST.                                        ¨ Contingent
            #1506                                                      þ Unliquidated
            DALLAS, TX 75219                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.533      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $55.85
                                                                       Check all that apply.
            SHERWIN-WILLIAMS CO.
            11260 N CENTRAL EXPY                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75243-6702                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1878                      ¨ Yes

 3.534      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,177.49
                                                                       Check all that apply.
            SHI INTERNATIONAL CORP
            PO BOX 952121                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75395-2121                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1452                      ¨ Yes




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                                                                                                                       Amount of claim

 3.535      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $74,113.51
                                                                       Check all that apply.
            SHILPA PATEL
            4425 HANOVER STREET                                        ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.536      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,000.25
                                                                       Check all that apply.
            SHRED IT
            PO BOX 101007                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PASADENA, CA 91189-1007                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1364                      ¨ Yes

 3.537      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,375.50
                                                                       Check all that apply.
            SHUMSKY THERAPEUTIC PILLOWS
            PO BOX 821                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MIDDLETOWN, OH 45042                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1765                      ¨ Yes

 3.538      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,083.20
                                                                       Check all that apply.
            SIEMENS BUILDING TECHNOLOGIE
            8600 N ROYAL LN                                            ¨ Contingent
            STE 100                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            IRVING, TX 75063                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1890                      ¨ Yes

 3.539      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,776.52
                                                                       Check all that apply.
            SIEMENS HEALTHCARE DIAGNOSTI
            PO BOX 121102                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75312                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1099                      ¨ Yes




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                                                                                                                       Amount of claim

 3.540      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $223,242.88
                                                                       Check all that apply.
            SIEMENS MEDICAL SOLUTIONS
            PO BOX 120001                                              ¨ Contingent
            DEPT 0733                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75312-0733                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1835                      ¨ Yes

 3.541      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,200.00
                                                                       Check all that apply.
            SIENTRA, INC
            420 S FAIRVIEW AVE                                         ¨ Contingent
            SUITE 200                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            SANTA BARBARA, CA 93117                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1978                      ¨ Yes

 3.542      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,913.00
                                                                       Check all that apply.
            SIGNAL MEDICAL CORPORATION
            1000 DES PERES ROAD                                        ¨ Contingent
            STE 140                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            ST LOUIS, MO 63131                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1435                      ¨ Yes

 3.543      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            SIMKA LIMITED PARTNERSHIP
            16311 RANCHUTA DRIVE                                       ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.544      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $58,110.57
                                                                       Check all that apply.
            SIMKA LIMITED PARTNERSHIP
            16311 RANCHUTA DRIVE                                       ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                      Amount of claim

 3.545      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $707,791.00
                                                                      Check all that apply.
            SIRTEX MEDICAL INC
            300 UNICORN PARK DR                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            WOBURN, MA 01801                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1569                     ¨ Yes

 3.546      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $468,899.22
                                                                      Check all that apply.
            SMITH & NEPHEW
            150 MINUTEMAN RD                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ANDOVER, MA 01810                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1508                     ¨ Yes

 3.547      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,749.80
                                                                      Check all that apply.
            SNAP STREAK
            PO BOX 682786                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            HOUSTON, TX 77268-2786                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1847                     ¨ Yes

 3.548      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,209.19
                                                                      Check all that apply.
            SOUTHWEST OFFICE SYSTEMS INC
            PO BOX 612248                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DFW AIRPORT, TX 75261                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1210                     ¨ Yes

 3.549      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $42,690.85
                                                                      Check all that apply.
            SPECTRANETICS CORPORATION
            LBX#774588                                                ¨ Contingent
            4588 SOLUTIONS CENTER                                     ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60677-4005                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1217                     ¨ Yes




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                                                                                                                      Amount of claim

 3.550      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $118,570.00
                                                                      Check all that apply.
            SPINE STAR LLC
            908 AUDELIA RD                                            ¨ Contingent
            STE 200 PMB 338                                           ¨ Unliquidated
                                                                      ¨ Disputed
            RICHARDSON, TX 75081                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1774                     ¨ Yes

 3.551      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $777.43
                                                                      Check all that apply.
            SPOK
            PO BOX 660324                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75266                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1525                     ¨ Yes

 3.552      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $2,045,107.33
                                                                      Check all that apply.
            ST. JUDE MEDICAL S.C., INC
            22400 NETWORK PLACE                                       ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60673-1224                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1290                     ¨ Yes

 3.553      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,867.19
                                                                      Check all that apply.
            STAPLES CONTRACTS & COMMERCI
            1929 DESOTO DR                                            ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MCKINNEY, TX 75070                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1197                     ¨ Yes

 3.554      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $684.32
                                                                      Check all that apply.
            STAT LAB
            PO BOX 678056                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75267-8056                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1357                     ¨ Yes




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                                                                                                                       Amount of claim

 3.555      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,719.14
                                                                       Check all that apply.
            STERICYCLE INC
            PO BOX 6575                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CAROL STREAM, IL 60197                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1302                      ¨ Yes

 3.556      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,184.17
                                                                       Check all that apply.
            STERIS CORPORATION
            PO BOX 676548                                              ¨ Contingent
            GLN# 0724995110055                                         ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75267-6548                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1066                      ¨ Yes

 3.557      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $716,132.04
                                                                       Check all that apply.
            STEVEN L. MEYER, M.D. & ANN MEYER
            7231 VALLEY VIEW PLACE                                     ¨ Contingent
            DALLAS, TX 75240                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.558      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            STEVEN L. MEYER, M.D. & ANN MEYER
            7231 VALLEY VIEW PLACE                                     ¨ Contingent
            DALLAS, TX 75240                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.559      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $231,047.25
                                                                       Check all that apply.
            STEVEN MEYER
            7231 VALLEY VIEW PLACE                                     ¨ Contingent
            DALLAS, TX 75240                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.560      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,305.01
                                                                       Check all that apply.
            STEWART & STEVENSON LLC
            601 W 38TH STREET                                          ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            HOUSTON, TX 77018                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1989                      ¨ Yes

 3.561      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,523.62
                                                                       Check all that apply.
            STRAIGHTLINE MEDICAL CONSULTANTS
                                                                       ¨ Contingent
            Date or dates debt was incurred                            þ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.562      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $207,301.77
                                                                       Check all that apply.
            STRYKER ENDOSCOPY
            2825 AIRVIEW BLVD.                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            KALAMAZOO, MI 49002                                        Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1058                      ¨ Yes

 3.563      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $45,400.77
                                                                       Check all that apply.
            STRYKER INSTRUMENTS
            PO BOX 70119                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-0119                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1100                      ¨ Yes

 3.564      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $17,772.51
                                                                       Check all that apply.
            STRYKER MEDICAL
            PO BOX 93308                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1426                      ¨ Yes




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                                                                                                                       Amount of claim

 3.565      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $11,901.25
                                                                       Check all that apply.
            STRYKER ORTHOPAEDIC
            BOX 93213                                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-3213                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1069                      ¨ Yes

 3.566      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $181,324.33
                                                                       Check all that apply.
            STRYKER SUSTAINABILITY SOLUT
            PO BOX 29387                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PHOENIX, AZ 85038-9387                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1330                      ¨ Yes

 3.567      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $158,948.81
                                                                       Check all that apply.
            SUJATHA KRISHNAN
            2163 FAIR HILL DRIVE                                       ¨ Contingent
            ALLEN, TX 75013                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.568      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,788.64
                                                                       Check all that apply.
            SUJATHA KRISHNAN
            2163 FAIR HILL DRIVE                                       ¨ Contingent
            ALLEN, TX 75013                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.569      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $157,485.91
                                                                       Check all that apply.
            SUJIR LTD
            4524 KENTUCKY DR.                                          ¨ Contingent
            PLANO, TX 75024                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.570      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            SUMIT KUMAR
            3301 HAYLEY COURT                                          ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.571      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $13,452.78
                                                                       Check all that apply.
            SUREFIRE MEDICAL INC
            PO BOX 746327                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ARVADA, CO 80006-6327                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1745                      ¨ Yes

 3.572      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $169,667.08
                                                                       Check all that apply.
            SUSAN G. SCHILDT
            15303 DALLAS PARKWAY                                       ¨ Contingent
            SUITE 460                                                  þ Unliquidated
            ADDISON, TX 75001                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.573      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $43,179.49
                                                                       Check all that apply.
            SYMMETRY SURGICAL
            PO BOX 759159                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            BALTIMORE, MD 212759159                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1137                      ¨ Yes

 3.574      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $26,131.14
                                                                       Check all that apply.
            SYNTHES
            5972 COLLECTION CENTER DR                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1148                      ¨ Yes




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                                                                                                                       Amount of claim

 3.575      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $31,094.16
                                                                       Check all that apply.
            SYSMEX AMERICA, INC.
            28241 NETWORK PLACE                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-1282                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1219                      ¨ Yes

 3.576      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $419,296.34
                                                                       Check all that apply.
            TAFIRO GROUP, LTD.
            211 HIGHLAND CROSS                                         ¨ Contingent
            SUITE 275                                                  þ Unliquidated
            HOUSTON, TX 77073                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.577      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $414,859.72
                                                                       Check all that apply.
            TAFIRO GROUP, LTD.
            211 HIGHLAND CROSS                                         ¨ Contingent
            SUITE 275                                                  þ Unliquidated
            HOUSTON, TX 77073                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.578      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            TARA DULLYE, MD
            8160 WALNUT HILL LANE                                      ¨ Contingent
            SUITE 219                                                  þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.579      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,350.90
                                                                       Check all that apply.
            TELEHEALTH SERVICES
            PO BOX 26627                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            RALEIGH, NC 27611                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1395                      ¨ Yes




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                                                                                                                      Amount of claim

 3.580      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $5,128.49
                                                                      Check all that apply.
            TENSION CORPORATION
            PO BOX 957218                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            ST LOUIS, MO 63195-7218                                   Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1221                     ¨ Yes

 3.581      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $34,907.67
                                                                      Check all that apply.
            TERUMO MEDICAL CORPORATION
            PO BOX 841733                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75284-1733                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1224                     ¨ Yes

 3.582      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $385.00
                                                                      Check all that apply.
            TESTANK INC
            8317 ROCK CANYON COURT                                    ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            FORT WORTH, TX 76123                                      Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1963                     ¨ Yes

 3.583      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,576.02
                                                                      Check all that apply.
            TEXAS STAR LANDSCAPES LLC
            PO BOX 224794                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75222-4794                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1468                     ¨ Yes

 3.584      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,295.00
                                                                      Check all that apply.
            TEXCAL INVENTORY SERVICES
            2010 LOUISIANA ST.                                        ¨ Contingent
            HOUSTON, TX 77002-8644                                    ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 1752                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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                                                                                                                      Amount of claim

 3.585      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $210,000.00
                                                                      Check all that apply.
            TFS CONSULTING, INC
            201 SEABOARD LANE                                         ¨ Contingent
            SUITE 150                                                 ¨ Unliquidated
                                                                      ¨ Disputed
            FRANKLIN, TN 37067                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1632                     ¨ Yes

 3.586      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $6,586.04
                                                                      Check all that apply.
            THE BRANDT COMPANIES LLC
            PO BOX 227351                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            DALLAS, TX 75222-7351                                     Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1997                     ¨ Yes

 3.587      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $10,660.00
                                                                      Check all that apply.
            THE JOINT COMMISSION
            PO BOX 92775                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60675-2775                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1406                     ¨ Yes

 3.588      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $12,700.00
                                                                      Check all that apply.
            THE SOCIETY THORACIC SURGEON
            PO BOX 809265                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHICAGO, IL 60680-9265                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1877                     ¨ Yes

 3.589      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,841.94
                                                                      Check all that apply.
            THE SSI GROUP, INC
            DEPT 2455                                                 ¨ Contingent
            PO BOX 11407                                              ¨ Unliquidated
                                                                      ¨ Disputed
            BIRMINGHAM, AL 35246-2455                                 Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1571                     ¨ Yes




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                                                                                                                       Amount of claim

 3.590      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $13,600.00
                                                                       Check all that apply.
            THERACOM LLC
            PAYMENT CENTER                                             ¨ Contingent
            PO BOX 640105                                              ¨ Unliquidated
                                                                       ¨ Disputed
            CINCINNATI, OH 45264-0105                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1617                      ¨ Yes

 3.591      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $173,628.93
                                                                       Check all that apply.
            THOMAS A. LACOUR, M.D.
            4105 CARUTH BLVD                                           ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.592      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $58,056.92
                                                                       Check all that apply.
            THOMAS LACOUR
            4105 CARUTH BLVD                                           ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.593      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $132,879.69
                                                                       Check all that apply.
            THOMAS PROTECTIVE SERVICE IN
            PO BOX 883                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            KAUFMAN, TX 75142                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1012                      ¨ Yes

 3.594      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,500.00
                                                                       Check all that apply.
            THREE60 ORTHO LLC
            4311 VERDE LN                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            FRISCO, TX 75034                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1668                      ¨ Yes




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                                                                                                                       Amount of claim

 3.595      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,115.80
                                                                       Check all that apply.
            THYSSENKRUPP ELEVATOR CORP
            PO BOX 933004                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ATLANTA, GA 31193-3004                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1798                      ¨ Yes

 3.596      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $321,597.81
                                                                       Check all that apply.
            TIM T. ISSAC
            4025 HAWTHORNE AVENUE                                      ¨ Contingent
            DALLAS, TX 75219                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.597      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,845.00
                                                                       Check all that apply.
            TITAN TECH, INC
            PO BOX 822184                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            N. RICHLAND HILLS, TX 76182                                Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1853                      ¨ Yes

 3.598      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $231,154.56
                                                                       Check all that apply.
            TOM THAYIL
            4705 COOPER MOUNTAIN LANE                                  ¨ Contingent
            RICHARDSON, TX 75082                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.599      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $934,801.00
                                                                       Check all that apply.
            TONY DAS, MD
            4407 MIDDLETON ROAD                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            DALLAS, TX 75229                                           Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1802                      ¨ Yes




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                                                                                                                       Amount of claim

 3.600      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $2,309,399.37
                                                                       Check all that apply.
            TONY S. DAS, MD
            4407 MIDDLETON ROAD                                        ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.601      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,432,264.07
                                                                       Check all that apply.
            TONY S. DAS, MD
            4407 MIDDLETON ROAD                                        ¨ Contingent
            DALLAS, TX 75229                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.602      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $920.13
                                                                       Check all that apply.
            TOPERA, INC
            1530 O'BRIEN DRIVE                                         ¨ Contingent
            SUITE B                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            MENLO PARK, CA 94025                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1985                      ¨ Yes

 3.603      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,321.66
                                                                       Check all that apply.
            TORNIER, INC.
            PO BOX 4631                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            HOUSTON, TX 77210-4631                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1894                      ¨ Yes

 3.604      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,165.00
                                                                       Check all that apply.
            TRAVEL MAX
            13877 COLLECTIONS CENTER DR                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60693                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1713                      ¨ Yes




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                                                                                                                       Amount of claim

 3.605      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,700.61
                                                                       Check all that apply.
            TRI-ANIM HEALTH SERVICES INC
            25197 NETWORK PLACE                                        ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60673-1251                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1153                      ¨ Yes

 3.606      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            TRICIA SHIMER
            5744 BERNAY LANE                                           ¨ Contingent
            PLANO, TX 75024                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.607      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,930.64
                                                                       Check all that apply.
            TRIREME MEDICAL, INC.
            7060 KOLL CENTER PKWY                                      ¨ Contingent
            STE 300                                                    ¨ Unliquidated
                                                                       ¨ Disputed
            PLEASANTON, CA 94566-3171                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1226                      ¨ Yes

 3.608      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $749.96
                                                                       Check all that apply.
            TRIVASCULAR INC
            3910 BRICKWAY BLVD                                         ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            SANTA ROSA, CA 95403                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1849                      ¨ Yes

 3.609      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            TULIKA JAIN
            7148 BIRCHWOOD DRIVE                                       ¨ Contingent
            DALLAS, TX 75240                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.610      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $159,241.39
                                                                       Check all that apply.
            TULIKA JAIN
            7148 BIRCHWOOD DRIVE                                       ¨ Contingent
            DALLAS, TX 75240                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.611      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $381,170.50
                                                                       Check all that apply.
            TULIO DIAZ
            8749 SOUTHWESTERN BLVD.                                    ¨ Contingent
            SUITE 19303                                                þ Unliquidated
            DALLAS, TX 75231                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       SURPLUS CASH NOTES
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.612      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $750,799.70
                                                                       Check all that apply.
            TVM FAMILY HOLDINGS LLC
            4532 SOUTH VERSAILLES AVE.                                 ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.613      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $578,959.51
                                                                       Check all that apply.
            TVM FAMILY HOLDINGS LLC
            4532 SOUTH VERSAILLES AVE.                                 ¨ Contingent
            DALLAS, TX 75205                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.614      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $63,218.00
                                                                       Check all that apply.
            TVR COMMUNICATIONS, LLC
            60-69 WOODHAVEN BLVD                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ELMHURST, NY 11373                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1192                      ¨ Yes




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                                                                                                                       Amount of claim

 3.615      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,381.88
                                                                       Check all that apply.
            TYCO
            DEPT CH 10320                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            PAALTINE, IL 60055-0320                                    Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1410                      ¨ Yes

 3.616      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $172,032.55
                                                                       Check all that apply.
            UDAYA B. PADAKANDLA, M.D.
            4449 YOUNG DRIVE                                           ¨ Contingent
            CARROLLTON, TX 75010                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.617      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $469.26
                                                                       Check all that apply.
            UHS SURGICAL SERVICES, INC
            PO BOX 86                                                  ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MINNEAPOLIS, MN 55486-3114                                 Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1844                      ¨ Yes

 3.618      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $253.64
                                                                       Check all that apply.
            ULINE, INC
            PO BOX 88741                                               ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CHICAGO, IL 60680-1741                                     Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1481                      ¨ Yes

 3.619      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            UNIVERSAL MEDICAL SYSTEMS
            5227 E FM 875                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            WAXAHACHIE, TX 75167                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1954                      ¨ Yes




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                                                                                                                      Amount of claim

 3.620      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $600.00
                                                                      Check all that apply.
            US COMPOUNDING
            1270 JIMS LN.                                             ¨ Contingent
            CONWAY, AR 72032                                          ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 2028                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.621      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $5,141.47
                                                                      Check all that apply.
            US MED-EQUIP, INC
            910 MALLARD TRAIL                                         ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            MURPHY, TX 75094                                          Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1296                     ¨ Yes

 3.622      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,002.62
                                                                      Check all that apply.
            US WATER SERVICES
            12270 43RD ST NE                                          ¨ Contingent
            ST MICHAEL, MN 55376                                      ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 2044                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.623      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $839.00
                                                                      Check all that apply.
            US-YELLOW PAGES
            PO BOX 48098                                              ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            JACKSON, FL 32247-8098                                    Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1948                     ¨ Yes

 3.624      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,360.00
                                                                      Check all that apply.
            VALERIS MEDICAL, LLC
            200 COBB PKWY N STE 210                                   ¨ Contingent
            MARIETTA, GA 30062-3500                                   ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 2031                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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                                                                                                                       Amount of claim

 3.625      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $246.43
                                                                       Check all that apply.
            VALITEQ
            PO BOX 245                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CUMBERLAND, WI 54829                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1351                      ¨ Yes

 3.626      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,777.00
                                                                       Check all that apply.
            VALLEY SURGICAL INC
            633 SOUTH ANDREWS AVE                                      ¨ Contingent
            SUITE 400                                                  ¨ Unliquidated
                                                                       ¨ Disputed
            FLAUDERDALE, FL 33301                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1941                      ¨ Yes

 3.627      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $115,738.25
                                                                       Check all that apply.
            VANESSA DAROS
            6122 LA COSA DRIVE                                         ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.628      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $96,870.22
                                                                       Check all that apply.
            VANESSA DAROS
            6122 LA COSA DRIVE                                         ¨ Contingent
            DALLAS, TX 75248                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.629      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,668.70
                                                                       Check all that apply.
            VANGUARD
            C/O ASCENSUS                                               ¨ Contingent
            PO BOX 28067                                               ¨ Unliquidated
                                                                       ¨ Disputed
            NEW YORK, NY 10087                                         Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1443                      ¨ Yes




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                                                                                                                       Amount of claim

 3.630      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,945.56
                                                                       Check all that apply.
            VASCULAR SOLUTIONS, INC
            PO BOX 1178                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            MAPLE GROVE, MN 55311                                      Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1262                      ¨ Yes

 3.631      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,792.85
                                                                       Check all that apply.
            VERSACOR ENTERPRISES LLC
            3513 HAMLETT LN                                            ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            GARLAND, TX 75043                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1263                      ¨ Yes

 3.632      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $179,033.01
                                                                       Check all that apply.
            VICTOR M. GOMEZ
            7515 YAMINI DRIVE                                          ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.633      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $164,870.84
                                                                       Check all that apply.
            VICTOR M. GOMEZ
            7515 YAMINI DRIVE                                          ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.634      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $886.00
                                                                       Check all that apply.
            VILEX IN TENNESSEE, INC.
            111 MOFFITT ST.                                            ¨ Contingent
            MCMINNVILLE, TN 37110                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE VENDOR
            Last 4 digits of account number: 2054                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                      Amount of claim

 3.635      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,700.00
                                                                      Check all that apply.
            VITAS HEALTHCARE
            100 S BISCAYNE BLVD # 1600                                ¨ Contingent
            MIAMI, FL 33131-2021                                      ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      TRADE VENDOR
            Last 4 digits of account number: 0083                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.636      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $33,075.00
                                                                      Check all that apply.
            VOALTE
            5101 FRUITVILLE RD                                        ¨ Contingent
            STE 101                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            SARASOTA, FL 34232                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1634                     ¨ Yes

 3.637      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $16,104.50
                                                                      Check all that apply.
            VOLCANO CORPORATION
            2413 RICHVIEW CT                                          ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            GARLAND, TX 75044                                         Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1265                     ¨ Yes

 3.638      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $110,168.56
                                                                      Check all that apply.
            W.L. GORE & ASSOCIATES, INC.
            PO BOX 751331                                             ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
            CHARLOTTE, NC 28275                                       Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1427                     ¨ Yes

 3.639      Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $3,636,238.19
                                                                      Check all that apply.
            WALNUT HILL HOSPITAL MGT COM
            201 SEABOARD LN                                           ¨ Contingent
            STE 100                                                   ¨ Unliquidated
                                                                      ¨ Disputed
            FRANKLIN, TN 37067                                        Basis for the claim:
                                                                      TRADE VENDOR
            Date or dates debt was incurred                           Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: 1429                     ¨ Yes




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                                                                                                                       Amount of claim

 3.640      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,882.00
                                                                       Check all that apply.
            WEST COAST MEDICAL RESOURCES
            PO BOX 839                                                 ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            CLEARWATER, FL 33757                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 2010                      ¨ Yes

 3.641      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $358,066.02
                                                                       Check all that apply.
            WILLIAM F. TUCKER, JR.
            3533 SOUTHWESTERN BOULEVARD                                ¨ Contingent
            DALLAS, TX 75225                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.642      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,782.87
                                                                       Check all that apply.
            WINDSTREAM COMMUNICATIONS
            PO BOX 9001013                                             ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            LOUISVILLE, KY 40290                                       Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1215                      ¨ Yes

 3.643      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $252,728.08
                                                                       Check all that apply.
            WOODSTREAM VENTURES, LLC
            2607 LAKEFOREST COURT                                      ¨ Contingent
            DALLAS, TX 75214                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.644      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $48,115.56
                                                                       Check all that apply.
            WRIGHT MEDICAL TECHNOLOGY, I
            PO BOX 503482                                              ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            ST. LOUIS, MO 63150-3482                                   Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1140                      ¨ Yes




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                                                                                                                       Amount of claim

 3.645      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            X-SPINE SYSTEMS INC
            2109 SUNRIDGE DR                                           ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            GARLAND, TX 75042                                          Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1829                      ¨ Yes

 3.646      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $456,353.12
                                                                       Check all that apply.
            YASHVANT PARMAR
            5851 MEADERS LANE                                          ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.647      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $150,159.94
                                                                       Check all that apply.
            YASHVANT PARMAR
            5851 MEADERS LANE                                          ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.648      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $57,788.64
                                                                       Check all that apply.
            YASHVANT PARMAR
            5851 MEADERS LANE                                          ¨ Contingent
            DALLAS, TX 75230                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            Last 4 digits of account number:                           SURPLUS CASH NOTES
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.649      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,814.65
                                                                       Check all that apply.
            YELLOW CAB
            PO BOX 1510                                                ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed
            FORT WORTH, TX 76101-1510                                  Basis for the claim:
                                                                       TRADE VENDOR
            Date or dates debt was incurred                            Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: 1622                      ¨ Yes




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                                                                                                                                 Amount of claim

 3.650        Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                  $1,253,231.06
                                                                          Check all that apply.
              YOUSEF ABOU KAYYAS
              601 ASHFIELD                                                ¨ Contingent
              RICHARDSON, TX 75081                                        þ Unliquidated
                                                                          ¨ Disputed
              Date or dates debt was incurred
                                                                          Basis for the claim:
              Last 4 digits of account number:                            SURPLUS CASH NOTES
                                                                          Is the claim subject to offset?
                                                                          þ No
                                                                          ¨ Yes

 3.651        Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                        $34,081.22
                                                                          Check all that apply.
              ZIMMER US INC
              PO BOX 840166                                               ¨ Contingent
                                                                          ¨ Unliquidated
                                                                          ¨ Disputed
              DALLAS, TX 75284-0166                                       Basis for the claim:
                                                                          TRADE VENDOR
              Date or dates debt was incurred                             Is the claim subject to offset?
                                                                          þ No
              Last 4 digits of account number: 1486                       ¨ Yes

    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                      Total of claim amounts


   5a. Total claims from Part 1                                                                             5a.                   $2,273,375.83



   5b. Total claims from Part 2                                                                             5b.   +            $143,553,090.72



   5c. Total of Parts 1 and 2                                                                               5c.                $145,826,466.55
       Lines 5a + 5b = 5c.




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  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number          17-32255
  (if known)
                                                                                                                                      ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).

 2.    List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract           INTELLECTUAL PROPERTY                  3M
                or lease is for and the           AGREEMENT (I-03)                       3M CENTER
                nature of the debtor’s            SOFTWARE LICENSE AND SERVICES          ST. PAUL, MN 55144
                interest                          AGREEMENT

                State the term remaining          CURRENT

                List the contract number
                of any government
                contract
 2.2            State what the contract           LEASE AGREEMENT (L-01)                 7515 GREENVILLE PROPERTIES, LTD.
                or lease is for and the           OFFICE LEASE                           7515 GREENVILLE AVE
                nature of the debtor’s                                                   DALLAS, TX 75231
                interest
                State the term remaining          CURRENT

                List the contract number
                of any government
                contract
 2.3            State what the contract           LEASE AGREEMENT (L-02)                 7515 GREENVILLE PROPERTIES, LTD.
                or lease is for and the           MONTH TO MONTH RENTAL AGMT             7515 GREENVILLE AVE
                nature of the debtor’s                                                   DALLAS, TX 75231
                interest
                State the term remaining          CURRENT

                List the contract number
                of any government
                contract
 2.4            State what the contract           SERVICE AGREEMENTS (S-72)              ABBOTT LABORATORIES, INC.
                or lease is for and the           PROPOSAL AND REBATE AGREEMENT          100 ABBOTT PARK ROAD
                nature of the debtor’s
                interest
                                                                                         ABBOTT PARK, IL 60064
                State the term remaining          CURRENT

                List the contract number
                of any government
                contract
 2.5            State what the contract           SERVICE AGREEMENTS (S-133)             ABILITY NETWORK, INC.
                or lease is for and the           TERMINATION LETTER                     DEPT CH 16577
                nature of the debtor’s
                interest
                                                                                         PALATINE, IL 60055-6577
                State the term remaining          CURRENT

                List the contract number
                of any government
                contract

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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.6        State what the contract    TRANSFER AGREEMENT (T-06)              ACADIAN AMBULANCE SERVICE OF TEXAS, LLC
            or lease is for and the    MEDICAL TRANSPORTATION                 PO BOX 92970
            nature of the debtor’s     AGREEMENT DATED 4/30/2015
            interest
                                                                              LAFAYETTE, LA 70509-2970
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.7        State what the contract    INTELLECTUAL PROPERTY                  ACCESS EFORMS, LP
            or lease is for and the    AGREEMENT (I-05)                       PO BOX 733
            nature of the debtor’s     PROPOSAL AND LICENSE AGREEMENT
            interest
                                                                              SULPHUR SPRINGS, TX 75483
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.8        State what the contract    SERVICE AGREEMENTS (S-51)              ACCESS MEDIQUIP, LLC
            or lease is for and the    PROVIDER NETWORK AGREEMENT             255 PRIMERA BOULEVARD
            nature of the debtor’s     DATED 3/24/2014                        SUITE 230
            interest                                                          LAKE MARY, FL 32746

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.9        State what the contract    SERVICE AGREEMENTS (S-22)              ADT
            or lease is for and the    TERMS AND CONDITIONS                   PO BOX 371878
            nature of the debtor’s
            interest
                                                                              PITTSBURGH, PA 152507878
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.10       State what the contract    SERVICE AGREEMENTS (S-45)              ADVANTAGE VALET, INC.
            or lease is for and the    VALET SERVICES AGREEMENT               719 OLIVE STREET
            nature of the debtor’s                                            DALLAS, TX 75201
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.11       State what the contract    MANAGED CARE AGREEMENT (MC-3)          AETNA HEALTH INC. D/B/A AETNA BETTER HEALTH
            or lease is for and the    MEDICAID AND CHIP HOSPITAL             151 FARMINGTON AVENUE
            nature of the debtor’s     SERVICES AGREEMENT                     HARTFORD, CT 6156
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.12       State what the contract    MANAGED CARE AGREEMENT (MC-3)          AETNA
            or lease is for and the    HOSPITAL SERVICES AGREEMENT            151 FARMINGTON AVENUE
            nature of the debtor’s     DATED 8/15/2014                        HARTFORD, CT 6156
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.13       State what the contract    SERVICE AGREEMENTS (S-05)              AIR LIQUIDE HEALTHCARE AMERICA CORP
            or lease is for and the    BULK PRODUCT AGREEMENT                 9811 KATY FREEWAY
            nature of the debtor’s                                            SUITE 100
            interest                                                          HOUSTON, TX 77024

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.14       State what the contract    SERVICE AGREEMENTS (S-12)              AIRGAS PURITAN MEDICAL
            or lease is for and the    PRODUCT SALE AGREEMENT                 259 NORTH RADNOR-CHESTER ROAD
            nature of the debtor’s                                            RADNOR, PA 19087
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.15       State what the contract    SERVICE AGREEMENTS (S-18)              AIRGAS, INC.
            or lease is for and the    TERMS OF SALE                          PO BOX 676015
            nature of the debtor’s
            interest
                                                                              DALLAS, TX 75267-6015
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.16       State what the contract    MISCELLANEOUS AGREEMENT (M-1(A))       AIRWATCH, LLC
            or lease is for and the    MUTUAL NON-DISCLOSURE                  1155 PERIMETER CENTER WEST
            nature of the debtor’s     AGREEMENT                              STE 100
            interest
                                                                              ATLANTA, GA 30374
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.17       State what the contract    MISCELLANEOUS AGREEMENT (M-1(B))       AIRWATCH, LLC
            or lease is for and the    END USER LICENSE AGREEMENT             1155 PERIMETER CENTER WEST
            nature of the debtor’s                                            STE 100
            interest
                                                                              ATLANTA, GA 30374
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.18       State what the contract    MISCELLANEOUS AGREEMENT (M-1(C))       AIRWATCH, LLC
            or lease is for and the    QUOTE SAAS - 50 DEVICES                1155 PERIMETER CENTER WEST
            nature of the debtor’s                                            STE 100
            interest
                                                                              ATLANTA, GA 30374
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.19       State what the contract    MISCELLANEOUS AGREEMENT (M-1(D))       AIRWATCH, LLC
            or lease is for and the    GLOBAL EXPENSE POLICY                  1155 PERIMETER CENTER WEST
            nature of the debtor’s                                            STE 100
            interest
                                                                              ATLANTA, GA 30374
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.20       State what the contract    INTELLECTUAL PROPERTY                  ALERE INFORMATICS
            or lease is for and the    AGREEMENT (I-02)                       PO BOX 845849
            nature of the debtor’s     RALS SOFTWARE SYSTEM LICENSE
            interest                   AND SUPPORT MASTER AGREEMENT
                                                                              BOSTON, MA 02284-5849
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.21       State what the contract    SERVICE AGREEMENTS (S-126)             ALLIED MONITORING INNOVATIONS, LLC /DBA AMERICAN
            or lease is for and the    INTRAOPERATIVE                         MONITORING INNOVATIONS
            nature of the debtor’s     NEUROPHYSILOGICAL MONITORING           4849 GREENVILLE AVE
            interest                   SERVICES AGREEMENT -                   DALLAS, TX 75206-4130
                                       INDEPENDENT CONTRACTOR
                                       AGREEMENT DATED 9/30/2015
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.22       State what the contract    SERVICE AGREEMENTS (S-126)             ALLIED MONITORING INNOVATIONS, LLC /DBA AMERICAN
            or lease is for and the    BUSINESS ASSOCIATE AGREEMENT           MONITORING INNOVATIONS
            nature of the debtor’s     DATED 9/30/2015                        4849 GREENVILLE AVE
            interest                                                          DALLAS, TX 75206-4130

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.23       State what the contract    EQUIPMENT AGREEMENT (E-23)             ALLSCRIPTS
            or lease is for and the    MASTER CLIENT AGREEMENT                34630 NETWORK PLACE
            nature of the debtor’s
            interest
                                                                              CHICAGO, IL 60673
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.24       State what the contract    SERVICE AGREEMENTS (S-113)             ALTUS HOSPICE OF DALLAS
            or lease is for and the    PROVISION OF INPATIENT CARE            4560 BELTLINE ROAD, SUITE 404
            nature of the debtor’s     AGREEMENT                              ADDISON, TX 75001
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.25       State what the contract    SERVICE AGREEMENTS (S-06)              AMCOM SOFTWARE, INC.
            or lease is for and the    SOFTWARE AND MAINTENANCE               10400 YELLOW CIRCLE DRIVE
            nature of the debtor’s     SUPPORT AGREEMENT                      EDEN PRAIRIE, MN 55343
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.26       State what the contract    MISCELLANEOUS AGREEMENT (M-9)          AMERICAN COLLEGE OF CARDIOLOGY FOUNDATION
            or lease is for and the    NATIONAL CARDIOVASCULAR DATA           PO BOX 37095
            nature of the debtor’s     REGISTRY 2014 HOSPITAL MASTER
            interest                   AGREEEMENT
                                                                              BALTIMORE, MD 21297-3095
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.27       State what the contract    EQUIPMENT (E-07(B) )                   AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    AIA DOCUMENT A251-2007 DATED           2319 GIFFORD STREET
            nature of the debtor’s     10/25/2012                             CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.28       State what the contract    EQUIPMENT (E-07(C))                    AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    BID PROPOSAL - SMALLWARES DATED        2319 GIFFORD STREET
            nature of the debtor’s     10/25/2012                             CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.29       State what the contract    EQUIPMENT (E-07(D))                    AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    BID PROPOSAL DATED 10/25/2012          2319 GIFFORD STREET
            nature of the debtor’s                                            CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.30       State what the contract    EQUIPMENT (E-07(E))                    AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    CERTIFICATE OF LIABILITY INSURANCE     2319 GIFFORD STREET
            nature of the debtor’s     - EXHIBIT A DATED 10/25/2012           CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.31       State what the contract    EQUIPMENT (E-07(F))                    AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    WRITTEN SPECIFICATIONS DATED           2319 GIFFORD STREET
            nature of the debtor’s     10/25/2012                             CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.32       State what the contract    EQUIPMENT (E-07(G))                AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    PROOF OF DELIVERY DATED 10/26/2012 2319 GIFFORD STREET
            nature of the debtor’s                                        CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.33       State what the contract    EQUIPMENT AGREEMENT (E-07(A))          AMERICAN FOODSERVICE EQUIPMENT COMPANY, INC
            or lease is for and the    AIA DOCUMENT A151-2007 DATED           2319 GIFFORD STREET
            nature of the debtor’s     10/25/2012                             CHATTANOOGA, TN 37408
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.34       State what the contract    MANAGED CARE AGREEMENT (MC-5)          AMERICA'S CHOICE PROVIDER NETWORK, LLC D/B/A ACPN
            or lease is for and the    PARTICIPATING HOSPITAL AGREEMENT       2831 ST ROSE PARKWAY
            nature of the debtor’s                                            SUITE 200-309
            interest                                                          HENDERSON, NV 89074

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.35       State what the contract    EQUIPMENT AGREEMENT (E-16)             AMICO CORPORATION
            or lease is for and the    ARCHITECTURAL SUBMITTAL                85 FULTON WAY
            nature of the debtor’s     PACKAGE/PO NO. 128 DATED 5/23/2013
            interest
                                                                              RICHMOND, ON L4B2N4
            State the term remaining   CURRENT                                CANADA
            List the contract number
            of any government
            contract
 2.36       State what the contract    EQUIPMENT AGREEMENT (E-18)             APPLE, INC.
            or lease is for and the    DIRECT CUSTOMER AGREEMENT AND          1 INFINITE LOOP
            nature of the debtor’s     CREDIT APPLICATION                     CUPERTINO, CA 95014
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.37       State what the contract    SERVICE AGREEMENTS (S-124)             APPLIED STATISTICS & MANAGEMENT INC. (“ASM”)
            or lease is for and the    MASTER AGREEMENT                       32848 WOLF STORE ROAD
            nature of the debtor’s
            interest
                                                                              TEMECULA, CA 92592
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.38       State what the contract    SERVICE AGREEMENTS (S-124)             APPLIED STATISTICS & MANAGEMENT INC. (“ASM”)
            or lease is for and the    SUBSCRIPTION SERVICE ADDENDUM          32848 WOLF STORE ROAD
            nature of the debtor’s     TO MASTER AGREEMENT
            interest
                                                                              TEMECULA, CA 92592
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.39       State what the contract    SERVICE AGREEMENTS (S-44)              ARAMARK UNIFORM SERVICE
            or lease is for and the    TERMS AND CONDITIONS                   15372 COBALT STREET
            nature of the debtor’s                                            SYLMAR, CA 91342
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.40       State what the contract    MISCELLANEOUS AGREEMENT (M-2)          ASCENSUS, INC.
            or lease is for and the    401K PLAN DOCS                         200 DRYDEN ROAD
            nature of the debtor’s                                            DRESHER, PA 19025
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.41       State what the contract    SERVICE AGREEMENTS (S-15)              AT&T
            or lease is for and the    MASTER AGREEMENT DATED 5/24/2013       PO BOX 105414
            nature of the debtor’s
            interest
                                                                              ATLANTA, GA 30348-5414
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.42       State what the contract    SERVICE AGREEMENTS (S-15)              AT&T
            or lease is for and the    PRI SMARTTRUNK SERVICE DATED           PO BOX 105414
            nature of the debtor’s     5/24/2013
            interest
                                                                              ATLANTA, GA 30348-5414
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.43       State what the contract    SERVICE AGREEMENTS (S-15)              AT&T
            or lease is for and the    MIS PRICING SCHEDULE DATED             PO BOX 105414
            nature of the debtor’s     8/6/2013
            interest
                                                                              ATLANTA, GA 30348-5414
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.44       State what the contract    SERVICE AGREEMENTS (S-58)         ATLANTIC RELOCATION SYSTEMS
            or lease is for and the    ORDER FOR SERVICE AND COI'S DATED 1314 CHATTAHOOCHEE AVE. NW
            nature of the debtor’s     1/24/2014                         ATLANTA, GA 30318
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.45       State what the contract    SERVICE AGREEMENTS (S-94)              ATLAS MEDSTAFF
            or lease is for and the    AGREEMENT FOR CONTRACTOR               11840 NICHOLAS STREET
            nature of the debtor’s     SERVICES DATED 6/1/2014                STE 215
            interest
                                                                              OMAHA, NE 68154
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.46       State what the contract    SERVICE AGREEMENTS (S-29)              ATOMIC DESIGN & CONSULTING
            or lease is for and the    WEBSITE, SOCIAL & SEO PROPOSAL         8105 RASOR BOULEVARD
            nature of the debtor’s     AND AGREEMENT                          SUITE 202
            interest                                                          PLANO, TX 75024

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.47       State what the contract    SERVICE AGREEMENTS (S-68)              BAXTER HEALTHCARE CORPORATION
            or lease is for and the    VAPORIZER PLACEMENT AGREEMENT          PO BOX 730531
            nature of the debtor’s
            interest
                                                                              DALLAS, TX 75373-0531
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.48       State what the contract    SERVICE AGREEMENTS (S-68)              BAXTER HEALTHCARE CORPORATION
            or lease is for and the    DIRECT PURCHASE AGREEMENT              PO BOX 730531
            nature of the debtor’s
            interest
                                                                              DALLAS, TX 75373-0531
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.49       State what the contract    MISCELLANEOUS AGREEMENT (M-6)          BCEGZ-USA, INC.
            or lease is for and the    LUMP SUM CONTRACT DATED 6/8/2010       3030 LYNDON B JOHNSON FWY
            nature of the debtor’s                                            STE 700
            interest                                                          DALLAS, TX 75234-7763

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.50       State what the contract    SERVICE AGREEMENTS (S-138)             BEHAVIORAL HEALTH CONNECTIONS, INC.
            or lease is for and the    MOBILE ASSESSMENT SERVICES             1350 N BUCKNER
            nature of the debtor’s     AGREEMENT                              DALLAS, TX 75218
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.51       State what the contract    SERVICE AGREEMENTS (S-91)      BEST ACCOUNT RECEIVABLES MANAGEMENT SOLUTIONS,
            or lease is for and the    ACCOUNT RECEIVABLES MANAGEMENT LLC
            nature of the debtor’s     AGREEMENT                      12655 NORTH CNTL EXPRESSWAY #315
            interest                                                  DALLAS, TX 75243

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.52       State what the contract    SERVICE AGREEMENTS (S-128)             BIO-MEDICAL APPLICATIONS OF TEXAS, INC. D/B/A DALLAS
            or lease is for and the    IN-HOSPITAL DIALYSIS AND APHERESIS     ACUTE DIALYSIS SERVICES, WHICH IS AN AFFILIATE OF
            nature of the debtor’s     SERVICES AGREEMENT DATED               FRESENIUS MEDICAL CARE HOLDINGS, INC. D/B/A
            interest                   11/1/2015                              FRESENIUS MEDICAL CARE NORTH AMERICA
                                                                              1805 POINT WEST PKWY
            State the term remaining   CURRENT                                STE 200
                                                                              AMARILLO, TX 79124
            List the contract number
            of any government
            contract
 2.53       State what the contract    HOSPITAL AGREEMENT FOR HMO             BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    NETWORK PARTICIPATION (MC-1)           1001 E. LOOKOUT DRIVE
            nature of the debtor’s     DATED 6/7/2013                         RICHARDSON, TX 75082
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.54       State what the contract    HOSPITAL AGREEMENT FOR PPO/POS         BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    NETWORK PARTICIPATION (MC-1)           1001 E. LOOKOUT DRIVE
            nature of the debtor’s     DATED 3/24/2014                        RICHARDSON, TX 75082
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.55       State what the contract    MANAGED CARE AGREEMENT (MC-1)          BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    HOSPITAL AGREEMENT FOR                 1001 E. LOOKOUT DRIVE
            nature of the debtor’s     TRADITIONAL INDEMNITY BUSINESS         RICHARDSON, TX 75082
            interest                   DATED 5/15/2014

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.56       State what the contract    MANAGED CARE AGREEMENT (MC-1)          BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    INSTITUTION AGREEMENT - TRIWEST        1001 E. LOOKOUT DRIVE
            nature of the debtor’s     HEALTHCARE ALLIANCE CORP. DATED        RICHARDSON, TX 75082
            interest                   8/18/2014

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.57       State what the contract    MANAGED CARE AGREEMENT (MC-1)          BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    HOSPITAL AGREEMENT FOR BLUE            1001 E. LOOKOUT DRIVE
            nature of the debtor’s     ADVANTAGE HMO NETWORK                  RICHARDSON, TX 75082
            interest                   PARTICIPATION DATED 10/1/2014

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.58       State what the contract    PROFESSIONAL SERVICES           BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    AGREEMENT (PS-20)               1001 E. LOOKOUT DRIVE
            nature of the debtor’s     PARPLAN PROVIDER CONTRACT DATED RICHARDSON, TX 75082
            interest                   3/12/2012

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.59       State what the contract    PROVIDER ACCOUNT NUMBER                BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    INFORMATION FORM (MC-1)                1001 E. LOOKOUT DRIVE
            nature of the debtor’s      DATED 1/9/2013                        RICHARDSON, TX 75082
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.60       State what the contract    VA PCCC AMENDMENT TO INSTITUTION       BLUE CROSS AND BLUE SHIELD OF TX
            or lease is for and the    AGREEMENT (MC-1)                       1001 E. LOOKOUT DRIVE
            nature of the debtor’s     DATED 8/18/2014                        RICHARDSON, TX 75082
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.61       State what the contract    SERVICE AGREEMENTS (S-69)              BOSTON SCIENTIFIC CORPORATION
            or lease is for and the    CRM AGREEMENT                          PO BOX 951653
            nature of the debtor’s
            interest
                                                                              DALLAS, TX 75395-1653
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.62       State what the contract    SERVICE AGREEMENTS (S-83)              CANTRELL DRUG COMPANY
            or lease is for and the    PHARMACY COMPOUNDING                   7700 NORTHSHORE PLACE DRIVE
            nature of the debtor’s     AGREEMENT
            interest
                                                                              NORTH LITTLE ROCK, AR 72118
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.63       State what the contract    MISCELLANEOUS AGREEMENT (M-10)         CAPITAL ONE MERCHANT SERVICES CORPORATION
            or lease is for and the    MERCHANT SERVICES AGREEMENT            4445 WILLARD AVE
            nature of the debtor’s                                            6TH FL
            interest
                                                                              CHEVY CHASE, MD 20815
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.64       State what the contract    MISCELLANEOUS AGREEMENT (M-7)          CAPITAL ONE, N.A.
            or lease is for and the    BUSINESS ASSOCIATE AGREEMENT           4445 WILLARD AVE
            nature of the debtor’s                                            6TH FL
            interest
                                                                              CHEVY CHASE, MD 20815
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.65       State what the contract    MISCELLANEOUS AGREEMENT                CAPX FUND IV, LP
            or lease is for and the                                           155 N. WACKER DR.
            nature of the debtor’s                                            #1760
            interest                                                          CHICAGO, IL 60606

            State the term remaining

            List the contract number
            of any government
            contract
 2.66       State what the contract    SERVICE AGREEMENTS (S-69)              CARDIAC PACEMAKERS, INC. D/B/A BOSTON SCIENTIFIC CRM
            or lease is for and the    FACILITY AGREEMENT FOR HANDS-ON        4100 HAMLINE AVENUE NORTH
            nature of the debtor’s     PACEMAKER AND LV LEAD                  ST. PAUL, MN 55112-5798
            interest                   IMPLANTATION PROGRAMS DATED
                                       8/1/2014
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.67       State what the contract    SERVICE AGREEMENTS (S-75)              CARDINAL HEALTH
            or lease is for and the    PRIME VENDOR AGREEMENT                 7000 CARDINAL PLACE
            nature of the debtor’s
            interest
                                                                              DUBLIN, OH 43017
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.68       State what the contract    PROFESSIONAL SERVICES                  CARDIOLOGY AND INTERVENTIONAL VASCULAR
            or lease is for and the    AGREEMENT (PS-21)                      ASSOCIATES, PA
            nature of the debtor’s     EKG PROFESSIONAL SERVICES              7150 GREENVILLE AVE
            interest                   AGREEMENT                              SUITE 500
                                                                              DALLAS, TX 75231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.69       State what the contract    SERVICE AGREEMENTS (S-118)             CARDIOVASCULAR RESEARCH FOUNDATION
            or lease is for and the    REMOTE SITE PRODUCTION                 1700 BROADWAY
            nature of the debtor’s     AGREEMENT DATED 6/22/2015              9TH FLOOR
            interest                                                          NEW YORK, NY 10019

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.70       State what the contract    SERVICE AGREEMENTS (S-115)             CARDIOVASCULAR RESEARCH INSTITUTE OF DALLAS
            or lease is for and the    SERVICES AGREEMENT FOR                 7150 GREENVILLE AVE
            nature of the debtor’s     RESEARCH PROJECT DATED 5/1/2015        #650
            interest                                                          DALLAS, TX 75231

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.71       State what the contract    EQUIPMENT AGREEMENT (E-15)             CAREFUSION
            or lease is for and the    MASTER AGREEMENT                       25146 NETWORK PLACE
            nature of the debtor’s
            interest
                                                                              CHICAGO, IL 60673-1250
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.72       State what the contract     (M-13)                                CARESTREAM HEALTH INC.
            or lease is for and the                                           150 VERONA STREET
            nature of the debtor’s                                            ROCHESTER, NY 14608
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.73       State what the contract    SERVICE AGREEMENTS (S-50)              CARESTREAM HEALTH, INC.
            or lease is for and the    MEDICAL FILM AGREEMENT                 150 VERONA STREET
            nature of the debtor’s                                            ROCHESTER, NY 14608
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.74       State what the contract    SERVICE AGREEMENTS (S-39)              CARTER BLOODCARE
            or lease is for and the    BLOOD SERVICE AGREEMENT                PO BOX 916068
            nature of the debtor’s
            interest
                                                                              FORT WORTH, TX 76191
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.75       State what the contract    PROFESSIONAL SERVICES                  CASTLEROCK PERFUSION, LLC
            or lease is for and the    AGREEMENT (PS-19)                      906 W. MCDERMOTT DR
            nature of the debtor’s     PERFUSION SERVICE AGREEMENT            STE 116-173
            interest
                                                                              ALLEN, TX 75013
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.76       State what the contract    SERVICE AGREEMENTS (S-112)       CERNER HEALTH SERVICES, INC.
            or lease is for and the    AMENDMENT MOBILEMD HIE AND       C/O US BANK
            nature of the debtor’s     PATIENT PORTAL SERVICE AGREEMENT PO BOX 959167
            interest
                                                                              ST LOUIS, MO 63195-9167
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.77       State what the contract    PROFESSIONAL SERVICES                  CHOPRA & ASSOCIATES, P.A.
            or lease is for and the    AGREEMENT (PS-06)                      8307 KNIGHT RD
            nature of the debtor’s     RADIOLOGY DATED 3/13/2013              HOUSTON, TX 77054-3905
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.78       State what the contract    MANAGED CARE AGREEMENT (MC-2)          CIGNA HEALTHCARE OF TEXAS, INC.
            or lease is for and the    HOSPITAL SERVICES AGREEMENT            900 COTTAGE GROVE
            nature of the debtor’s                                            BLOOMFIELD, CT 6002
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.79       State what the contract    CONFIDENTIALITY AGREEMENT/SIGNED CIGNA/HDR CONSULTING, LLC (AGENT)
            or lease is for and the    REP QUESTIONNAIRE (MC-2)         6655 W SAHARA AVE
            nature of the debtor’s     DATED 4/26/2013                  STE C203
            interest                                                    LAS VEGAS, NV 89146

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.80       State what the contract    MISCELLANEOUS AGREEMENT (M-31)         CINDI CARTER
            or lease is for and the    SEPARATION AND GENERAL RELEASE         2406 ECHO CT
            nature of the debtor’s     AGREEMENT DATED 8/2/2016
            interest
                                                                              ROWLETT, TX 75088
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.81       State what the contract    SERVICE AGREEMENTS (S-70)              CLIFFORD POWER SYSTEMS, INC.
            or lease is for and the    PLANNED MAINTENANCE (PM)               PO BOX 875500
            nature of the debtor’s     AGREEMENT
            interest
                                                                              KANSAS CITY, MO 64187-5500
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.82       State what the contract    SERVICE AGREEMENTS (S-103)             COLUMBIA HOSPITAL AT MEDICAL CITY DALLAS SUBSIDIARY,
            or lease is for and the    CLINICAL LABORATORY SERVICES           L.P. D/B/A MEDICAL CITY DALLAS HOSPITAL
            nature of the debtor’s     AGREEMENT DATED 9/15/2014              7777 FOREST LN
            interest                                                          DALLAS, TX 75230

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.83       State what the contract    TRANSFER AGREEMENT (T-03)              COMPASS AMBULANCE SERVICES, LLC
            or lease is for and the    TRANSFER AGREEMENT                     5555 APOLLO DR
            nature of the debtor’s                                            DALLAS, TX 75237-4729
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.84       State what the contract    SERVICE AGREEMENTS (S-28)       COMPASS GROUP, CROTHALL HEALTHCARE, INC. AND
            or lease is for and the    MASTER SERVICE AGREEMENT - FOOD MORRISON MANAGEMENT SPECIALISTS, INC.
            nature of the debtor’s     AND HOUSEKEEPING SERVCIES DATED PO BOX 102289
            interest                   11/3/2013

            State the term remaining   CURRENT                                ATLANTA, GA 30368
            List the contract number
            of any government
            contract
 2.85       State what the contract    SERVICE AGREEMENTS (S-28)              COMPASS GROUP, CROTHALL HEALTHCARE, INC. AND
            or lease is for and the    AMENDMENT TO MASTER SERVICES           MORRISON MANAGEMENT SPECIALISTS, INC.
            nature of the debtor’s     AGREEMENT                              PO BOX 102289
            interest
            State the term remaining   CURRENT                                ATLANTA, GA 30368
            List the contract number
            of any government
            contract
 2.86       State what the contract    SERVICE AGREEMENTS (S-29)              COMPASS GROUP, CROTHALL HEALTHCARE, INC. AND
            or lease is for and the    VENDING OFFICE COFFEE SERVICE          MORRISON MANAGEMENT SPECIALISTS, INC.
            nature of the debtor’s     AMENDMENT                              PO BOX 102289
            interest
            State the term remaining   CURRENT                                ATLANTA, GA 30368
            List the contract number
            of any government
            contract
 2.87       State what the contract    SERVICE AGREEMENTS (S-23)              COMPREHENSIVE PHARMACY SERVICES
            or lease is for and the    PHARMACY SERVICES AGREEMENT            PO BOX 638316
            nature of the debtor’s     DATED 8/12/2013
            interest
                                                                              CINCINNATI, OH 45263-8316
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.88       State what the contract    SERVICE AGREEMENTS (S-67)              CORPORATE CLEANING SOLUTIONS, LLC
            or lease is for and the    HEALTHCARE FACILITY SERVICES           10445 MARKISON RD
            nature of the debtor’s     AGREEMENT
            interest
                                                                              DALLAS, TX 75038
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.89       State what the contract    EQUIPMENT AGREEMENT (E-24)             COVIDIEN SALES, LLC
            or lease is for and the    CO-OP PROGRAM AGREEMENT                PO BOX 932928
            nature of the debtor’s
            interest
                                                                              ATLANTA, GA 31193-2928
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.90       State what the contract    PROFESSIONAL SERVICES                  CREEKIDGE CAPITAL
            or lease is for and the    AGREEMENT (PS-9)                       7808 CREEKRIDGE CIRCLE
            nature of the debtor’s     CONFIDENTIALITY AGREEMENT              STE 250
            interest
                                                                              EDINA, MN 55439
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.91       State what the contract    SERVICE AGREEMENTS (S-108)             CURVO LABS, INC.
            or lease is for and the    MEMBERSHIP APPLICATION                 58 ADAMS AVENUE
            nature of the debtor’s     AGREEMENT                              EVANSVILLE, IN 47713
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.92       State what the contract    SERVICE AGREEMENTS (S-60)              DALE R GIBSON, INC.
            or lease is for and the    CONSULTING AGREEMENT                   6342 SUMMER LAKES LANE
            nature of the debtor’s
            interest
                                                                              PENSACOLA, FL 32504
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.93       State what the contract    MISCELLANEOUS AGREEMENT (M-25)         DALLAS COUNTY COMMUNITY COLLEGE DISTRICT ON
            or lease is for and the    CLINICAL AFFILIATION AGREEMENT         BEHALF OF EL CENTRO COLLEGE
            nature of the debtor’s     DATED 8/31/2015                        1601 S. LAMAR ST
            interest                                                          DALLAS, TX 75215

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.94       State what the contract    SERVICE AGREEMENTS (S-73)              DALLAS PARTY RENTALS, LLC
            or lease is for and the    RENTAL AGREEMENT                       13331 PRESTON ROAD
            nature of the debtor’s                                            STE 1064
            interest
                                                                              DALLAS, TX 75240
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.95       State what the contract    EQUIPMENT AGREEMENT (E-12)             DATA INNOVATIONS, LLC
            or lease is for and the    SALES QUOTE                            120 KIMBALL AVE
            nature of the debtor’s                                            STE 120
            interest
                                                                              SOUTH BURLINGTON, VT 5403
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.96       State what the contract    EQUIPMENT AGREEMENT (E-12)             DATA INNOVATIONS, LLC
            or lease is for and the    ON-SITE INSTALLATION AND               120 KIMBALL AVE
            nature of the debtor’s     INTERFACING DESCRIPTION OF             STE 120
            interest                   SERVICE
                                                                              SOUTH BURLINGTON, VT 5403
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.97       State what the contract    INTELLECTUAL PROPERTY                  DELL
            or lease is for and the    AGREEMENT (I-01)                       C/O DELL USA L.P.
            nature of the debtor’s     PURCHASE ORDER - MICROSOFT             PO BOX 534118
            interest                   SOFTWARE DATED 6/11/2013
                                                                              ATLANTA, GA 30353-4118
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.98       State what the contract    SERVICE AGREEMENTS (S-111)             DR. TONY DAS
            or lease is for and the    ADMINISTRATIVE SERVICES                4407 MIDDLETON ROAD
            nature of the debtor’s     AGREEMENT
            interest
                                                                              DALLAS, TX 75229
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.99       State what the contract    SERVICE AGREEMENTS (S-129)             DRAGONFLY FOUNDATION FOR RESEARCH & DEVELOPMENT
            or lease is for and the    NON-CIRCUMVENT NON-DISCLOSURE          9275 GOVERNORS WAY
            nature of the debtor’s     AGREEMENT                              CINNCINNATI, OH 45249
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.100      State what the contract    SERVICE AGREEMENTS (S-03)              EDI
            or lease is for and the    TECHNOLOGY CONSULTING SERVICES         31875 SOLON ROAD
            nature of the debtor’s     DATED 10/12/2012                       SOLON, OH 44139
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.101      State what the contract    EQUIPMENT AGREEMENT (E-21)             EDWARDS LIFESCIENCES
            or lease is for and the    OPEN ACCESS PLAN AGREEMENT             23146 NETWORK PLACE
            nature of the debtor’s
            interest
                                                                              CHICAGO, IL 60673-1231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.102      State what the contract    EQUIPMENT AGREEMENT (E-21)             EDWARDS LIFESCIENCES
            or lease is for and the    PRICING AGREEMENT                      23146 NETWORK PLACE
            nature of the debtor’s
            interest
                                                                              CHICAGO, IL 60673-1231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.103      State what the contract    EQUIPMENT AGREEMENT (E-21)            EDWARDS LIFESCIENCES
            or lease is for and the    PURCHASING AGREEMENT                  23146 NETWORK PLACE
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60673-1231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.104      State what the contract    EQUIPMENT AGREEMENT (E-26)            ENDOLOGIX INC.
            or lease is for and the    PRICING PROPOSAL FOR AFX              PO BOX 848291
            nature of the debtor’s     ENDOVASCULAR AAA SYSTEM
            interest                   PRODUCTS. DATED 5/16/2015
                                                                             DALLAS, TX 75284-8291
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.105      State what the contract    SERVICE AGREEMENTS (S-08)             EPIPHANY CARDIO
            or lease is for and the    CARDIOGRAPHY PRODUCTS QUOTE           3000 EAST BOUNDARY TERRACE
            nature of the debtor’s                                           SUITE 2
            interest                                                         MIDLOTHIAN, VA 23112

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.106      State what the contract    LEASE AGREEMENT (L-05)                ESCREEN, INC.
            or lease is for and the    CLINIC SERVICES AGREEMENT             PO BOX 654094
            nature of the debtor’s
            interest
                                                                             DALLAS, TX 75265-4094
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.107      State what the contract    SERVICE AGREEMENTS (S-132)            ESOLUTIONS, INC.
            or lease is for and the    SERVICES AGREEMENT                    2 NORTH MARKET STREET
            nature of the debtor’s                                           SUITE 400
            interest                                                         SAN JOSE, CA 95113

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.108      State what the contract    SERVICE AGREEMENTS (S-132)            ESOLUTIONS, INC.
            or lease is for and the    BUSINESS ASSOCIATE AGREEMENT          2 NORTH MARKET STREET
            nature of the debtor’s                                           SUITE 400
            interest                                                         SAN JOSE, CA 95113

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.109      State what the contract    SERVICE AGREEMENTS (S-81)             ETHICON US, LLC
            or lease is for and the    SINGLE SITE AGREEMENT                 ROUTE 22 WEST
            nature of the debtor’s                                           SOMERVILLE, NJ 08876
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.110      State what the contract    PROFESSIONAL SERVICES                 EXCEL ANESTHESIA, P.A. (AS SUCCESSOR BY ASSIGNMENT
            or lease is for and the    AGREEMENT (PS-03)                     TO ORYX SERVCIES, PLLC)
            nature of the debtor’s     CO-MANAGEMENT SERVICES                8220 WALNUT HILL LN
            interest                   AGREEMENT CONSENT                     SUITE 505
                                                                             DALLAS, TX 75231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.111      State what the contract    SERVICE AGREEMENTS (S-33)             EXCEL FIRE PROTECTION SYSTEMS, L.P.
            or lease is for and the    FIRE SUPPRESSION SYSTEM               309 HECTOR CONNOLY ROAD
            nature of the debtor’s     PROPOSAL                              CARENCRO, LA 70520
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.112      State what the contract    CONSTRUCTION AGREEMENT (C-03)         FAST-TRAK CONSTRUCTION, INC
            or lease is for and the    AIA DOCUMENT A107-2007                1150 EMPIRE CENTRAL PLACE
            nature of the debtor’s                                           STE 124
            interest
                                                                             DALLAS, TX 75247
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.113      State what the contract    TRANSFER AGREEMENT (T-04)             FIRST CHOICE ER
            or lease is for and the    TRANSFER AGREEMENT                    2941 LAKE VISTA DRIVE
            nature of the debtor’s                                           LEWISVILLE, TX 75067
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.114      State what the contract    SERVICE AGREEMENTS (S-117)            FIRST CHOICE ER, LLC D/B/A/ FIRST CHOICE EMERGENCY
            or lease is for and the    REFERENCE LABORATORY SERVICES         ROOM
            nature of the debtor’s     AGREEMENT                             2941 LAKE VISTA DRIVE
            interest                                                         LEWISVILLE, TX 75067

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.115      State what the contract    SERVICE AGREEMENTS (S-97)       FIRST SLEEP SERVICES
            or lease is for and the    CONSULTING & SERVICES AGREEMENT PO BOX 862
            nature of the debtor’s
            interest
                                                                             AUBREY, TX 76227-0862
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.116      State what the contract    PROFESSIONAL SERVICES                 FRANCHELL RICHARDS-HAMILTON, M.D.
            or lease is for and the    AGREEMENT (PS-25)                     306 E RANDOL MILL RD
            nature of the debtor’s     PHYSICIAN ON-CALL AGREEMENT           STE 136
            interest                   DATED 3/16/2015                       ARLINGTON, TX 76011

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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            (Name)


      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.117      State what the contract    EQUIPMENT AGREEMENT (E-20)            FRESHLOC TECHNOLOGIES, INC.
            or lease is for and the    LAB MONITORING AGREEMENT              3939 BELT LINE ROAD
            nature of the debtor’s                                           STE 400
            interest
                                                                             ADDISON, TX 75001
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.118      State what the contract    MISCELLANEOUS AGREEMENT (M-3)         FRONTIER TRUST COMPANY
            or lease is for and the    TRUST AGREEMENT                       1655 43RD ST SOUTH
            nature of the debtor’s                                           STE 100
            interest                                                         FARGO, ND 58103

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.119      State what the contract    SERVICE AGREEMENTS (S-09)             FUJIFILM MEDICAL SYSTEMS USA
            or lease is for and the    END USER PURCHASE LICENSE AND         PO BOX 347689
            nature of the debtor’s     SERVICES AGREEMENT
            interest
                                                                             PITTSBURGH, PA 15251-4689
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.120      State what the contract    SERVICE AGREEMENTS (S-09)             FUJIFILM MEDICAL SYSTEMS USA
            or lease is for and the    ENTERPRISE PROPOSAL                   PO BOX 347689
            nature of the debtor’s
            interest
                                                                             PITTSBURGH, PA 15251-4689
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.121      State what the contract    SERVICE AGREEMENTS (S-106)            G4S SECURE SOLUTIONS (USA) INC.
            or lease is for and the    SECURITY SERVICES AGREEMENT           1395 UNIVERSITY BLVD
            nature of the debtor’s     DATED 2/11/2015                       JUPITER, FL 33458
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.122      State what the contract    SERVICE AGREEMENTS (S-106)            G4S SECURE SOLUTIONS (USA) INC.
            or lease is for and the    DISASTER SERVICES SECURITY            1395 UNIVERSITY BLVD
            nature of the debtor’s     RESPONSE AGREEMENT DATED              JUPITER, FL 33458
            interest                   2/12/2015

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.123      State what the contract    EQUIPMENT AGREEMENT (E-01)            GE HEALTHCARE FINANCIAL SERVICES
            or lease is for and the    FINANCED PURCHASE OF EQUIPMENT        500 W MONROE ST
            nature of the debtor’s                                           CHICAGO, IL 60661
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired lease

 2.124      State what the contract    EQUIPMENT AGREEMENT (E-01)           GE HEALTHCARE
            or lease is for and the    PURCHASE ORDER: WH 129 DATED         PO BOX 96483
            nature of the debtor’s     5/28/2013
            interest
                                                                            CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.125      State what the contract    PROFESSIONAL SERVICES                GLEN BLASCHKE'S ED
            or lease is for and the    AGREEMENT (PS-04)
            nature of the debtor’s     EMERGENCY DEPARTMENT
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.126      State what the contract    CONSTRUCTION AGREEMENT (C-02)        GO STUDIO, LP
            or lease is for and the    SCOPE OF DESIGN SERVICES OUTLINE
            nature of the debtor’s
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.127      State what the contract    PROFESSIONAL SERVICES          GREATER HOUSTON EMERGENCY PHYSICIANS, PLLC
            or lease is for and the    AGREEMENT (PS-12)              211 HIGHLAND CROSS STREET
            nature of the debtor’s     EMERGENCY DEPARTMENT PSA DATED STE 275
            interest                   8/30/2013
                                                                      HOUSTON, TX 77073
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.128      State what the contract    PROFESSIONAL SERVICES          GREATER HOUSTON EMERGENCY PHYSICIANS, PLLC
            or lease is for and the    AGREEMENT (PS-12)              211 HIGHLAND CROSS STREET
            nature of the debtor’s     EMERGENCY DEPARTMENT PSA DATED STE 275
            interest                   10/30/2015
                                                                      HOUSTON, TX 77073
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.129      State what the contract    PROFESSIONAL SERVICES                GROUP TBD
            or lease is for and the    AGREEMENT (PS-07)
            nature of the debtor’s     PATHOLOGY
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.130      State what the contract    PROFESSIONAL SERVICES                GROUP TBD
            or lease is for and the    AGREEMENT (PS-15)
            nature of the debtor’s     PT PSA
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.131      State what the contract    SERVICE AGREEMENTS (S-54)             GROUPONE SERVICES
            or lease is for and the    COMPLIANCE PACKAGE                    250 DECKER DRIVE
            nature of the debtor’s
            interest
                                                                             IRVING, TX 75062-2706
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.132      State what the contract    EQUIPMENT AGREEMENT (E-13)            HAEMONETICS CORPORATION
            or lease is for and the    SOFTWARE LICENSE & SUPPORT            24849 NETWORK PLACE
            nature of the debtor’s     SERVICES AGREEMENT
            interest
                                                                             CHICAGO, IL 606731248
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.133      State what the contract    INTELLECTUAL PROPERTY                 HEALTH QLIX INCORPORATED
            or lease is for and the    AGREEMENT (I-08)                      4830 W KENNEDY BLVD
            nature of the debtor’s     MASTER SOFTWARE LICENSE AND           SUITE 650
            interest                   SERVICES AGREEMENT                    TAMPA, FL 33609

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.134      State what the contract    MANAGED CARE AGREEMENT (MC-4)         HEALTH VALUE MANAGEMENT, INC. D/B/A CHOICECARE
            or lease is for and the    AMENDMENT TO HOSPITAL                 NETWORK
            nature of the debtor’s     PARTICIPATION AGREEMENT               PO BOX 19013
            interest                                                         GREEN BAY, WI 54307

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.135      State what the contract    SERVICE AGREEMENTS (S-89)             HEALTHCARE CONNECTIONS, INC.
            or lease is for and the    PROVIDER SERVICE AGREEMENT            2770 N. UNIVERSITY DRIVE
            nature of the debtor’s                                           STE 2770
            interest
                                                                             CORAL SPRINGS, FL 33065
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.136      State what the contract    SERVICE AGREEMENTS (S-01)             HEALTHCARE DEVELOPMENT RESOURCES, LLC
            or lease is for and the    INDEPENDENT CONTRACTOR                1817 WATERSTONE CT
            nature of the debtor’s     AGREEMENT DATED 4/3/2012
            interest
                                                                             FRANKLIN, TN 37069
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.137      State what the contract    SERVICE AGREEMENTS (S-01)             HEALTHCARE DEVELOPMENT RESOURCES, LLC
            or lease is for and the    NON-DISCLOSURE AGREEMENT DATED        1817 WATERSTONE CT
            nature of the debtor’s     11/29/2012
            interest
                                                                             FRANKLIN, TN 37069
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.138      State what the contract    EQUIPMENT AGREEMENT (E-17)            HEALTHCARESOURCE
            or lease is for and the    PROPOSAL - POSITION MANAGER           PO BOX 783577
            nature of the debtor’s     APPLICANT TRACKING SYSTEM
            interest
                                                                             PHILADELPHIA, PA 19178-3577
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.139      State what the contract    SERVICE AGREEMENTS (S-61)             HEALTHPORT TECHNOLOGIES, LLC
            or lease is for and the    AGREEMENT FOR SERVICES                PO BOX 409669
            nature of the debtor’s
            interest
                                                                             ATLANTA, GA 30384-9669
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.140      State what the contract    SERVICE AGREEMENTS (S-61)             HEALTHPORT TECHNOLOGIES, LLC
            or lease is for and the    TERMINATION LETTER                    PO BOX 409669
            nature of the debtor’s
            interest
                                                                             ATLANTA, GA 30384-9669
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.141      State what the contract    SERVICE AGREEMENTS (S-59)             HEALTHSTREAM, INC.
            or lease is for and the    MASTER SERVICES AGREEMENT             PO BOX 102817
            nature of the debtor’s
            interest
                                                                             ATLANTA, GA 30368-2817
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.142      State what the contract    SERVICE AGREEMENTS (S-114)            HEATHER NYDICK
            or lease is for and the    INDEPENDENT CONTRACTOR
            nature of the debtor’s     AGREEMENT DATED 4/19/2015
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.143      State what the contract    TRANSFER AGREEMENT (T-02)             HIGHLAND PARK EMERGENCY CENTER LLC DBA NORTHPARK
            or lease is for and the    PATIENT TRANSFER AGREEMENT            EMERGENCY ROOM
            nature of the debtor’s     DATED 7/1/2014                        5150 LEMMON AVE
            interest                                                         #108
                                                                             DALLAS, TX 75209
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.144      State what the contract    SERVICE AGREEMENTS (S-71)             HME WIRELESS
            or lease is for and the    QUOTATION                             1400 NORTHBROOK PARKWAY
            nature of the debtor’s                                           SUITE 320
            interest
                                                                             SUWANEE, GA 30024
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.145      State what the contract    PROFESSIONAL SERVICES                 HOWARD MINTZ, JULYE CAREW, VICTOR GOMEZ, MICHAEL
            or lease is for and the    AGREEMENT (PS-16)                     MOTTA, AND JULIETTE WAIT
            nature of the debtor’s     CRITICAL CARE AND PULMONARY
            interest                   COVERAGE AGREEMENT

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.146      State what the contract    PROFESSIONAL SERVICES                 HSC MARKETING
            or lease is for and the    AGREEMENTS (S-36)                     1825 MARKET CENTER BLVD
            nature of the debtor’s     RECRUITING AGREEMENT                  STE 388
            interest
                                                                             DALLAS, TX 75207
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.147      State what the contract    PROFESSIONAL SERVICES                 HSC MARKETING
            or lease is for and the    AGREEMENTS (S-36)                     1825 MARKET CENTER BLVD
            nature of the debtor’s     CONSULTING AGREEMENT                  STE 388
            interest
                                                                             DALLAS, TX 75207
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.148      State what the contract    MANAGED CARE AGREEMENT (MC-4)         HUMANA/CHOICECARE NETWORK
            or lease is for and the    HOSPITAL PARTICIPATION AGREEMENT      500 WEST MAIN ST
            nature of the debtor’s     DATED 9/22/2014                       LOUISVILLE, KY 40202
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.149      State what the contract    SERVICE AGREEMENTS (S-141)            HUNT MEMORIAL HOSPITAL DISTRICT
            or lease is for and the    AGREEMENT FOR SECONDARY               4215 JOE RAMSEY BLVD
            nature of the debtor’s     INSTITUTION FOR PODIATRY              GREENVILLE, TX 75401
            interest                   RESIDENCY PROGRAM DATED
                                       10/19/2016
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.150      State what the contract    SERVICE AGREEMENTS (S-119)            IMPLANTABLEPROVIDER GROUP, INC.
            or lease is for and the    VENDOR AGREEMENT WITH VENDOR          11605 HAYNES BRIDGE RD
            nature of the debtor’s     CONTRACTED FACILITY DATED             STE 200
            interest                   5/13/2015                             ALPHARETTA, GA 30009

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.151      State what the contract    SERVICE AGREEMENTS (S-02)             INMAN FOODSERVICES GROUP
            or lease is for and the    HOURLY SERVICE AGREEMENT              1330 CORAL WAY
            nature of the debtor’s                                           STE 310
            interest                                                         MIAMI, FL 33145

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.152      State what the contract    SERVICE AGREEMENTS (S-139)            INTERNATIONAL TUTORING SERVICES, INC. D/B/A HOSPICE
            or lease is for and the    HOSPITAL INPATIENT CARE SERVICES      PLUS
            nature of the debtor’s     AGREEMENT DATED 6/2/2016              3100 MCKINNON ST
            interest                                                         #200
                                                                             DALLAS, TX 75201
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.153      State what the contract    SERVICE AGREEMENTS (S-40)             IRON MOUNTAIN
            or lease is for and the    SECURE SHREDDING SERVICES             1 FEDERAL STREET
            nature of the debtor’s     AGREEMENT                             BOSTON, MA 02110
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.154      State what the contract    SERVICE AGREEMENTS (S-131)            J. A. THOMAS & ASSOCIATES
            or lease is for and the    JATA / NUANCE SOW AND SERVICES        3715 NORTHSIDE PKWY SW
            nature of the debtor’s     AGREEMENT              COMPLIANT      #100
            interest                   DOCUMENTATION MANAGEMENT              ATLANTA, GA 30327
                                       PROGRAM® IMPLEMENTATION
                                       CDMP® GUIDE
                                       CDMP® CONTINUING EDUCATION
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.155      State what the contract    MISCELLANEOUS AGREEMENT (M-18)        JARED KAWALSKY
            or lease is for and the    SEPARATION AGREEMENT AND              6116 OAKCREST RD
            nature of the debtor’s     RELEASE DATED 8/11/2014
            interest
                                                                             DALLAS, TX 75248
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.156      State what the contract    PROFESSIONAL SERVICES                 JAROD KOWALSKI
            or lease is for and the    AGREEMENT (PS-17)
            nature of the debtor’s     OFFER LETTER
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.157      State what the contract    TRANSFER AGREEMENT (T-07)             JCSD EMERGENCY GROUP INC, D/B/A MEDICONE MEDICAL
            or lease is for and the    HOSPITAL MEDICAL TRANSPORATION        RESPONSE
            nature of the debtor’s     SERVICE AGREEMENT                     14286 GILLIS RD
            interest                                                         FARMERS BRANCH, TX 75244-3722

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.158      State what the contract    SERVICE AGREEMENTS (S-20)             JOHNSON EQUIPMENT COMPANY
            or lease is for and the    PURCHASE ORDER - WH 133 DATED         4674 OLIN DRIVE
            nature of the debtor’s     6/24/2013                             DALLAS, TX 75244-4615
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.159      State what the contract    SERVICE AGREEMENTS (S-77)             KADERKA VENTURES, LLC D/B/A KADERKA CONSULTING
            or lease is for and the    MEDICAL RECORD CODING SERVICES        2198 GREENWOOD DR
            nature of the debtor’s     AGREEMENT
            interest
                                                                             FRISCO, TX 75034
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.160      State what the contract    SERVICE AGREEMENTS (S-105)            KEITH ATCHISON
            or lease is for and the    CONSULTING AGREEMENT                  3627 AMELIA ISLAND LANE
            nature of the debtor’s
            interest
                                                                             DAVIE, FL 33328
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.161      State what the contract    SERVICE AGREEMENTS (S-105)            KEITH ATCHISON
            or lease is for and the    BUSINESS ASSOCIATE AGREEMENT          3627 AMELIA ISLAND LANE
            nature of the debtor’s
            interest
                                                                             DAVIE, FL 33328
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.162      State what the contract    SERVICE AGREEMENTS (S-92)             KINDRED HOSPITAL DALLAS CENTRAL
            or lease is for and the    HOSPITAL SERVICES, OUT-PATIENT        8050 MEADOW RD
            nature of the debtor’s     SURGERY AND DIAGNOSTIC SERVICES       DALLAS, TX 75231
            interest                   AGREEMENT DATED 8/1/2014

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.163      State what the contract    SERVICE AGREEMENTS (S-92)             KINDRED HOSPITAL DALLAS CENTRAL
            or lease is for and the    REFERENCE LABORATORY SERVICES         8050 MEADOW RD
            nature of the debtor’s     AGREEMENT                             DALLAS, TX 75231
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.164      State what the contract    SERVICE AGREEMENTS (S-25)             KRONOS INC.
            or lease is for and the    SOFTWARE LICENSE AND SERVICES         PO BOX 743208
            nature of the debtor’s     AGREEMENT
            interest
                                                                             ATLANTA, GA 30374-3208
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired lease

 2.165      State what the contract    SERVICE AGREEMENTS (S-13)            LANTANA COMMUNICATIONS
            or lease is for and the    MASTER TERMS AND CONDITIONS          1700 TECH CENTER PARKWAY
            nature of the debtor’s                                          STE 100
            interest
                                                                            ARLINGTON, TX 76014
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.166      State what the contract    PROFESSIONAL SERVICES           LAYTON LANG
            or lease is for and the    AGREEMENT (PS-14)
            nature of the debtor’s     PHYSICIAN RECRUITMENT AGREEMENT
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.167      State what the contract    LEASE AGREEMENT (L-06)               LEASING ASSOCIATES OF BARRINGTON, INC.
            or lease is for and the    BD ACTUISITION AGREEMENT AND LA      220 N RIVER ST
            nature of the debtor’s     BARRINGTON LEASE AGREEMENT           EAST DUNDEE, IL 60118
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.168      State what the contract    CONSTRUCTION AGREEMENT (C-06)        LINBECK GROUP, LLC
            or lease is for and the    CONSENSUSDOCS 205 STANDARD           3900 ESSEX LANE
            nature of the debtor’s     SHORT FORM AGREEMENT BETWEEN         SUITE 1200
            interest                   OWNER AND CONSTRUCTOR                HOUSTON, TX 77027

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.169      State what the contract    CONSTRUCTION AGREEMENT (C-06)        LINBECK GROUP, LLC
            or lease is for and the    CONSTRUCTION COMPLETION              3900 ESSEX LANE
            nature of the debtor’s     ESCROW AGREEMENT                     SUITE 1200
            interest                                                        HOUSTON, TX 77027

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.170      State what the contract    TRANSFER AGREEMENT (T-08)            LONESTAR AMBULANCE 1, LLC, DBA ALLEGIANCE
            or lease is for and the    PATIENT TRANSFER AGREEMENT           AMBULANCE
            nature of the debtor’s     DATED 8/27/2015                      3201 SOUTH AUSTIN AVE
            interest                                                        STE 335
                                                                            GEORGETOWN, TX 78626
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.171      State what the contract    TRANSFER AGREEMENT (T-08)            LONESTAR AMBULANCE 1, LLC, DBA ALLEGIANCE
            or lease is for and the    MEDICAL TRANSPORTATION               AMBULANCE
            nature of the debtor’s     MEMORANDUM OF UNDERSTANDING          3201 SOUTH AUSTIN AVE
            interest                                                        STE 335
                                                                            GEORGETOWN, TX 78626
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.172      State what the contract    EQUIPMENT AGREEMENT (E-05)            LONESTAR COMMUNICATIONS, INC.
            or lease is for and the    RAULAND-BORG NURSE CALL               1414 POST & PADDOCK ST
            nature of the debtor’s     COMMUNICATIONS SYSTEMS                #200
            interest                   RESPONDER 5                           GRAND PRAIRIE, TX 75050

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.173      State what the contract    INTELLECTUAL PROPERTY            LPIT SOLUTIONS, INC.
            or lease is for and the    AGREEMENT (I-06)                 25 COMMERCE SW
            nature of the debtor’s     APLLICATION HOSTING AND SOFTWARE STE 200
            interest                   LICENSE AGREEMENT
                                                                        GRAND RAPIDS, MI 49503
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.174      State what the contract    MISCELLANEOUS AGREEMENT (M-21)        LYLE ROUNTREE
            or lease is for and the    SEPARATION AGREEMENT AND
            nature of the debtor’s     RELEASE
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.175      State what the contract    SERVICE AGREEMENTS (S-84)             MAQUET CARDIOVASCULAR US SALES INC DBA ATRIUM
            or lease is for and the    CONIGNMENT AGREEMENT                  MEDICAL CORPORATION
            nature of the debtor’s                                           5 WENTWORTH DR
            interest                                                         HUDSON, NH 03051

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.176      State what the contract    SERVICE AGREEMENTS (S-88)             MAQUET MEDICAL SYSTEMS USA
            or lease is for and the    PRODUCT PRICING AGREEMENT             3615 SOLUTIONS CENTER
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60677-3006
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.177      State what the contract    SERVICE AGREEMENTS (S-21)             MAREK BROTHERS SYSTEMS, INC.
            or lease is for and the    A101- 2007 - STANDARD AGREEMENT       1233 LAKESHORE DR
            nature of the debtor’s     BETWEEN OWNER AND CONTRACTOR.
            interest
                                                                             COPPELL, TX 75019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.178      State what the contract    MISCELLANEOUS AGREEMENT (M-22)        MARION JOHNSON
            or lease is for and the    SEPARATION AND GENERAL RELEASE
            nature of the debtor’s     AGREEMENT
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.179      State what the contract    MISCELLANEOUS AGREEMENT (M-26)        MATT ADAMS
            or lease is for and the    SEPARATION, SEVERANCE, AND            6205 SHOAL CREEK TRAIL
            nature of the debtor’s     GENERAL RELEASE AGREEMENT
            interest                   DATED 7/30/2015
                                                                             GARLAND, TX 75044
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.180      State what the contract    INTELLECTUAL PROPERTY                 MCKESSON HEALTH SOLUTIONS
            or lease is for and the    AGREEMENT (I-07)                      22423 NETWORK PLACE
            nature of the debtor’s     MASTER AGREEMENT
            interest
                                                                             CHICAGO, IL 60673-1219
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.181      State what the contract    SERVICE AGREEMENTS (S-52)             MD BUYLINE, INC.
            or lease is for and the    MEMBERSHIP AGREEMENT                  5910 N. CENTRAL EXPY
            nature of the debtor’s                                           SUITE 1800
            interest
                                                                             DALLAS, TX 75206
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.182      State what the contract    SERVICE AGREEMENTS (S-38)             MED IT ASSOCIATES, LLC
            or lease is for and the    DICTATION SYSTEM AGREEMENT            846 POSSOM TROT HOLLOW RD
            nature of the debtor’s     PROPOSAL DATED 10/2/2013
            interest
                                                                             WHITEWRIGHT, TX 75491
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.183      State what the contract    SERVICE AGREEMENTS (S-38)         MED IT ASSOCIATES, LLC
            or lease is for and the    SERVICE AGREEMENT - FUJI PACS, CV 846 POSSOM TROT HOLLOW RD
            nature of the debtor’s     PACS, RIS AND NUANCE POWERSCRIBE
            interest                   360 REPORTING SYSTEM
                                                                         WHITEWRIGHT, TX 75491
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.184      State what the contract    SERVICE AGREEMENTS (S-62)     MEDASSETS PERFORMANCE MANAGEMENT SOLUTIONS,
            or lease is for and the    WORKFORCE MANAGEMENT SERVICES INC.
            nature of the debtor’s                                   PO BOX 405652
            interest
            State the term remaining   CURRENT                               ATLANTA, GA 30384-5652
            List the contract number
            of any government
            contract
 2.185      State what the contract    SERVICE AGREEMENTS (S-32)             MEDASSETS
            or lease is for and the    MASTER AGREEMENT                      PO BOX 405652
            nature of the debtor’s
            interest
                                                                             ATLANTA, GA 30384-5652
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.186      State what the contract    SERVICE AGREEMENTS (S-102C)           MEDASSETS/ORTHO-CLINICAL DIAGNOSTIC INC.
            or lease is for and the    EXHIBIT K-1 - BLOOD BANK LOC          5972 COLLECTIONS CENTER DRI
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.187      State what the contract    TRANSFER AGREEMENT (T-01)             MEDICAL CITY DALLAS
            or lease is for and the    PATIENT TRANSFER AGREEMENT            7777 FOREST LN
            nature of the debtor’s                                           DALLAS, TX 75230
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.188      State what the contract    EQUIPMENT AGREEMENT (E-09)            MEDICAL SOURCE SYSTEMS
            or lease is for and the    MINDRAY PURCHASE ORDER CENTRAL        7103 BAKERS BRIDGE RD
            nature of the debtor’s     MONITOR AND ANES MACHINES - WH        STE 105
            interest                   101 DATED 12/28/2012
                                                                             BRENTWOOD, TN 37027
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.189      State what the contract    EQUIPMENT AGREEMENT (E-09)        MEDICAL SOURCE SYSTEMS
            or lease is for and the    MINDRAY PURCHASE ORDER            7103 BAKERS BRIDGE RD
            nature of the debtor’s     REDESIGN CENTRAL MONITOR - WH 114 STE 105
            interest                   DATED 5/7/2013
                                                                         BRENTWOOD, TN 37027
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.190      State what the contract    SERVICE AGREEMENTS (S-30)             MEDLINE INDUSTRIES HOLDINGS, L.P.
            or lease is for and the    CORPORATE PROGRAM AGREEMENT           DEPT 1080
            nature of the debtor’s                                           PO BOX 121080
            interest
                                                                             DALLAS, TX 75312-1080
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.191      State what the contract    SERVICE AGREEMENTS (S-135)            MEDOLOGY 360
            or lease is for and the    SOW                                   4145 BELTLINE RD
            nature of the debtor’s                                           STE 212-380
            interest                                                         ADDISON, TX 75001

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.192      State what the contract    EQUIPMENT AGREEMENT (E-25)            MEDTRONIC USA, INC.
            or lease is for and the    WRAP-IT REBATE PROGRAM EXHIBIT        PO BOX 409201
            nature of the debtor’s     DATED 10/16/2014
            interest
                                                                             ATLANTA, GA 30384-9201
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.193      State what the contract    EQUIPMENT AGREEMENT (E-25)            MEDTRONIC USA, INC.
            or lease is for and the    PRODUCT SALE AGREEMENT DATED          PO BOX 409201
            nature of the debtor’s     10/16/2014
            interest
                                                                             ATLANTA, GA 30384-9201
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.194      State what the contract    EQUIPMENT AGREEMENT (E-25)            MEDTRONIC USA, INC.
            or lease is for and the    PRODUCT SALE AGREEMENT DATED          PO BOX 409201
            nature of the debtor’s     8/17/2015
            interest
                                                                             ATLANTA, GA 30384-9201
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.195      State what the contract    EQUIPMENT AGREEMENT (E-02)            MEMDATA LLC
            or lease is for and the    PROPOSAL                              1601 SEBESTA
            nature of the debtor’s                                           COLLEGE STATION, TX 77845
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.196      State what the contract    EQUIPMENT AGREEMENT (E-02)            MEMDATA LLC
            or lease is for and the    PERFORMER ELITE AGREEMENT             1601 SEBESTA
            nature of the debtor’s                                           COLLEGE STATION, TX 77845
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.197      State what the contract    SERVICE AGREEMENTS (S-107)            MERIDIAN INSTITUTE OF SURGICAL ASSISTING, INC.
            or lease is for and the    AFFILIATION AGREEMENT                 1507 COUNTY HOSPITAL RD
            nature of the debtor’s                                           NASHVILLE, TN 37218
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.198      State what the contract    SERVICE AGREEMENTS (S-134)            METHODIST DALLAS MEDICAL CENTER
            or lease is for and the    PROGRAM LETTER – OB/GYN               1441 N BECKLEY AVE
            nature of the debtor’s     RESIDENCY PROGRAM DATED 4/1/2016      DALLAS, TX 75203
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.199      State what the contract    HUMAN RESOURCES AGREEMENT             MICHAEL CADORET
            or lease is for and the    (HR-02)                               404 RIVER BANK LANE
            nature of the debtor’s     EMPLOYEE OFFER LETTER
            interest
                                                                             GRANBURY, TX 76049
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.200      State what the contract    SERVICE AGREEMENTS (S-87)             MIDASPLUS, INC.
            or lease is for and the    MASTER AGREEMENT                      AFFILIATED COMPUTER SERVICE
            nature of the debtor’s                                           P.O. BOX 201322
            interest
                                                                             TUCSON, AZ 85711
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.201      State what the contract    LEASE AGREEMENT (L-09A)               MILLER MEDICAL BUILDINGS, LLC
            or lease is for and the    NON-BINDING LETTER OF INTENT AT       970 VILLAGE GREEN DR
            nature of the debtor’s     WALNUT HILL MEDICAL PHYSICIANS        APT 227
            interest                   PLAZA LLC/TENANT: WALNUT HILL         ALLEN, TX 75013-3748
                                       MEDICAL CENTER SURGERY CENTER
                                       DATED 1/1/2016
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.202      State what the contract    LEASE AGREEMENT (L-09B)               MILLER MEDICAL BUILDINGS, LLC
            or lease is for and the    NON-BINDING LETTER OF INTENT AT       970 VILLAGE GREEN DR
            nature of the debtor’s     WALNUT HILL MEDICAL PHYSICIANS        APT 227
            interest                   PLAZA LLC/TENANT: WALNUT HILL         ALLEN, TX 75013-3748
                                       MEDICAL CENTER HOSPITAL
                                       ADMINISTRATION DATED 1/1/2016
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.203      State what the contract    LEASE AGREEMENT (L-09C)               MILLER MEDICAL BUILDINGS, LLC
            or lease is for and the    NON-BINDING LETTER OF INTENT AT       970 VILLAGE GREEN DR
            nature of the debtor’s     WALNUT HILL MEDICAL PHYSICIANS        APT 227
            interest                   PLAZA LLC/TENANT: WALNUT HILL         ALLEN, TX 75013-3748
                                       MEDICAL CENTER SURGERY CENTER
                                       DATED 1/1/2016
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.204      State what the contract    LEASE AGREEMENT (L-09D)               MILLER MEDICAL BUILDINGS, LLC
            or lease is for and the    NON-BINDING LETTER OF INTENT AT       970 VILLAGE GREEN DR
            nature of the debtor’s     WALNUT HILL MEDICAL PHYSICIANS        APT 227
            interest                   PLAZA LLC/TENANT: WALNUT HILL         ALLEN, TX 75013-3748
                                       MEDICAL CENTER IMAGING CENTER
                                       DATED 1/1/2016
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.205      State what the contract    LEASE AGREEMENT (L-09E)               MILLER MEDICAL BUILDINGS, LLC
            or lease is for and the    NON-BINDING LETTER OF INTENT AT       970 VILLAGE GREEN DR
            nature of the debtor’s     WALNUT HILL MEDICAL PHYSICIANS        APT 227
            interest                   PLAZA LLC/TENANT: WALNUT HILL         ALLEN, TX 75013-3748
                                       MEDICAL CENTER OUT PATIENT
                                       CENTER DATED 1/1/2016
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract



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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.206      State what the contract    SERVICE AGREEMENTS (S-85)             MOBILE DIAGNOSTIC SYSTEMS, INC. D/B/A DIAGNOSTIC
            or lease is for and the    ULTRASOUND SERVICES AGREEMENT         HEALTH SERVICES
            nature of the debtor’s                                           PO BOX 972288
            interest
            State the term remaining   CURRENT                               DALLAS, TX 75397-2288
            List the contract number
            of any government
            contract
 2.207      State what the contract    SERVICE AGREEMENTS (S-90)             MOBILE SURGICAL TECHNOLOGIES, INC.
            or lease is for and the    LASER SERVICES AGREEMENT              17817 DAVENPORT RD
            nature of the debtor’s                                           STE 315
            interest
                                                                             DALLAS, TX 75252
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.208      State what the contract    MISCELLANEOUS AGREEMENT (M-19)        MOLLIE MILES
            or lease is for and the    SEPARATION AGREEMENT AND              3501 TOLER RD
            nature of the debtor’s     RELEASE DATED 9/12/2014
            interest
                                                                             ROWLETT, TX 75089
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.209      State what the contract    MISCELLANEOUS AGREEMENT (M-4)         MORNINGSTAR ASSOCIATES, LLC
            or lease is for and the    PLAN SPONSOR INVESTMENT               22 WEST WASHINGTON STREET
            nature of the debtor’s     ADVISORY SERVICES AGREEMENT           CHICAGO, IL 60602
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.210      State what the contract    SERVICE AGREEMENTS (S-99)             MSCB, INC.
            or lease is for and the    COLLECTION AGENCY AGREEMENT           1410 INDUSTRIAL PARK RD
            nature of the debtor’s     DATED 8/4/2014                        PARIS, TN 38242
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.211      State what the contract    SERVICE AGREEMENTS (S-27)             MSDSONLINE
            or lease is for and the    EH&S COMPLIANCE SOLUTION              27185 NETWORK PLC
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60673-1271
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.212      State what the contract    PROFESSIONAL SERVICES                 MSI
            or lease is for and the    AGREEMENT (PS-11)                     245 PEACHTREE CENTER AVE
            nature of the debtor’s     CLIENT PAID FEE SCHEDULE              STE 2220
            interest
                                                                             ATLANTA, GA 30303
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.213      State what the contract    MISCELLANEOUS AGREEMENT (M-28)        NAVARRO COLLEGE
            or lease is for and the    AFFILIATION AGREEMENT                 3200 W 7TH AVE
            nature of the debtor’s                                           CORSICANA, TX 75110
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.214      State what the contract    INTELLECTUAL PROPERTY                 NAVEX GLOBAL, INC.
            or lease is for and the    AGREEMENT (I-04)                      PO BOS 60941
            nature of the debtor’s     POLICYTECH AGREEMENT AND ORDER
            interest                   FORM
                                                                             CHARLOTTE, NC 28260-0941
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.215      State what the contract    PROFESSIONAL SERVICES                 NEUROLOGY CONSULTANTS OF DALLAS, P.A.
            or lease is for and the    AGREEMENT (PS-23)                     7515 GREENVILLE AVE
            nature of the debtor’s     CLINICAL TRIAL AGREEMENT DATED        #400
            interest                   12/30/2014                            DALLAS, TX 75231

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.216      State what the contract    MISCELLANEOUS AGREEMENT (M-23)        NICKA AND ASSOCIATES, INC.
            or lease is for and the    BUSINESS ASSOCIATE AGREEMENT          4500 W ELDORADO PKWY
            nature of the debtor’s     DATED 9/16/2014                       STE 3400
            interest                                                         MCKINNEY, TX 75070

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.217      State what the contract    SERVICE AGREEMENTS (S-35)             NORTH AMERICAN MASTER SERVICES
            or lease is for and the    LANGUAGE LINE SERVICE
            nature of the debtor’s
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.218      State what the contract    TRANSFER AGREEMENT (T-09)             NORTH CENTRAL SURGICAL CENTER, L.L.P.
            or lease is for and the    TRANSFER AGREEMENT                    9301 N CENTRAL EXPY
            nature of the debtor’s                                           #100
            interest                                                         DALLAS, TX 75231

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.219      State what the contract    SERVICE AGREEMENTS (S-110)            NORTH CENTRAL TEXAS TRAUMA REGIONAL ADVISORY
            or lease is for and the    EMERGENCY MEDICAL INFORMATION         COUNCIL
            nature of the debtor’s     MANAGEMENT MEMORANDUM OF              600 SIX FLAGS DR
            interest                   AGREEMENT WITH BAA                    #160
                                                                             ARLINGTON, TX 76011
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.220      State what the contract    MISCELLANEOUS AGREEMENT (M-11)        NORTH TEXAS DIVISION, INC.
            or lease is for and the    USE & NONDISCLOSURE AGREEMENT
            nature of the debtor’s     DATED 8/16/2010
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.221      State what the contract    MISCELLANEOUS AGREEMENT (M-11)        NORTH TEXAS DIVISION, INC.
            or lease is for and the    NON-DISCLOSURE AGREEMENT DATED
            nature of the debtor’s     10/26/2015
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.222      State what the contract    SERVICE AGREEMENTS (S-96)             NORTH TEXAS HEART CENTER, PA
            or lease is for and the    DIAGNOSTIC TESTING AGREEMENT          8440 WALNUT HILL LN
            nature of the debtor’s                                           STE 700
            interest
                                                                             DALLAS, TX 75231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.223      State what the contract    PROFESSIONAL SERVICES                 NORTH TEXAS HOSPITALISTS, PLLC
            or lease is for and the    AGREEMENT (PS-05)                     5310 GALAXIE RD
            nature of the debtor’s     HOSPITALIST SERVICES AGREEMENT
            interest                   DATED 3/14/2013
                                                                             GARLAND, TX 75044
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.224      State what the contract    SERVICE AGREEMENTS (S-48)             NUANCE COMMUNICATIONS, INC.
            or lease is for and the    TRANSCRIPTION SERVICES                PO BOX 2561
            nature of the debtor’s     AGREEMENT
            interest
                                                                             CAROL STREAM, IL 60132-2561
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.225      State what the contract    SERVICE AGREEMENTS (S-104)            OMNI EEG LAB, INC.
            or lease is for and the    ELECTROENCEPHALOGRAPH                 8500 N STEMMONS FWY
            nature of the debtor’s     SERVICES AGREEMENT                    STE 2087
            interest
                                                                             DALLAS, TX 75247
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.226      State what the contract    SERVICE AGREEMENTS (S-102A)           ORTHO-CLINICAL DIAGNOSTIC INC.
            or lease is for and the    GPO SERVICE AGREEMENT                 5972 COLLECTIONS CENTER DRI
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.227      State what the contract    SERVICE AGREEMENTS (S-102B)           ORTHO-CLINICAL DIAGNOSTIC INC.
            or lease is for and the    GPO PRODUCT AGREEMENT                 5972 COLLECTIONS CENTER DRI
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.228      State what the contract    PROFESSIONAL SERVICES                 ORYX SERVICES, PLLC
            or lease is for and the    AGREEMENT (PS-03)                     1700 ALMA DR
            nature of the debtor’s     PSA ANESTHSIA DATED 2/12/2014         STE 365
            interest                                                         PLANO, TX 75075-6903

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.229      State what the contract    PROFESSIONAL SERVICES                 ORYX SERVICES, PLLC
            or lease is for and the    AGREEMENT (PS-03)                     1700 ALMA DR
            nature of the debtor’s     CO-MANAGEMENT SERVICES                STE 365
            interest                   AGREEMENT DATED 2/12/2014             PLANO, TX 75075-6903

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.230      State what the contract    SERVICE AGREEMENTS (S-49)             P.A.C. SYSTEM, INC.
            or lease is for and the    INSPECTION, TESTING AND SERVICE       751 109TH ST
            nature of the debtor’s     AGREEMENT                             ARLINGTON, TX 76011
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.231      State what the contract    SERVICE AGREEMENTS (S-49)             P.A.C. SYSTEM, INC.
            or lease is for and the    MONITORING SERVICES AGREEMENT         751 109TH ST
            nature of the debtor’s                                           ARLINGTON, TX 76011
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.232      State what the contract    SERVICE AGREEMENTS (S-57)             PICC ME, PLLC
            or lease is for and the    PICC LINE PLACEMENT AGREEMENT         6504 ALDERBROOK DRIVE
            nature of the debtor’s
            interest
                                                                             DENTON, TX 76210
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.233      State what the contract    SERVICE AGREEMENTS (S-136)            PROFESSIONAL FINANCE COMPANY, INC.
            or lease is for and the    SERVICES AGREEMENT                    PO BOX 1686
            nature of the debtor’s                                           GREELEY, CO 80632-1686
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.234      State what the contract    SERVICE AGREEMENTS (S-66)             PROMETHEUS LABORATORIES, INC.
            or lease is for and the    REFERENCE LABORATORY SERVICES         PO BOX 894115
            nature of the debtor’s     AGREEMENT
            interest
                                                                             LOS ANGELES, CA 90189-4115
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.235      State what the contract    SERVICE AGREEMENTS (S-116)            PROMISE HOSPITAL OF DALLAS, INC.
            or lease is for and the    PURCHASED SERVICES AGREEMENT          7955 HARRY HINES BLVD
            nature of the debtor’s     DATED 5/1/2015                        DALLAS, TX 75235
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.236      State what the contract    SERVICE AGREEMENTS (S-142)            PROVATION MEDICAL, INC.
            or lease is for and the    THIRD PARTY PRODUCT SERVICES          62770 COLLECTIONS CENTER DR
            nature of the debtor’s     AGREEMENT DATED 9/1/2014
            interest
                                                                             CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.237      State what the contract    SERVICE AGREEMENTS (S-142)            PROVATION MEDICAL, INC.
            or lease is for and the    TERM AGREEMENT DATED 9/1/2014         62770 COLLECTIONS CENTER DR
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.238      State what the contract    SERVICE AGREEMENTS (S-47)             PROVENTIX SYSTEMS, INC.
            or lease is for and the    SERVICES AGREEMENT AND                1678 MONTGOMERY HWY 104
            nature of the debtor’s     SOFTWARE LICENSE                      #343
            interest                                                         BIRMINGHAM, AL 35216

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.239      State what the contract    EQUIPMENT AGREEMENT (E-14)            PSYCHE
            or lease is for and the    AGREEMENT FOR COMPUTER
            nature of the debtor’s     HARDWARE, SOFTWARE, AND
            interest                   SERVICES

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.240      State what the contract    SERVICE AGREEMENTS (S-11)             QUAMMEN HEALTH CARE CONSULTANTS, INC
            or lease is for and the    MASTER AGREEMENT DATED 4/22/2013      151 SOUTHHALL LANE
            nature of the debtor’s                                           STE 150
            interest
                                                                             MAITLAND, FL 32751
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.241      State what the contract    SERVICE AGREEMENTS (S-76)             QUANTROS, INC.
            or lease is for and the    MASTER SUBSCRIPTION AGREEMENT         DEPT CH 16932
            nature of the debtor’s
            interest
                                                                             PALATINE, IL 60055-6932
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.242      State what the contract    SERVICE AGREEMENTS (S-55)             QUEST DIAGNOSTICS, INC.
            or lease is for and the    LAB ORDERS AND RESULTS AND            PO BOX 841725
            nature of the debtor’s     QUERRY TOOL SERVICE AGREEMENT
            interest
                                                                             DALLAS, TX 75284-1725
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.243      State what the contract    SERVICE AGREEMENTS (S-55)             QUEST DIAGNOSTICS, INC.
            or lease is for and the    INTERFACE AGREEMENT                   PO BOX 841725
            nature of the debtor’s
            interest
                                                                             DALLAS, TX 75284-1725
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.244      State what the contract    SERVICE AGREEMENTS (S-55)             QUEST DIAGNOSTICS, INC.
            or lease is for and the    AMENDMENT                             PO BOX 841725
            nature of the debtor’s
            interest
                                                                             DALLAS, TX 75284-1725
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.245      State what the contract    PROFESSIONAL SERVICES                 RADCOM ASSOCIATES, INC.
            or lease is for and the    AGREEMENT (PS-13)                     2302 GUTHRIE RD
            nature of the debtor’s     RADIATION SAFETY OFFICER              STE 210
            interest                   CONSULTING AGREEMENT
                                                                             GARLAND, TX 75043
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.246      State what the contract    SERVICE AGREEMENTS (S-95)             RADIOLOGY RESOURCE DBA DIAGNOSTEMPS
            or lease is for and the    TEMPORARY STAFFING SERVICE            5050 QUORUM DR
            nature of the debtor’s     AGREEMENT                             SUITE 700
            interest                                                         DALLAS, TX 75254

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.247      State what the contract    LEASE AGREEMENT (L-04)                RADIOMETER AMERICA, INC.
            or lease is for and the    ARTERIAL BLOOD GAS SYSTEM LEASE       13217 COLLECTIONS CENTER DR
            nature of the debtor’s     AGREEMENT
            interest
                                                                             CHICAGO, IL 60693
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.248      State what the contract    PROFESSIONAL SERVICES                 RAJEEV JOSHI, M.D. - NORTH TEXAS HEART CENTER, PA
            or lease is for and the    AGREEMENT (PS-8)                      8440 WALNUT HILL LN
            nature of the debtor’s     PHYSICIAN RECRUITMENT AGREEMENT       STE 700
            interest                   INTO EXISTING MEDICAL PRACTICE
                                       DATED 7/2/2013                        DALLAS, TX 75231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.249      State what the contract    SERVICE AGREEMENTS (S-93)             REAL RADIOLOGY, LLC
            or lease is for and the    CREDENTIALING DELEGATION              17310 WRIGHT STREET
            nature of the debtor’s     AGREEMENT                             SUITE 103
            interest                                                         OMAHA, NE 68130

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.250      State what the contract    SERVICE AGREEMENTS (S-74)             REHABCARE GROUP OF TEXAS, LLC
            or lease is for and the    INPATIENT REHABILITATION SERVICES     680 SOUTH FOURTH STREET
            nature of the debtor’s     AGREEMENT                             LOUISVILLE, KY 40202
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.251      State what the contract    SERVICE AGREEMENTS (S-24)       RELIANT ENERGY RETAIL SERVICES, LLC
            or lease is for and the    ELECTRIC ENERGY SALES AGREEMENT PO BOX 3765
            nature of the debtor’s                                     HOUSTON, TX 77253-3765
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.252      State what the contract    PROFESSIONAL SERVICES                 RICHARD, WAYNE AND ROBERTS
            or lease is for and the    AGREEMENT (PS-10)                     PO BOX 3013
            nature of the debtor’s     RECRUITING AGREEMENT
            interest
                                                                             HOUSTON, TX 77253-3013
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.253      State what the contract    HUMAN RESOURCES AGREEMENT             RICK LEONARD
            or lease is for and the    (HR-01)                               817 SANDHURST DR
            nature of the debtor’s     EMPLOYEE CONFIDENTIALITY
            interest                   AGREEMENT DATED 4/18/2013
                                                                             PLANO, TX 75025-2536
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.254      State what the contract    LEASE AGREEMENT (L-08)                RICOH USA, INC.
            or lease is for and the    LEASE AGREEMENT AND SOW               PO BOX 660342
            nature of the debtor’s
            interest
                                                                             DALLAS, TX 75266-0342
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.255      State what the contract    SERVICE AGREEMENTS (S-78)             RITA GARZA, CTR
            or lease is for and the    RITA GARZA CANCER REGISTRY
            nature of the debtor’s     SERVICES AGREEMENT
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.256      State what the contract    SERVICE AGREEMENTS (S-19)             ROCHE DIAGNOSTICS CORPORATION
            or lease is for and the    DIAGNOSTICS ENCOMPASS                 MAIL CODE 5021
            nature of the debtor’s     AGREEMENT                             PO BOX 660367
            interest
                                                                             DALLAS, TX 75266-0367
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.257      State what the contract    SERVICE AGREEMENTS (S-86)             RPNT ACUTE SERVICES, INC.
            or lease is for and the    ACUTE HEMODIALYSIS SERVICE            4425 W AIRPORT FWY
            nature of the debtor’s     AGREEMENT                             STE 542
            interest
                                                                             IRVING, TX 75062
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.258      State what the contract    SERVICE AGREEMENTS (S-46)             RX REMOTESOLUTIONS, INC.
            or lease is for and the    REMOTE PHARMACY SERVICES              6409 N QUAIL HOLLOW RD
            nature of the debtor’s     AGREEMENT DATED 10/31/2013            MEMPHIS, TN 38120
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.259      State what the contract    SERVICE AGREEMENTS (S-46)             RX REMOTESOLUTIONS, INC.
            or lease is for and the    AMENDMENT #1 TO THE REMOTE            6409 N QUAIL HOLLOW RD
            nature of the debtor’s     PHARMACY SERVICES AGREEMENT           MEMPHIS, TN 38120
            interest                   DATED 12/16/2013

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.260      State what the contract    TRANSFER AGREEMENT (T-05)             SACRED CROSS EMS, INC.
            or lease is for and the    TRANSFER AGREEMENT DATED              PO BOX 447
            nature of the debtor’s     4/29/2015                             KRUM, TX 76249
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.261      State what the contract    MISCELLANEOUS AGREEMENT (M-27)        SANFORD BROWN
            or lease is for and the    AFFILIATION AGREEMENT                 8523 COMMODITY CIRCLE
            nature of the debtor’s                                           SUITE 200
            interest                                                         ORLANDO, FL 32819

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.262      State what the contract    SERVICE AGREEMENTS (S-121)            SCANSTAT TECHNOLOGIES, LP
            or lease is for and the    AGREEMENT FOR SERVICES                288 SOUTH MAIN STREET SUITE
            nature of the debtor’s
            interest
                                                                             ALPHARETTA, GA 30009
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.263      State what the contract    SERVICE AGREEMENTS (S-79)             SCHINDLER ELEVATOR CORPORATION
            or lease is for and the    ELEVATOR SERVICE AGREEMENT            PO BOX 93050
            nature of the debtor’s
            interest
                                                                             CHICAGO, IL 606733050
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.264      State what the contract    CONFIDENTIALITY AGREEMENT (M-30)      SCHWING ACQUISITION, LLC
            or lease is for and the    DATED 6/27/2016                       9422 COMMON ST
            nature of the debtor’s                                           STE 2
            interest                                                         BATON ROUGE, LA 70809

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.265      State what the contract    MISCELLANEOUS AGREEMENT (M-29)        SCOTT PATTERSON
            or lease is for and the    SEPARATION AND GENERAL RELEASE        600 WILLOW COVE
            nature of the debtor’s     AGREEMENT
            interest
                                                                             RENO, TX 75462
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.266      State what the contract    SERVICE AGREEMENTS (S-100)            SCRIPTRX
            or lease is for and the    SERVICE SUBSCRIPTION                  312 CLEMATIS ST
            nature of the debtor’s     AGREEMENT/BAA DATED 8/5/2014          #301
            interest                                                         WEST PALM BEACH, FL 33401

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.267      State what the contract    SERVICE AGREEMENTS (S-140)            SETTRAX, LLC
            or lease is for and the    LICENSE AGREEMENT                     5727 BAKER WAY NW #101
            nature of the debtor’s                                           GIG HARBOR, WA 98332
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.268      State what the contract    SERVICE AGREEMENTS (S-56)             SHRED-IT
            or lease is for and the    CLIENT SERVICE AGREEMENT              PO BOX 101007
            nature of the debtor’s
            interest
                                                                             PASADENA, CA 91189-1007
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.269      State what the contract    EQUIPMENT AGREEMENT (E-08)            SIEMENDS MEDICAL SOLUTIONS USA
            or lease is for and the    AGREEMENT                             PO BOX 120001
            nature of the debtor’s                                           DEPT 0733
            interest
                                                                             DALLAS, TX 75312-0733
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.270      State what the contract    SERVICE AGREEMENTS (S-42)             SIEMENS INDUSTRY, INC.
            or lease is for and the    FIRE SAFETY PANEL AND ELEVATOR        8066 FLINT ST
            nature of the debtor’s     MONITORING SERVICE AGRMNT             OVERLAND PARK, KS 66214
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.271      State what the contract    SERVICE AGREEMENTS (S-10)             SIEMENS MEDICAL SOLUTIONS USA, INC.
            or lease is for and the    MASTER AGREEMENT DATED 3/14/2013      PO BOX 120001
            nature of the debtor’s                                           DEPT 0733
            interest
                                                                             DALLAS, TX 75312-0733
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.272      State what the contract    SERVICE AGREEMENTS (S-10)             SIEMENS MEDICAL SOLUTIONS USA, INC.
            or lease is for and the    HS CUSTOMER WORLD REGISTRATION        PO BOX 120001
            nature of the debtor’s     REQUEST FORM DATED 8/20/2013          DEPT 0733
            interest
                                                                             DALLAS, TX 75312-0733
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.273      State what the contract    SERVICE AGREEMENTS (S-10)             SIEMENS MEDICAL SOLUTIONS USA, INC.
            or lease is for and the    AMENDMENT AND RELEASE                 PO BOX 120001
            nature of the debtor’s                                           DEPT 0733
            interest
                                                                             DALLAS, TX 75312-0733
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.274      State what the contract    SERVICE AGREEMENTS (S-17)             SIGNCRAFT USA
            or lease is for and the    SIGNAGE PROPOSAL DATED 1/29/2014      1301 ANTIOCH PIKE
            nature of the debtor’s
            interest
                                                                             NASHVILLE, TN 37211
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.275      State what the contract    SERVICE AGREEMENTS (S-137)            SILVERVUE, INC.
            or lease is for and the    SILVERVUE TABLET AGREEMENT            8911 SANDY PKWY
            nature of the debtor’s                                           STE 200
            interest                                                         SANDY, UT 84070

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired lease

 2.276      State what the contract    PROFESSIONAL SERVICES                SINAI URGENT CARE
            or lease is for and the    AGREEMENT (PS-22)                    18101 PRESTON RD
            nature of the debtor’s     PROFESSIONAL SERVICES                #201
            interest                   AGREEMENT - ED                       DALLAS, TX 75252

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.277      State what the contract    MISCELLANEOUS AGREEMENT (M-15)       SIRTEX MEDICAL, INC.
            or lease is for and the    BUSINESS ASSOCIATE AGREEMENT         300 UNICORN PARK DR
            nature of the debtor’s
            interest
                                                                            WOBURN, MA 1801
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.278      State what the contract    LEASE AGREEMENT (L-03)               SOUTHWEST OFFICE SYSTEMS
            or lease is for and the    LEASE AGREEMENT AND SERVICE          PO BOX 612248
            nature of the debtor’s     AGREEMENT
            interest
                                                                            DFW AIRPORT, TX 75261
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.279      State what the contract    EQUIPMENT AGREEMENT (E-22)           SPECTRANETICS CORPORATION
            or lease is for and the    VOLUME BASED LASER RENTAL            LBX#774588
            nature of the debtor’s     AGREEMENT                            4588 SOLUTIONS CENTER
            interest
                                                                            CHICAGO, IL 60677-4005
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.280      State what the contract    SERVICE AGREEMENTS (S-123)           SPECTRUM HEALTH PARTNERS
            or lease is for and the    CONSULTING SERVICES AGREEMENT        109 INTERNATIONAL DRIVE
            nature of the debtor’s     DATED 9/8/2015                       SUITE 140
            interest
                                                                            FRANKLIN, TN 37067
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.281      State what the contract    SERVICE AGREEMENTS (S-123)           SPECTRUM HEALTH PARTNERS, LLC
            or lease is for and the    CONSULTING SERVICES AGREEMENT        109 INTERNATIONAL DRIVE
            nature of the debtor’s     DATED 6/13/2016                      SUITE 140
            interest
                                                                            FRANKLIN, TN 37067
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.282      State what the contract    MISCELLANEOUS AGREEMENT (M-17)       ST. JUDE MEDICAL S.C., INC.
            or lease is for and the    TRAINING SPACE USE AGREEMENT         22400 NETWORK PLACE
            nature of the debtor’s     DATED 10/1/2014
            interest
                                                                            CHICAGO, IL 60673-1224
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.283      State what the contract    SERVICE AGREEMENTS (S-64)             ST. JUDE MEDICAL S.C., INC.
            or lease is for and the    ELECTROPHYSIOLOGY PRODUCTS            22400 NETWORK PLACE
            nature of the debtor’s     AGREEMENT DATED 8/12/2015
            interest
                                                                             CHICAGO, IL 60673-1224
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.284      State what the contract    SERVICE AGREEMENTS (S-26)             STERICYCLE, INC.
            or lease is for and the    SHARPS MANAGEMENT SERVICES            PO BOX 6575
            nature of the debtor’s     AGREEMENT
            interest
                                                                             CAROL STREAM, IL 60197
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.285      State what the contract    SERVICE AGREEMENTS (S-53)             STERICYCLE, INC.
            or lease is for and the    WASTE MASTER SERVICE AGREEMENT        PO BOX 6575
            nature of the debtor’s
            interest
                                                                             CAROL STREAM, IL 60197
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.286      State what the contract    SERVICE AGREEMENTS (S-130)            SUMMIT EMERGENCY PHYSICIANS, PLLC
            or lease is for and the    PROFESSIONAL SERVICES                 18101 PRESTON RD
            nature of the debtor’s     AGREEMENT                             DALLAS, TX 75252-6602
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.287      State what the contract    PROFESSIONAL SERVICES                 SUMMIT EMERGENCY PHYSICIANS, PLLC
            or lease is for and the    AGREEMENT (PS-24)                     PO BOX 793697
            nature of the debtor’s     PROFESSIONAL SERVICES
            interest                   AGREEMENT
                                                                             DALLAS, TX 75379
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.288      State what the contract    SERVICE AGREEMENTS (S-63)             SUPPLEMENTAL HEALTH CARE
            or lease is for and the    STAFFING SERVICES AGREEMENT           PO BOX 27124
            nature of the debtor’s
            interest
                                                                             SALT LAKE CITY, UT 84127-0124
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.289      State what the contract    PROFESSIONAL SERVICES                 SURGICAL ASSISTANTS OF DALLAS SUPPLIES, LLC
            or lease is for and the    AGREEMENT (PS-26)                     10140 ESTATE LN
            nature of the debtor’s     GROUP ON-CALL AGREEMENT               DALLAS, TX 75238-2135
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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            (Name)


      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.290      State what the contract    SERVICE AGREEMENTS (S-109)            SURGICAL INFORMATION SYSTEMS, LLC
            or lease is for and the    SOFTWARE LICENSE AND SERVICES         555 NORTH POINT CENTER E #300
            nature of the debtor’s     AGREEMENT DATED 5/31/2015             ALPHARETTA, GA 30022
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.291      State what the contract    SERVICE AGREEMENTS (S-80)       SYSTEMATECH TECHNICAL MANAGEMENT SERVICES, INC.
            or lease is for and the    INTERPRETING SERVICES AGREEMENT D/B/A INDEMAND INTERPRETING
            nature of the debtor’s                                     555 ANDOVER PARK WEST
            interest                                                   SUITE 201
                                                                       SEATTLE, WA 98188
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.292      State what the contract    SERVICE AGREEMENTS (S-07)             TALYST
            or lease is for and the    PURCHASE AGREEMENT                    11335 NE 122ND WAY
            nature of the debtor’s                                           SUITE 200
            interest                                                         KIRKLAND, WA 98034

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.293      State what the contract    EQUIPMENT AGREEMENT (E-06)       TELEHEALTH SERVICES
            or lease is for and the    SATELLITE TELEVISION PROGRAMMING PO BOX 26627
            nature of the debtor’s     LICENSE
            interest
                                                                             RALEIGH, NC 27611
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.294      State what the contract    EQUIPMENT AGREEMENT (E-06)            TELEHEALTH SERVICES
            or lease is for and the    PURCHASE AGREEMENT                    PO BOX 26627
            nature of the debtor’s
            interest
                                                                             RALEIGH, NC 27611
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.295      State what the contract    EQUIPMENT AGREEMENT (E-06)            TELEHEALTH SERVICES
            or lease is for and the    TV SYSTEM QUOTE/PROPOSAL NO.          PO BOX 26627
            nature of the debtor’s     86524
            interest
                                                                             RALEIGH, NC 27611
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.296      State what the contract    EQUIPMENT AGREEMENT (E-06)            TELEHEALTH SERVICES
            or lease is for and the    HD SATELLITE SYSTEM                   PO BOX 26627
            nature of the debtor’s     QUOTE/PROPOSAL NO. 92513
            interest
                                                                             RALEIGH, NC 27611
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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            (Name)


      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.297      State what the contract    SERVICE AGREEMENTS (S-122)            TENET HEALTHSYSTEM MEDICAL, INC.
            or lease is for and the    CONFIDENTIALITY AGREEMENT             1445 ROSS AVE
            nature of the debtor’s                                           SUITE 1400
            interest                                                         DALLAS, TX 75202

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.298      State what the contract    SERVICE AGREEMENTS (S-43)             TESTCOUNTRY
            or lease is for and the    TERMS AND AGREEMENT                   5663 BALBOA AVE
            nature of the debtor’s
            interest
                                                                             SAN DIEGO, CA 92111
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.299      State what the contract    SERVICE AGREEMENTS (S-98)             TEXAS CLINICAL RESEARCH INSTITUTE
            or lease is for and the    DIAGNOSTIC IMAGING SERVICES           TEXAS TECH UNIVERSITY HEALTH SCIENCES CENTER
            nature of the debtor’s     AGREEMENT DATED 8/1/2014              3601 4TH ST
            interest                                                         STOP 8183
                                                                             LUBBOCK, TX 79430
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.300      State what the contract    SERVICE AGREEMENTS (S-101)            THE SSI GROUP, INC.
            or lease is for and the    CLICKON NET BILLING MASTER            DEPT 2455
            nature of the debtor’s     AGREEMENT                             PO BOX 11407
            interest
                                                                             BIRMINGHAM, AL 35246-2455
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.301      State what the contract    MISCELLANEOUS AGREEMENT (M-20)        THE UNIVERSITY OF TEXAS SOUTHWESTERN MEDICAL
            or lease is for and the    MEMORANDUM OF UNDERSTANDING           CENTER AT DALLAS ("UT SOUTHWESTERN")
            nature of the debtor’s                                           5323 HARRY HINES BLVD
            interest                                                         DALLAS, TX 75390

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.302      State what the contract    MISCELLANEOUS AGREEMENT (M-12)        THERESA EATHERLY
            or lease is for and the    SEPARATION AGREEMENT                  12147 BURGOYNE DR
            nature of the debtor’s
            interest
                                                                             HOUSTON, TX 77077
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.303      State what the contract    MISCELLANEOUS AGREEMENT (M-24)        THOMAS O'GORMAN
            or lease is for and the    SEPARATION, SEVERANCE, AND            2613 FOUNTAIN HEAD DR
            nature of the debtor’s     GENERAL RELEASE AGREEMENT
            interest                   DATED 6/19/2015
                                                                             PLANO, TX 75023
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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            (Name)


      List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired lease

 2.304      State what the contract    SERVICE AGREEMENTS (S-41)            THOMAS PROTECTIVE SERVICE, INC.
            or lease is for and the    PROTECTIVE SERVICE AGREEMENT         PO BOX 883
            nature of the debtor’s
            interest
                                                                            KAUFMAN, TX 75142
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.305      State what the contract    SERVICE AGREEMENTS (S-37)            TIGER, INC.
            or lease is for and the    NATURAL GAS SALES AGREEMENT          1422 EAST 71ST ST, STE J
            nature of the debtor’s
            interest
                                                                            TULSA, OK 74136
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.306      State what the contract    PROFESSIONAL SERVICES                TIMBERLAWN MENTAL HEALTH SYSTEM
            or lease is for and the    AGREEMENT (PS-18)                    4600 SAMUELL BLVD
            nature of the debtor’s     SERVICES AGREEMENT DATED             DALLAS, TX 75228
            interest                   3/15/2014

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.307      State what the contract    MISCELLANEOUS AGREEMENT (M-14)       TINA COKER
            or lease is for and the    SEPARATION AGREEMENT                 7502 GREENVILLE AVE
            nature of the debtor’s
            interest
                                                                            DALLAS, TX 75231
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.308      State what the contract    SERVICE AGREEMENTS (S-82)            TOTAL RENAL CARE
            or lease is for and the    HOSPITAL SERVICES AGREEMENT          2438 NORTH PONDEROSA DRIVE
            nature of the debtor’s                                          SUITE C101
            interest                                                        CAMARILLO, CA 93010-2465

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.309      State what the contract    SERVICE AGREEMENTS (S-34)            TTSS INTERACTIVE PRODUCTS
            or lease is for and the    SELFINFORM MEDICAL OFFICE            751 ROCKVILLE PIKE
            nature of the debtor’s     SOFTWARE                             SUITE 2A
            interest                                                        ROCKVILLE, MD 20852

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.310      State what the contract    EQUIPMENT AGREEMENT (E-19)           TVR COMMUNICATIONS, LLC
            or lease is for and the    EQUIPMENT PURCHASE AGREEMENT         60-69 WOODHAVEN BLVD
            nature of the debtor’s
            interest
                                                                            ELMHURST, NY 11373
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.311      State what the contract    EQUIPMENT AGREEMENT (E-25)            TYRX, INC A WHOLLY OWNED SUBSIDIARY OF MEDTRONIC
            or lease is for and the    HOSPITAL AGREEMENT FOR THE            1 DEER PARK DR
            nature of the debtor’s     WRAP-IT STUDY                         STE G
            interest                                                         MONMOUTH JUNCTION, NJ 08852

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.312      State what the contract    TRANSFER AGREEMENT (T-10)             UPTOWN ER, LLC
            or lease is for and the    PATIENT TRANSFER AGREEMENT            3607 OAK LAWN AVE
            nature of the debtor’s                                           STE 100
            interest                                                         DALLAS, TX 75219-4743

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.313      State what the contract    SERVICE AGREEMENTS (S-127)            USA MOBILITY
            or lease is for and the    SALES AND SERVICE AGREEMENT           6850 VERSAR CENTER
            nature of the debtor’s                                           SUITE 420
            interest                                                         SPRINGFIELD, VA 22151

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.314      State what the contract    RETIREMENT PLAN RECORDKEEPING         VANGUARD
            or lease is for and the    SERVICE AGREEMENT (M-5)               C/O ASCENSUS
            nature of the debtor’s     DATED 10/1/2013                       PO BOX 28067
            interest
                                                                             NEW YORK, NY 10087
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.315      State what the contract    EQUIPMENT AGREEMENT (E-10)            VARIANT LEASING CORP.
            or lease is for and the    LETTER OF INTENT - LEASING TERM       9200 STATE ROUTE 108
            nature of the debtor’s     SHEET                                 #200
            interest                                                         COLUMBIA, MD 21045

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.316      State what the contract    SERVICE AGREEMENTS (S-31)             VERGE OPERATING COMPANY
            or lease is for and the    SOFTWARE LICENSE AND CONTENT          11 EWALL STREET
            nature of the debtor’s     DISTRIBUTION AGREEMENT                STE 243
            interest
                                                                             MT PLEASANT, SC 29464
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.317      State what the contract    SERVICE AGREEMENTS (S-65)             VERSACOR ENTERPRISES, LLC
            or lease is for and the    PROPOSAL                              PO BOX 93809
            nature of the debtor’s
            interest
                                                                             SOUTHLAKE, TX 76092
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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            (Name)


      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.318      State what the contract    SERVICE AGREEMENTS (S-65)             VERSACOR ENTERPRISES, LLC
            or lease is for and the    SERVICES AGREEMENT PEST               PO BOX 93809
            nature of the debtor’s     SOLUTIONS
            interest
                                                                             SOUTHLAKE, TX 76092
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.319      State what the contract    SERVICE AGREEMENTS (S-120)       VITAS HEALTHCARE OF TEXAS, L.P.
            or lease is for and the    AGREEMENT FOR INPATIENT SERVICES 18550 I-45 SOUTH
            nature of the debtor’s     - HOSPICE                        CONROE, TX 77384
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.320      State what the contract    MISCELLANEOUS AGREEMENT (M-16)        VIVA PHYSICIANS
            or lease is for and the    REMOTE SITE AGREEMENT                 5671 SANTA TERESA BLVD
            nature of the debtor’s                                           STE 104
            interest                                                         SAN JOSE, CA 95123

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.321      State what the contract    EQUIPMENT AGREEMENT (E-04)            VOALTE
            or lease is for and the    PURCHASE ORDER: WHE 719/SOW           5101 FRUITVILLE RD
            nature of the debtor’s     DATED 7/26/2013                       STE 101
            interest
                                                                             SARASOTA, FL 34232
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.322      State what the contract    EQUIPMENT AGREEMENT (E-04)            VOALTE
            or lease is for and the    MASTER SALES AGREEMENT                5101 FRUITVILLE RD
            nature of the debtor’s                                           STE 101
            interest
                                                                             SARASOTA, FL 34232
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.323      State what the contract    EQUIPMENT AGREEMENT (E-11)            VOLATE
            or lease is for and the    ORDERING DOCUMENT
            nature of the debtor’s
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.324      State what the contract    EQUIPMENT AGREEMENT (E-11)            VOLATE
            or lease is for and the    STATEMENT OF WORK
            nature of the debtor’s
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                               State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired lease

 2.325      State what the contract    CONSTRUCTION AGREEMENT (C-01)         WALKER ENGINEERING
            or lease is for and the    NURSE CALL CABLING SERVICES -         1505 W. WALNUT HILL LANE
            nature of the debtor’s     CONTRACT NO.: 20120822.1B             IRVING, TX 75038
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.326      State what the contract    CONSTRUCTION AGREEMENT (C-04)         WALKER ENGINEERING
            or lease is for and the    VOICE DATA CABLING SERVICES           1505 W. WALNUT HILL LANE
            nature of the debtor’s                                           IRVING, TX 75038
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.327      State what the contract    CONSTRUCTION AGREEMENT (C-05)         WALKER ENGINEERING
            or lease is for and the    AUDIO VISUAL SYSTEMS                  1505 W. WALNUT HILL LANE
            nature of the debtor’s                                           IRVING, TX 75038
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.328      State what the contract    SERVICE AGREEMENTS (S-04)             WASTE MANAGEMENT DALLAS
            or lease is for and the    NON HAZARDOUS WASTE AGREEMENT         PO BOX 660345
            nature of the debtor’s     DATED 7/30/2013
            interest
                                                                             DALLAS, TX 75266
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.329      State what the contract    LEASE AGREEMENT (L-07)                WGPRP
            or lease is for and the    HOSPITAL LEASE AGREEMENT DATED
            nature of the debtor’s     8/26/2010
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.330      State what the contract    PROFESSIONAL SERVICES                 WILLIAM CARRINGTON
            or lease is for and the    AGREEMENT (PS-02)
            nature of the debtor’s     INDEPENDENT CONSULTANT
            interest                   AGREEMENT

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.331      State what the contract    SERVICE AGREEMENTS (S-16)         WINDSTREAM
            or lease is for and the    SERVICE AGREEMENT DATED 5/15/2013 PO BOX 9001013
            nature of the debtor’s
            interest
                                                                             LOUISVILLE, KY 40290
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract


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      List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired lease

 2.332      State what the contract    MISCELLANEOUS AGREEMENT (M-8)        WOMEN'S SPECIALTY SURGERY CENTER OF DALLAS, LLC
            or lease is for and the    AMENDMENT AGREEMENT TO THE           AND FEMPARTNERS ASC OF DALLAS, INC.
            nature of the debtor’s     MANAGEMENT AGREEMENT DATED           OFFICE OF QUALITY MONITORING
            interest                   6/1/2011                             THE JOINT COMMISSION
                                                                            ONE RENAISSANCE BLVD
            State the term remaining   CURRENT                              OAKBROOK TERRACE, IL 60181
            List the contract number
            of any government
            contract
 2.333      State what the contract    CONFIDENTIAL CONFLICT OF INTEREST WOMEN'S SPECIALTY SURGERY CENTER OF DALLAS, LLC
            or lease is for and the    STATEMENT (M-8)                   OFFICE OF QUALITY MONITORING
            nature of the debtor’s                                       THE JOINT COMMISSION
            interest                                                     ONE RENAISSANCE BLVD
                                                                         OAKBROOK TERRACE, IL 60181
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.334      State what the contract    PHYSICIAN MEMBER SAFE HARBOR         WOMEN'S SPECIALTY SURGERY CENTER OF DALLAS, LLC
            or lease is for and the    ATTETATION (M-8)                     OFFICE OF QUALITY MONITORING
            nature of the debtor’s                                          THE JOINT COMMISSION
            interest                                                        ONE RENAISSANCE BLVD
                                                                            OAKBROOK TERRACE, IL 60181
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.335      State what the contract    SECOND AMENDMENT TO THE              WOMEN'S SPECIALTY SURGERY CENTER OF DALLAS, LLC
            or lease is for and the    COMPANY AGREEMENT (M-8)              OFFICE OF QUALITY MONITORING
            nature of the debtor’s                                          THE JOINT COMMISSION
            interest                                                        ONE RENAISSANCE BLVD
                                                                            OAKBROOK TERRACE, IL 60181
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.336      State what the contract    SERVICE AGREEMENTS (S-125)           WSC HD PRODUCTIONS
            or lease is for and the    AGREEMENT FOR HD VIDEO               5101 E UNIVERSITY DR
            nature of the debtor’s     PRODUCTION SERVICES AND BAA          SUITE 601
            interest                   DATED 10/12/2015                     DENTON, TX 76208

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract
 2.337      State what the contract    PROFESSIONAL SERVICES                XNET SYSTEMS, INC.
            or lease is for and the    AGREEMENT (PS-01)                    PO BOX 682786
            nature of the debtor’s     COMPUTER INTEGRATION PSA DATED
            interest                   5/7/2013
                                                                            HOUSTON, TX 77268-2786
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 49 of 49
           Case 17-32255-sgj7 Doc 59 Filed 06/30/17                                 Entered 06/30/17 17:53:33                  Page 318 of 321
  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number          17-32255
  (if known)
                                                                                                                                        ¨ Check if this is an
                                                                                                                                           amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                  12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.    Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes.

 2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                           Column 2: Creditor
                                                                                                                                           Check all schedules
                Name                                   Mailing Address                                Name                                 that apply

 2.1            MEDISTAR UPLAND                        7660 WOODWAY, SUITE 160                        CAPX FUND IV, LP                     ¨ D
                DEVELOPMENT COMPANY                    HOUSTON, TX 77063                                                                   ¨ E/F
                                                                                                                                           þ G




Official Form 206H                                                       Schedule H: Codebtors                                                       Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        Walnut Hill Physicians' Hospital, LLC


 United States Bankruptcy Court for the: Northern District of Texas


 Case number          17-32255
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
 the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 6/30/2017
                             MM / DD / YYYY
                                                                û     /s/ Cory Countryman
                                                                      Signature of individual signing on behalf of debtor


                                                                      Cory Countryman
                                                                      Printed name


                                                                      Chief Executive Officer
                                                                      Position or relationship to debtor




Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Toby L. Gerber (SBT 07813700)
 Kristian W. Gluck (SBT 24038921)
 John N. Schwartz (SBT 00797397)
 Norton Rose Fulbright US LLP
 2200 Ross Avenue, Suite 3600
 Dallas, Texas 75201-7932
 Telephone: (214) 855-8000
 Facsimile: (214) 855-8200

 ATTORNEYS FOR THE DEBTOR

                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 IN RE:                                              §
                                                     §   Chapter 7
 WALNUT HILL PHYSICIANS’ HOSPITAL,                   §
 LLC d/b/a WALNUT HILL MEDICAL                       §   Case No. 17-32255-bjh-7
 CENTER,
                                                     §
       Debtor.
                                                     §

   GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

          I, Cory Countryman, hereby state as follows:

          1.     Prior to the time that Walnut Hill Physicians’ Hospital, LLC d/b/a Walnut Hill

 Medical Center (the “Debtor”) filed for relief under chapter 7 of the United States Bankruptcy

 Code, I was the Chief Executive Officer for the Debtor.

          2.     Although I was not primarily responsible for preparing and maintaining the

 financial records of the Debtor, those documents were prepared and maintained by other

 representatives of the Debtor in the ordinary course of the Debtor’s business.

          3.     I do not have personal knowledge of all of the information that is set forth in the

 Debtor’s Schedules and Statement of Financial Affairs; however, other representatives of the

 Debtor have provided such information based on information that is contained in the Debtor’s

 books and records.




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           4.   I have also been informed that, because the Debtor generally does not close its

 books until approximately the twentieth day of each month, it is possible that the Debtor’s

 financial statements do not include certain invoices that were recently received by the Debtor.

           5.   I note that the information contained in the Debtor’s Schedules and Statement of

 Financial Affairs (a) has not been audited, (b) was not necessary prepared in accordance with

 Generally Accepted Accounting Procedures, and (c) is based on “book value” and therefore do

 not necessary reflect the amount that would be received upon the disposition of the Debtor’s

 assets.

           6.   Finally, because disclosure of patient information would violate the Health

 Insurance Portability and Accountability Act of 1996, such information has not been included in

 the Debtor’s Schedules and Statement of Financial Affairs but will be made available to the

 chapter 7 trustee.

 Dated: June 30, 2017                                 /s/ Cory Countryman
                                                      Cory Countryman




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